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                        EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 AUTONOMOUS DEVICES LLC,                             )
                                                     )
                       Plaintiff,                    )
                                                     )
            v.                                       )    C.A. No. 22-1466-MN
                                                     )
 TESLA, INC.,                                        )
                                                     )
                       Defendant.
                                                     )




   [PROPOSED] PROTECTIVE ORDER GOVERNING THE DESIGNATION AND
               HANDLING OF CONFIDENTIAL MATERIALS

       Plaintiff Autonomous Devices LLC (“Plaintiff”) and Defendant Tesla, Inc. (“Defendant”)

anticipate that documents, testimony, or information containing or reflecting confidential,

proprietary, trade secret, and/or commercially sensitive information are likely to be disclosed or

produced during the course of discovery, initial disclosures, and supplemental disclosures in this

case and request that the Court enter this Order setting forth the conditions for treating, obtaining,

and using such information.

       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Court finds good cause

for the following Agreed Protective Order Regarding the Disclosure and Use of Discovery

Materials (“Order” or “Protective Order”).

       1.        PURPOSES AND LIMITATIONS

                 (a)    Protected Material designated under the terms of this Protective Order shall

be used by a Receiving Party solely for this case, and shall not be used directly or indirectly for

any other purpose whatsoever.




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               (b)     The Parties acknowledge that this Order does not confer blanket protections

on all disclosures during discovery, or in the course of making initial or supplemental disclosures

under Rule 26(a). Designations under this Order shall be made with care and shall not be made

absent a good faith belief that the designated material satisfies the criteria set forth below. If it

comes to a Producing Party’s attention that designated material does not qualify for protection at

all, or does not qualify for the level of protection initially asserted, the Producing Party must

promptly notify all other Parties that it is withdrawing or changing the designation.

               (c)     Other Proceedings. By entering this order and limiting the disclosure of

information in this case, the Court does not intend to preclude another court from finding that

information may be relevant and subject to disclosure in another case. Any person or party subject

to this order who becomes subject to a motion to disclose another party’s information designated

“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or

“HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to this order shall promptly notify that

party of the motion so that the party has a reasonable opportunity to appear and be heard on whether

that information should be disclosed prior to disclosure.

       2.      DEFINITIONS

               (a)     “CONFIDENTIAL” means information (regardless of how it is generated,

stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil

Procedure 26(c).

               (b)     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” means

sensitive “CONFIDENTIAL” information (regardless of how it is generated, stored or maintained)

or tangible things, disclosure of which to another would create a substantial risk of serious harm

that could not be avoided by less restrictive means.




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               (c)     [DISPUTED PROVISION-DEFENDANT’S PROPOSAL: “Source

Code” means computer code, associated comments, and/or revision histories for computer code,

formulas, engineering specifications, or schematics that define or otherwise describe in detail the

algorithms or structure of software or hardware designs.]

                       [PLAINTIFF’S PROPOSAL: “HIGHLY CONFIDENTIAL – SOURCE

CODE MATERIAL” means sensitive “CONFIDENTIAL” information (regardless of how it is

generated, stored or maintained) or tangible things representing computer code (i.e., computer

instructions and data definitions expressed in a form suitable for input to an assembler, compiler

or other translator) and associated comments and revision histories, disclosure of which to another

would create a substantial risk of serious harm that could not be avoided by less restrictive means.]

               (d)     “Discovery Material” means all items or information, including from any

non-party, regardless of the medium or manner generated, stored, or maintained (including, among

other things, testimony, transcripts, or tangible things) that are produced, disclosed, or generated

in connection with discovery or Rule 26(a) disclosures in this case.

               (e)     “Expert” means a person with specialized knowledge or experience in a

matter pertinent to the respective litigations who (1) has been retained by a Party or its counsel to

serve as an expert witness or as a consultant in the above-captioned action, (2) is not a current

employee of a Party or of a Party’s competitor, and (3) at the time of retention, is not anticipated

to become an employee of a Party or of a Party’s competitor.

               (f)     “Outside Counsel” means (i) attorneys who are not employees of a Party to

the above-captioned action but are retained to represent or advise a Party to that action and have

appeared on the pleadings as counsel for a Party and (ii) partners, associates, and staff of such

counsel to whom it is reasonably necessary to disclose the information for this litigation.




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               (g)     “Patents-in-suit” means U.S. Patent Nos. 10,102,449; 11,055,583;

10,452,974; 11,238,344; 10,607,134; and 11,113,585, and any other patent asserted in this action.

               (h)     “Party” means any party to this case, including all of its officers, directors,

employees, consultants, retained Experts, and Outside Counsel and their support staffs.

               (i)     “Producing Party” means any Party or non-party that discloses or produces

any Discovery Material in this case.

               (j)     “Protected Material” means any Discovery Material that is designated as

“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or

“HIGHLY CONFIDENTIAL – SOURCE CODE,” as provided for in this Order. Protected

Material shall not include: (i) advertising materials that have been actually published or publicly

disseminated; and (ii) materials that show on their face they have been disseminated to the public.

               (k)     “Receiving Party” means any Party who receives Discovery Material from

a Producing Party.

       3.      COMPUTATION OF TIME

       The computation of any period of time prescribed or allowed by this Order shall be

governed by the provisions for computing time set forth in Federal Rules of Civil Procedure 6.

       4.      SCOPE

               (a)     The protections conferred by this Order cover not only Discovery Material

governed by this Order as addressed herein, but also any information copied or extracted

therefrom, as well as all copies, excerpts, summaries, or compilations thereof, plus testimony,

conversations, or presentations by Parties or their counsel in court or in other settings that might

reveal Protected Material.




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               (b)     Nothing in this Protective Order shall prevent or restrict a Producing Party’s

own disclosure or use of its own Protected Material for any purpose, and nothing in this Order

shall preclude any Producing Party from showing its Protected Material to an individual who

prepared the Protected Material.

               (c)     Nothing in this Order shall be construed to prejudice any Party’s right to

use any Protected Material in court or in any court filing with the consent of the Producing Party

or by order of the Court.

               (d)     This Order is without prejudice to the right of any Party to seek further or

additional protection of any Discovery Material or to modify this Order in any way, including,

without limitation, an order that certain matter not be produced at all.

               (e)     The protections conferred by this Order do not cover the following

information: (a) any information that the Receiving Party can show is in the public domain at the

time of disclosure to a Receiving Party or becomes part of the public domain after its disclosure to

a Receiving Party as a result of publication not involving a violation of this Order, including

becoming part of the public record through trial or otherwise; and (b) any information that the

Receiving Party can clearly show was known to the Receiving Party prior to the disclosure or

obtained by the Receiving Party after the disclosure from a source who obtained the information

lawfully and under no obligation of confidentiality to the Party that designated the Discovery

Material.

       5.      DURATION

       Even after the termination of this case, the confidentiality obligations imposed by this

Order shall remain in effect until a Producing Party agrees otherwise in writing or a court order

otherwise directs.




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       6.      ACCESS TO AND USE OF PROTECTED MATERIAL

               (a)     Basic Principles. All Protected Material shall be used solely for this case or

any related appellate proceeding, and not for any other purpose whatsoever, including without

limitation any other litigation, patent prosecution or acquisition, patent reexamination or reissue

proceedings, or any business or competitive purpose or function. Protected Material shall not be

distributed, disclosed or made available to anyone except as expressly provided in this Order.

               (b)     Patent Prosecution Bar. Absent the written consent of the Producing Party,

any person on behalf of the Plaintiff who personally reviews any technical HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY or HIGHLY CONFIDENTIAL – SOURCE

CODE are prohibited from participating in an administrative proceeding for the examination and

reexamination of a patent or patent application insofar as the participation involves input into the

drafting, revising or amending of a patent claim relating to the functionality, operation, and design

of autonomous systems, machine learning, or artificial intelligence (generally or as described in

any patent in suit), if such administrative proceeding (e.g., patent application filing) was

commenced less than two years following the final termination of this action (including any

appeals). This prosecution bar does not prevent an individual from participating in a

reexamination, inter partes review, or other post-grant review proceedings involving the patents-

at-issue or patents related thereto, except that the individual is prohibited from participating in, or

otherwise providing input into, the drafting of any claim or amendment to any claim.

               (c)     Secure Storage, No Export. Protected Material must be stored and

maintained by a Receiving Party at a location in the United States and in a secure manner that

ensures that access is limited to the persons authorized under this Order. To ensure compliance

with applicable United States Export Administration Regulations, Protected Material may not be




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exported outside the United States or released to any foreign national (even if within the United

States).

                (d)    Legal Advice Based on Protected Material. Nothing in this Protective Order

shall be construed to prevent counsel from advising their clients with respect to this case based in

whole or in part upon Protected Materials, provided counsel does not disclose the Protected

Material itself except as provided in this Order.

                (e)    Limitations. Nothing in this Order shall restrict in any way a Producing

Party’s use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any

way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become

publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or known

to the Receiving Party independent of the Producing Party; (iii) previously produced, disclosed

and/or provided by the Producing Party to the Receiving Party or a non-party without an

obligation of confidentiality and not by inadvertence or mistake; (iv) with the consent of the

Producing Party; or (v) pursuant to order of the Court.

           7.   DESIGNATING PROTECTED MATERIAL

                (a)    Available Designations. Any Producing Party may designate Discovery

Material with any of the following designations, provided that it meets the requirements for such

designations as provided for herein: “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”

                (b)    Written Discovery and Documents and Tangible Things. Written discovery,

documents (which include “electronically stored information,” as that phrase is used in Federal

Rule of Procedure 34), and tangible things that meet the requirements for the confidentiality

designations listed in Paragraph 7(a) may be so designated by placing the appropriate designation




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on every page of the written material prior to production. For digital files being produced, the

Producing Party may mark each viewable page or image with the appropriate designation, and

mark the medium, container, and/or communication in which the digital files were contained. In

the event that original documents are produced for inspection, the original documents shall be

presumed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” during the inspection

and re-designated, as appropriate during the copying process.

                (c)     Native Files. Where electronic files and documents are produced in native

electronic format, such electronic files and documents shall be designated for protection under this

Order by appending to the file names or designators information indicating whether the file

contains “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or

“HIGHLY CONFIDENTIAL – SOURCE CODE,” material, or shall use any other reasonable

method for so designating Protected Materials produced in electronic format. When electronic files

or documents are printed for use at deposition, in a court proceeding, or for provision in printed

form to an Expert or consultant pre-approved pursuant to paragraph 12, the party printing the

electronic files or documents shall affix a legend to the printed document corresponding to the

designation of the Designating Party and including the production number and designation

associated with the native file.

                (d)     Depositions and Testimony. Parties or testifying persons or entities may

designate depositions and other testimony with the appropriate designation by indicating on the

record at the time the testimony is given or by sending written notice of how portions of the transcript

of the testimony is designated within thirty (30) days of receipt of the transcript of the testimony.

If no indication on the record is made, all information disclosed during a deposition shall be

deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the time within




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 which it may be appropriately designated as provided for herein has passed. Any Party that wishes

 to disclose the transcript, or information contained therein, may provide written notice of its intent

 to treat the transcript as non-confidential, after which time, any Party that wants to maintain any

 portion of the transcript as confidential must designate the confidential portions within fourteen

 (14) days, or else the transcript may be treated as non-confidential. Any Protected Material that is

 used in the taking of a deposition shall remain subject to the provisions of this Protective Order,

 along with the transcript pages of the deposition testimony dealing with such Protected Material.

 In such cases the court reporter shall be informed of this Protective Order and shall be required to

 operate in a manner consistent with this Protective Order. In the event the deposition is videotaped,

 the original and all copies of the videotape shall be marked by the video technician to indicate that

 the contents of the videotape are subject to this Protective Order, substantially along the lines of

 “This videotape contains confidential testimony used in this case and is not to be viewed or

 the contents thereof to be displayed or revealed except pursuant to the terms of the operative

 Protective Order in this matter or pursuant to written stipulation of the parties.” Counsel for

 any Producing Party shall have the right to exclude from oral depositions, other than the

 deponent, deponent’s counsel, the reporter and videographer (if any), any person who is not

 authorized by this Protective Order to receive or access Protected Material based on the

 designation of such Protected Material. Such right of exclusion shall be applicable only during

 periods of examination or testimony regarding such Protected Material.

        8.      DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL”

                (a)     A    Producing      Party    may    designate     Discovery     Material    as

 “CONFIDENTIAL” if it contains or reflects confidential, proprietary, and/or commercially

 sensitive information.




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                (b)     Unless otherwise ordered by the Court, Discovery Material designated as

 “CONFIDENTIAL” may be disclosed only to the following:

                        (i)     The Receiving Party’s Outside Counsel, such counsel’s immediate

 paralegals and staff, and any copying or clerical litigation support services working at the direction

 of such counsel, paralegals, and staff;

                        (ii)    Any outside Expert or consultant retained by the Receiving Party to

 assist in this action, provided that disclosure is only to the extent necessary to perform such work;

 and provided that: (a) such Expert or consultant has agreed to be bound by the provisions of the

 Protective Order by signing a copy of Exhibit A; (b) such Expert or consultant is not a current

 officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

 of retention to become an officer, director or employee of a Party or of a competitor of a Party; (c)

 such Expert or consultant accesses the materials in the United States only, and does not transport

 them to or access them from any foreign jurisdiction; and (d) no unresolved objections to such

 disclosure exist after proper notice has been given to all Parties as set forth in Paragraph 0 below;

 Court reporters, stenographers and videographers retained to record testimony taken in this action;

                        (iii)   The Court, jury, and court personnel;

                        (iv)    Graphics, translation, design, and/or trial consulting personnel,

 having first agreed to be bound by the provisions of the Protective Order by signing a copy of

 Exhibit A;

                        (v)     Mock jurors who have signed an undertaking or agreement agreeing

 not to publicly disclose Protected Material, not to use the Protected Material in any way other than

 as a mock juror, and to keep any information concerning Protected Material confidential;




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                         (vi)    Any mediator who is assigned to hear this matter, and his or her

 staff, subject to their agreement to maintain confidentiality to the same degree as required by this

 Protective Order; and

                         (vii)   Any other person with the prior written consent of the Producing

 Party.

          9.    DISCOVERY MATERIAL DESIGNATED AS “HIGHLY CONFIDENTIAL
                – ATTORNEYS’ EYES ONLY”

                (a)      A Producing Party may designate Discovery Material as “HIGHLY

 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” if it contains or reflects information that is

 extremely confidential and/or sensitive in nature and the Producing Party reasonably believes that

 the disclosure of such Discovery Material is likely to cause economic harm or significant

 competitive disadvantage to the Producing Party. The Parties agree that the following information,

 if non-public, shall be presumed to at least merit the “HIGHLY CONFIDENTIAL –

 ATTORNEYS’ EYES ONLY” designation: trade secrets, pricing information, financial data, sales

 information, sales or marketing forecasts or plans, business plans, sales or marketing strategy,

 product development information, engineering documents, testing documents, employee

 information, and other non-public information of similar competitive and business sensitivity.

                (b)      Unless otherwise ordered by the Court, Discovery Material designated as

 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” may be disclosed only to:

                         (i)     The Receiving Party’s Outside Counsel, provided that such Outside

 Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,

 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such

 Outside Counsel’s immediate paralegals and staff, and any copying or clerical litigation support

 services working at the direction of such counsel, paralegals, and staff;



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                         (ii)    Any outside Expert or consultant retained by the Receiving Party to

 assist in this action, provided that disclosure is only to the extent necessary to perform such work;

 and provided that: (a) such Expert or consultant has agreed to be bound by the provisions of the

 Protective Order by signing a copy of Exhibit A; (b) such Expert or consultant is not a current

 officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

 of retention to become an officer, director, or employee of a Party or of a competitor of a Party;

 (c) such Expert or consultant is not involved in competitive decision-making, as defined by U.S.

 Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a

 competitor of a Party; (d) such Expert or consultant accesses the materials in the United States

 only, and does not transport them to or access them from any foreign jurisdiction; and (e) no

 unresolved objections to such disclosure exist after proper notice has been given to all Parties as

 set forth in Paragraph 0 below;

                         (iii)   Court reporters, stenographers and videographers retained to record

 testimony taken in this action;

                         (iv)    The Court, jury, and court personnel;

                         (v)     Graphics, translation, design, and/or trial consulting personnel,

 having first agreed to be bound by the provisions of the Protective Order by signing a copy of

 Exhibit A;

                         (vi)    Any mediator who is assigned to hear this matter, and his or her

 staff, subject to their agreement to maintain confidentiality to the same degree as required by this

 Protective Order; and

                         (vii)   Any other person with the prior written consent of the Producing

 Party.




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                (c)     In addition, a Party may disclose arguments and materials derived from

 Discovery Material designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

 to mock jurors who have signed an undertaking or agreement agreeing not to publicly disclose

 Protected Material and to keep any information concerning Protected Material confidential. A

 Party may not disclose to mock jurors any original, as-produced materials or information

 (including, for example, documents, deposition testimony, or interrogatory responses) produced

 by another Party designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

        10.     DISCOVERY MATERIAL DESIGNATED AS “HIGHLY CONFIDENTIAL
                – SOURCE CODE”

                (a)     To the extent production of Source Code becomes necessary to the

 prosecution or defense of the case, a Producing Party may designate Source Code as “HIGHLY

 CONFIDENTIAL – SOURCE CODE.”

                (b)     Nothing in this Order shall be construed as a representation or admission

 that Source Code is properly discoverable in this action, or to obligate any Party to produce any

 Source Code.

                (c)     Unless otherwise ordered by the Court, Discovery Material designated as

 “HIGHLY CONFIDENTIAL – SOURCE CODE” shall be subject to the provisions set forth in

 Paragraph 11 below, and may be disclosed, subject to Paragraph 11 below, solely to:

                        (i)    The Receiving Party’s Outside Counsel, provided that such Outside

 Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,

 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such

 Outside Counsel’s immediate paralegals and staff, and any copying or clerical litigation support

 services working at the direction of such counsel, paralegals, and staff;




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                         (ii)    Any outside Expert or consultant retained by the Receiving Party to

 assist in this action, provided that disclosure is only to the extent necessary to perform such work;

 and provided that: (a) such Expert or consultant has agreed to be bound by the provisions of the

 Protective Order by signing a copy of Exhibit A; (b) such Expert or consultant is not a current

 officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

 of retention to become an officer, director or employee of a Party or of a competitor of a Party; (c)

 such Expert or consultant is not involved in competitive decision-making, as defined by U.S. Steel

 v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of

 a Party; and (d) no unresolved objections to such disclosure exist after proper notice has been given

 to all Parties as set forth in Paragraph 0 below;

                         (iii)   Court reporters, stenographers and videographers retained to record

 testimony taken in this action;

                         (iv)    The Court, jury, and court personnel;

                         (v)     Any mediator who is assigned to hear this matter, and his or her

 staff, subject to their agreement to maintain confidentiality to the same degree as required by this

 Protective Order; and

                         (vi)    Any other person with the prior written consent of the Producing

 Party.

          11.   DISCLOSURE AND REVIEW OF SOURCE CODE

                (a)      Any Source Code that is produced in discovery shall be made available for

 inspection, in electronic (e.g., native) format. The Producing Party shall produce Source Code for

 inspection in electronic (e.g., native) format at the office of its counsel in California or at another

 location agreed on by the parties, such as Washington D.C. or New York where Outside Counsel




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 for each party has offices. Any single reviewing session (conducted during one business day or

 during consecutive business days of review) shall be conducted during regular business hours (8:00

 A.M. to 6:00 P.M. local time) on four (4) business days’ written (including email) notice, although

 the Parties will be reasonable in accommodating reasonable requests to conduct inspections at

 other times and on shorter notice

                (b)     Prior to the first inspection of Source Code, the Receiving Party shall

 provide fourteen (14) days’ notice for its Source Code inspection request.

                (c)     Source Code that is designated “HIGHLY CONFIDENTIAL – SOURCE

 CODE” shall be produced for inspection and review subject to the following provisions, unless

 otherwise agreed by the Producing Party:

                      i.       All Source Code shall be made available by the Producing Party to

                the Receiving Party’s outside counsel and/or Experts in a secure room on at least

                two (2) secured computers without Internet access or network access to other

                computers and on which all access ports have been disabled (except for one printer

                port), as necessary and appropriate to prevent and protect against any unauthorized

                copying, transmission, removal or other transfer of any Source Code outside or

                away from the computer on which the Source Code is provided for inspection (the

                “Source Code Computer” in the “Source Code Review Room”). The Producing

                Party shall install tools that are sufficient for viewing and searching the code

                produced, on the platform produced, if such tools exist and are presently used in

                the ordinary course of the Producing Party’s business. The Receiving Party’s

                outside counsel and/or Experts may request that commercially available software

                tools for viewing and searching Source Code be installed on the secured computers,




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             provided, however, that (a) the Receiving Party possesses an appropriate license to

             such software tools; (b) the Producing Party approves such software tools; and (c)

             such other software tools are reasonably necessary for the Receiving Party to

             perform its review of the Source Code consistent with all of the protections herein.

             The Receiving Party must provide the Producing Party with the software tool(s) at

             least fourteen (14) days in advance of the date upon which the Receiving Party

             wishes to have the additional software tools available for use on the Source Code

             Computer. The Receiving Party shall not copy, remove, or otherwise transfer any

             portion of the Source Code onto any recordable media or recordable device absent

             prior agreement of the Producing Party.

                   ii.       No recordable media or recordable devices, including without

             limitation sound recorders, computers, cellular telephones, peripheral equipment,

             cameras, CDs, DVDs, or drives of any kind shall be permitted into the Source Code

             Review Room. Upon request, the Producing Party shall provide personnel to keep

             such devices (include cellular telephones) secure while a member of the Receiving

             Party is in the Source Code Review Room, and shall promptly notify the member

             if any calls or notifications are received.

                  iii.       The Source Code shall be produced as it is kept in the normal course

             of business, or as it would be collected in the normal course of business. The

             Receiving Party’s outside counsel and/or Experts shall be entitled to take

             handwritten notes relating to the Source Code. Such notes shall be labeled

             “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such notes may include

             excerpts of the Source Code when reasonably necessary to guide the note taker’s




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             use of later-requested paper copies of the Source Code. Such handwritten notes

             shall be subject to the same limitations and protections as printed Source Code, as

             set forth paragraph 12, including without limitation total page limits, consecutive

             line number limits, copy limits, and logging requirements. The Receiving Party

             shall be under no obligation to produce handwritten notes but shall disclose how

             many pages of handwritten notes contain Source Code upon request. Otherwise, no

             copies of all or any portion of the Source Code may leave the room in which the

             Source Code is inspected except as otherwise provided in this Protective Order. The

             Receiving Party’s outside counsel and/or Experts shall also be entitled to take notes

             relating to the Source Code, but may not copy the Source Code into the notes. The

             Producing Party shall make available software on the Source Code Computers for

             note-taking and shall permit printing of such notes. No other computer is permitted

             in the Source Code Review Room. Further, no other written or electronic record of

             the Source Code is permitted except as otherwise provided in this Protective Order.

                  iv.       The Source Code provider shall provide a manifest of the contents

             of the computer to include a list of Source Code files available for review. This

             manifest, which will be supplied in both printed and electronic form, will list the

             name, location, and MD5 checksum of every Source Code file on the Source Code

             Computer.

                  v.        The Source Code Computer shall include software utilities which

             will allow counsel and experts to view and search the Source Code. At a minimum,

             these utilities must provide the ability to (a) view, search, and line-number any

             source file, and (b) search for a given pattern of text through a number of files, (c)




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             compare two files and display their differences, and (d) compute the MD5

             checksum of a file.

                    vi.     The Producing Party may visually monitor the activities of the

             Receiving Party’s representatives during any Source Code review, but only to

             ensure that no unauthorized electronic records of the Source Code and no

             information concerning the Source Code are being created or transmitted in any

             way.

                 vii.       The Receiving Party may request copies of reasonable portions of

             the Source Code identified in a reasonable manner. The Receiving Party shall not

             print Source Code in order to review blocks of Source Code elsewhere in the first

             instance, i.e., as an alternative to reviewing that Source Code electronically on the

             Source Code Computer, as the Parties acknowledge and agree that the purpose of

             the protections herein would be frustrated by printing portions of code for review

             and analysis elsewhere. In the event that the Receiving Party requests more than

             [DISPUTED PROVISION-DEFENDANT’S PROPOSAL: 5 consecutive pages,

             or an aggregate of more than 200 pages] [PLAINTIFF’S PROPOSAL: 50

             consecutive pages, or an aggregate of more than 2500 pages], of print outs of

             Source Code, the parties shall have a meet and confer in good faith. A text editor

             will be provided on the Source Code Computer so that the list of files to be printed

             may be saved directly to the Source Code Computer. If the Producing Party objects

             that identified files are not reasonably necessary, the Producing Party shall make

             such objection known to the Receiving Party within three (3) business days of the

             identification of any files by the Receiving party. If, after meeting and conferring,




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             the Producing Party and the Receiving Party cannot resolve the objection, the

             Producing Party shall be entitled to seek a judicial resolution of whether or not the

             identified Source Code in question is reasonably necessary to any case preparation

             activity. At the request of the Receiving Party, in the absence of any objection the

             Producing Party shall provide within five (5) days of such request, paper copies of

             the Source Code identified at the time of inspection by the Receiving Party. The

             Producing Party shall print, label such files with the file’s complete path name, and

             append production numbers and the designation “HIGHLY CONFIDENTIAL –

             SOURCE CODE.” The paper copies must be kept in a secured location at the

             offices of the Receiving Party’s Outside Counsel at all times. The Receiving Party

             may make no more than five (5) additional paper copies of any portions of the

             Source Code files, not including copies attached to court filings or trial and hearing

             demonstrative exhibits. The Receiving Party shall only make additional paper

             copies if such additional copies are (1) necessary to prepare court filings, pleadings,

             or other papers (including a testifying expert’s expert report), or (2) necessary for

             deposition. The Receiving Party shall request printing of only such portions as are

             relevant to the claims and defenses in the case and are reasonably necessary for

             such purpose. Such printouts are to be of minimum 10-point, fixed-width font, and

             shall not exceed sixty-five (65) lines of text per page. The Producing Party may

             challenge the amount of Source Code requested in hard copy form pursuant to the

             dispute resolution procedure and timeframes set forth herein whereby the

             Producing Party is the “Challenging Party,” and the Receiving Party is the

             “Designating Party” for purposes of dispute resolution.




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                viii.       The Receiving Party’s Outside Counsel shall maintain a log of all

             paper copies of the Source Code. The log shall include the number of paper copies,

             names of the recipients of paper copies, and locations where the paper copies are

             stored. Upon one (1) day’s advance notice to the Receiving Party by the Producing

             Party, the Receiving Party shall provide a copy of this log to the Producing Party.

                  ix.       The Receiving Party’s Outside Counsel and any person receiving a

             copy of any Source Code shall maintain and store any paper copies of the Source

             Code at their offices in a manner that prevents duplication of or unauthorized access

             to the Source Code, including, without limitation, storing the Source Code in a

             locked room or cabinet at all times when it is not in use.

                  x.        Except as provided in this Protective Order, no electronic copies of

             the Source Code shall be made.

                  xi.       Unless otherwise agreed in advance by the parties in writing, the

             Receiving Party’s Outside Counsel and/or Experts shall remove all notes,

             documents, and all other materials from the Source Code Review Room that may

             contain work product and/or attorney-client privileged information at the end of

             each day. Materials inadvertently left in the Source Code Review Room do not

             operate as a waiver of the attorney work product doctrine or any other applicable

             privilege and shall be returned to the owner promptly. The Producing Party shall

             not be responsible for any items left in the Source Code Review Room. Proper

             identification of all authorized persons shall be provided prior to any access to the

             secure room or the computer containing Source Code. Proper identification requires

             showing, at a minimum, a photo identification card sanctioned by the government




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             of any State of the United States, by the government of the United States, or by the

             nation state of the authorized person’s current citizenship. Access to the secure

             room or the Source Code Computer may be denied, at the discretion of the supplier,

             to any individual who fails to provide proper identification.

                 xii.       [DISPUTED PROVISION-DEFENDANT’S PROPOSAL: For

             depositions, the Receiving Party shall not bring copies of any printed Source Code.

             Rather, at least ten (10) days before the date of the deposition, the Receiving Party

             shall notify the Producing Party about the specific portions of Source Code it wishes

             to use at the deposition, and the Producing Party shall bring printed copies of those

             portions to the deposition for use by the Receiving Party. Copies of Source Code that

             are marked as deposition exhibits shall not be provided to the Court Reporter or

             attached to deposition transcripts; rather, the deposition record will identify the

             exhibit by its production numbers. All paper copies of Source Code brought to the

             deposition shall remain with the Producing Counsel’s outside counsel for secure

             destruction in a timely manner following the deposition.]

                            [PLAINTIFF’S PROPOSAL: Copies of source code that are

             marked as deposition exhibits shall not be provided to the court reporter or attached

             to deposition transcripts; rather, the deposition record will identify the exhibit by

             its production numbers and the Party that brought the source code to the deposition

             will keep possession of the marked deposition source code exhibit. If the deposition

             exhibit has been marked up or altered in any way by the deponent, the Receiving

             Party shall store the exhibit in its marked form and provide one copy to outside

             counsel for the other Party]




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                xiii.       Except as provided in this sub-paragraph, absent express written

             permission from the Producing Party, the Receiving Party and any persons

             receiving Source Code from Receiving Party may not create electronic images, or

             any other images, or make electronic copies, of the Source Code from any paper

             copy of Source Code for use in any manner (including by way of example only, the

             Receiving Party and any persons receiving Source Code from Receiving Party may

             not scan the Source Code to a PDF or photograph the code). A party may make and

             use snippets and images of the Source Code if necessary for court filings, expert

             reports, discovery responses and other similar documents. All such documents shall

             be clearly marked “HIGHLY CONFIDENTIAL – SOURCE CODE” and, if filed,

             shall be filed under seal. Unless agreed by the parties, images or copies of Source

             Code shall not be included in correspondence between the Parties (references to

             production numbers shall be used instead). Unless agreed by the parties, images or

             copies of Source Code shall be omitted from pleadings and other papers whenever

             possible and reasonably minimized when not. [DISPUTED PROVISION-

             DEFENDANT’S PROPOSAL: Source Code shall not be electronically filed as an

             exhibit to any pleadings or papers.]

                xiv.        All persons who will review a Producing Party’s Source Code on

             behalf of a Receiving Party, including members of a Receiving Party’s outside law

             firm, shall be identified in writing to the Producing Party at least five (5) days in

             advance of the first time that such person reviews such Source Code Computer. All

             persons viewing Source Code Computer shall sign on each day they view Source

             Code Computer a log that will include the names of persons who enter the locked




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                room to view the Source Code Computer and when they enter and depart. The

                Producing Party shall be entitled to a copy of the log upon one (1) day’s advance

                notice to the Receiving Party.

                      xv.      At least five (5) days before the date of a deposition, a Receiving Party

                may request that the witness have access to a Source Code Computer. The Producing

                Party shall provide a Source Code Computer that the witness can access and an

                external monitor that allows the questioning attorney to see the files being discussed

                during the deposition on the condition that the deposition take place at a location of

                the Producing Party’s choosing. The deposition record will identify the file names

                and file paths being discussed.

        NOTICE OF DISCLOSURE

                (d)      Prior to disclosing any Protected Material to any person described in

 Paragraphs8(b)(ii), 9(b)(ii), or 10(c)(ii) (referenced below as “Person”), the Party seeking to

 disclose such information shall provide the Producing Party with written notice that includes:

        (i) the name of the Person;

        (ii) an up-to-date curriculum vitae of the Person;

        (iii) the present employer and title of the Person;

        (iv) an identification of all of the Person’s past and current employment and consulting

                relationships, including direct relationships and relationships through entities

                owned or controlled by the Person, including but not limited to an identification of

                any individual or entity with or for whom the person is employed or to whom the

                person provides consulting services relating to the design, development, operation,

                or patenting of autonomous systems, machine learning, or artificial intelligence, or




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                relating to the acquisition of intellectual property assets relating to autonomous

                systems, machine learning, or artificial intelligence;

        (v) an identification of all pending patent applications on which the Person is named as an

                inventor, in which the Person has any ownership interest, or as to which the Person

                has had or anticipates in the future any involvement in advising on, consulting on,

                preparing, prosecuting, drafting, editing, amending, or otherwise affecting the

                scope of the claims; and

        (vi) a list of the cases in which the Person has testified at deposition or trial within the last

                five (5) years.

 Further, the Party seeking to disclose Protected Material shall provide such other information

 regarding the Person’s professional activities reasonably requested by the Producing Party for it to

 evaluate whether good cause exists to object to the disclosure of Protected Material to the outside

 Expert or consultant. During the pendency of and for a period of one (1) year after the final

 resolution of this action, including all appeals, the Party seeking to disclose Protected Material

 shall immediately provide written notice of any change with respect to the Person’s involvement

 in the design, development, operation or patenting of autonomous systems, machine learning, or

 artificial intelligence, or the acquisition of intellectual property assets relating to autonomous

 systems, machine learning, or artificial intelligence.

                (e)     Within seven (7) days of receipt of the disclosure of the Person, the

 Producing Party or Parties may object in writing to the Person for good cause. In the absence of

 an objection at the end of the seven (7) day period, the Person shall be deemed approved under

 this Protective Order. There shall be no disclosure of Protected Material to the Person prior to

 expiration of this seven (7) day period. If the Producing Party objects to disclosure to the Person




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 within such seven (7) day period, the Parties shall meet and confer via telephone or in person

 within seven (7) days following the objection and attempt in good faith to resolve the dispute on

 an informal basis. If the dispute is not resolved, the Party objecting to the disclosure will have

 seven (7) days from the date of the meet and confer to seek relief from the Court. If relief is not

 sought from the Court within that time, the objection shall be deemed withdrawn. If relief is sought,

 designated materials shall not be disclosed to the Person in question until the Court resolves the

 objection.

                  (f)   For purposes of this section, “good cause” shall include an objectively

 reasonable concern that the Person will, advertently or inadvertently, use or disclose Discovery

 Materials in a way or ways that are inconsistent with the provisions contained in this Order.

                  (g)   Prior to receiving any Protected Material under this Order, the Person must

 execute a copy of the “Agreement to Be Bound by Protective Order” (Exhibit A hereto) and serve

 it on all Parties.

                  (h)   An initial failure to object to a Person under this Paragraph 0 shall not

 preclude the non-objecting Party from later objecting to continued access by that Person for good

 cause. If an objection is made, the Parties shall meet and confer via telephone or in person within

 seven (7) days following the objection and attempt in good faith to resolve the dispute informally.

 If the dispute is not resolved, the Party objecting to the disclosure will have seven (7) days from

 the date of the meet and confer to seek relief from the Court. The designated Person may continue

 to have access to information that was provided to such Person prior to the date of the objection.

 If a later objection is made, no further Protected Material shall be disclosed to the Person until the

 Court resolves the matter or the Producing Party withdraws its objection. Notwithstanding the




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 foregoing, if the Producing Party fails to move for a protective order within seven (7) business

 days after the meet and confer, further Protected Material may thereafter be provided to the Person.

        12.     CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL

                (a)     A Party shall not be obligated to challenge the propriety of any designation

 of Discovery Material under this Order at the time the designation is made, and a failure to do so

 shall not preclude a subsequent challenge thereto.

                (b)     Any challenge to a designation of Discovery Material under this Order shall

 be written, shall be served on outside counsel for the Producing Party, shall particularly identify

 the documents or information that the Receiving Party contends should be differently designated,

 and shall state the grounds for the objection. Thereafter, further protection of such material shall

 be resolved in accordance with the following procedures:

                        (i)     The objecting Party shall have the burden of conferring either in

 person, in writing, or by telephone with the Producing Party claiming protection (as well as any

 other interested party) in a good faith effort to resolve the dispute. The Producing Party shall have

 the burden of justifying the disputed designation;

                        (ii)    Failing agreement, the Receiving Party may bring a motion to the

 Court for a ruling that the Discovery Material in question is not entitled to the status and protection

 of the Producing Party’s designation. The Parties’ entry into this Order shall not preclude or

 prejudice either Party from arguing for or against any designation, establish any presumption that

 a particular designation is valid, or alter the burden of proof that would otherwise apply in a dispute

 over discovery or disclosure of information;

                        (iii)   Notwithstanding any challenge to a designation, the Discovery

 Material in question shall continue to be treated as designated under this Order until one of the




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 following occurs: (a) the Party who designated the Discovery Material in question withdraws such

 designation in writing; or (b) the Court rules that the Discovery Material in question is not

 entitled to the designation.

        13.     SUBPOENAS OR COURT ORDERS

                (a)     If at any time Protected Material is subpoenaed by any court, arbitral,

 administrative, or legislative body, the Party to whom the subpoena or other request is directed

 shall immediately give prompt written notice thereof to every Party who has produced such

 Discovery Material and to its counsel and shall provide each such Party with an opportunity to

 move for a protective order regarding the production of Protected Materials implicated by the

 subpoena.

        14.     FILING PROTECTED MATERIAL

                (a)     Absent written permission from the Producing Party or a court Order

 secured after appropriate notice to all interested persons, a Receiving Party may not file or disclose

 in the public record any Protected Material.

                (b)     Any Party is authorized under Del. L.R. 5.1.3 to file under seal with the

 Court any brief, document or materials that are designated as Protected Material under this Order.

 However, nothing in this section shall in any way limit or detract from this Order’s requirements

 as to Source Code.

        15.     INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL

                (a)     The inadvertent production by a Party of Discovery Material subject to the

 attorney-client privilege, work-product protection, or any other applicable privilege or protection,

 despite the Producing Party’s reasonable efforts to prescreen such Discovery Material prior to

 production, will not waive the applicable privilege and/or protection if a request for return of such




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 inadvertently produced Discovery Material is made promptly after the Producing Party learns of

 its inadvertent production.

                (b)     Upon a request from any Producing Party who has inadvertently produced

 Discovery Material that it believes is privileged and/or protected, each Receiving Party shall

 immediately return such Protected Material or Discovery Material and all copies to the Producing

 Party, except for any pages containing privileged markings by the Receiving Party which shall

 instead be destroyed and certified as such by the Receiving Party to the Producing Party.

                (c)     Nothing herein shall prevent the Receiving Party from preparing a record for

 its own use containing the date, author, addresses, and topic of the inadvertently produced Discovery

 Material and such other information as is reasonably necessary to identify the Discovery Material

 and describe its nature to the Court in any motion to compel production of the Discovery Material.

        16.     INADVERTENT FAILURE TO DESIGNATE PROPERLY

                (a)     The inadvertent failure by a Producing Party to designate Discovery

 Material as Protected Material with one of the designations provided for under this Order shall not

 waive any such designation provided that the Producing Party notifies all Receiving Parties that

 such Discovery Material is protected under one of the categories of this Order within fourteen (14)

 days of the Producing Party learning of the inadvertent failure to designate. The Producing Party

 shall reproduce the Protected Material with the correct confidentiality designation within seven (7)

 days upon its notification to the Receiving Parties. Upon receiving the Protected Material with the

 correct confidentiality designation, the Receiving Parties shall return or securely destroy, at the

 Producing Party’s option, all Discovery Material that was not designated properly.

                (b)     A Receiving Party shall not be in breach of this Order for any use of such

 Discovery Material before the Receiving Party receives such notice that such Discovery Material




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 is protected under one of the categories of this Order, unless an objectively reasonable person

 would have realized that the Discovery Material should have been appropriately designated with

 a confidentiality designation under this Order. Once a Receiving Party has received notification of

 the correct confidentiality designation for the Protected Material with the correct confidentiality

 designation, the Receiving Party shall treat such Discovery Material (subject to the exception in

 Paragraph 16(c) below) at the appropriately designated level pursuant to the terms of this Order.

                (c)     Notwithstanding      the    above,     a    subsequent     designation       of

 “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

 “HIGHLY CONFIDENTIAL –SOURCE CODE” shall apply on a going forward basis and shall

 not disqualify anyone who reviewed “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –

 ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –– SOURCE CODE” materials

 while the materials were not marked “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

 ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” from engaging in the activities set

 forth in Paragraph 6(b).

        17.     INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER

                (a)     In the event of a disclosure of any Discovery Material pursuant to this Order

 to any person or persons not authorized to receive such disclosure under this Protective Order, the

 Party responsible for having made such disclosure, and each Party with knowledge thereof, shall

 immediately notify counsel for the Producing Party whose Discovery Material has been disclosed

 and provide to such counsel all known relevant information concerning the nature and

 circumstances of the disclosure. The responsible disclosing Party shall also promptly take all

 reasonable measures to retrieve the improperly disclosed Discovery Material and to ensure that no

 further or greater unauthorized disclosure and/or use thereof is made




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                 (b)     Unauthorized or inadvertent disclosure does not change the status of

 Discovery Material or waive the right to hold the disclosed document or information as Protected.

                 (c)     The Receiving Party shall promptly notify the Producing Party within 5

 days if it becomes aware of any unauthorized access of the Receiving Party or any unauthorized

 access of a Party having access to the Producing party’s materials.

         18.     FINAL DISPOSITION

                 (a)     Not later than ninety (90) days after the Final Disposition of this case, each

 Party shall return all Discovery Material of a Producing Party to the respective outside counsel of

 the Producing Party or destroy such Material. For purposes of this Order, “Final Disposition”

 occurs after an order, mandate, or dismissal finally terminating the above-captioned action with

 prejudice, including all appeals.

                 (b)     All Parties that have received any such Discovery Material shall certify in

 writing that all such materials have been returned to the respective outside counsel of the Producing

 Party or destroyed. Notwithstanding the provisions for return of Discovery Material, outside

 counsel may retain one set of pleadings, correspondence and attorney and consultant work product

 (but not document productions) for archival purposes, but must return any pleadings,

 correspondence, and consultant work product that contain Source Code.

                 (c)     [DISPUTED              PROVISION-DEFENDANT’S                      PROPOSAL:

 Notwithstanding this provision, Counsel are entitled to retain an archival copy of all pleadings, motion

 papers, trial, deposition, and hearing transcripts, correspondence, deposition and trial exhibits, expert

 reports, even if such materials contain Protected Material. However, any such archival copies that

 contain or constitute Source Code must be redacted by the Party wishing to maintain such archival

 copies, and the unredacted versions of such documents must be destroyed. Any such archival copies

 that contain or constitute Protected Material remain subject to this Protective Order.]


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                        [PLAINTIFF’S PROPOSAL: Notwithstanding this provision, Counsel

 are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing

 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports,

 attorney work product, and consultant and expert work product, even if such materials contain

 Protected Material. Any such archival copies that contain or constitute Protected Material remain

 subject to this Protective Order.]

          19.   DISCOVERY FROM EXPERTS OR CONSULTANTS

                (a)     Absent good cause, drafts of reports of testifying Experts, and reports and

 other written materials, including drafts, of consulting Experts, shall not be discoverable.

                (b)     Reports and materials exempt from discovery under the foregoing

 Paragraph shall be treated as attorney work product for the purposes of this case and Protective

 Order.

                (c)     Testifying Experts shall not be subject to discovery with respect to any draft

 of his or her report(s) in this case. Draft reports, notes, or outlines for draft reports developed and

 drafted by the testifying Expert and/or his or her staff are also exempt from discovery.

                (d)     Discovery of materials provided to testifying experts shall be limited to

 those materials, facts, consulting expert opinions, and other matters reviewed (regardless of

 whether such information was relied upon) or relied upon by the testifying expert in forming his

 or her final report, trial, or deposition testimony or any opinion in this case. For clarity, this

 provision is not intended to abrogate the protections for draft reports or disclosures under Fed. R.

 Civ. P. 26. No discovery can be taken from any non-testifying Expert except to the extent that such

 non-testifying Expert has provided information, opinions, or other materials to a testifying Expert




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 relied upon by that testifying Expert in forming his or her final report(s), trial, and/or deposition

 testimony or any opinion in this case.

                 (e)    No conversations or communications between counsel and any testifying or

 consulting Expert will be subject to discovery unless the conversations or communications are

 relied upon by such Experts in formulating opinions that are presented in reports or trial or

 deposition testimony in this case.

                 (f)    Materials, communications, and other information exempt from discovery

 under the foregoing Paragraphs 20(a)–(c) shall be treated as attorney-work product for the

 purposes of this litigation and Order.

                 (g)    Nothing in Protective Order, including Paragraphs 20(a)–(c), shall alter or

 change in any way the requirements in Paragraph 11 regarding Source Code, and Paragraph 11

 shall control in the event of any conflict.

         20.     MISCELLANEOUS

                 (a)    Right to Further Relief. Nothing in this Order abridges the right of any

 person to seek its modification by the Court in the future. The Parties do not waive the right to

 argue that certain material may require additional or different confidentiality protections than those

 set forth herein.

                 (b)    Termination of Matter and Retention of Jurisdiction. The Parties agree that

 the terms of this Protective Order shall survive and remain in effect after the Final Determination

 of the above-captioned matter. The Court shall retain jurisdiction after Final Determination of this

 matter to hear and resolve any disputes arising out of this Protective Order.

                 (c)    Successors. This Order shall be binding upon the Parties hereto, their

 attorneys, and their successors, executors, personal representatives, administrators, heirs, legal




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 representatives, assigns, subsidiaries, divisions, employees, agents, retained consultants and

 Experts, and any persons or organizations over which they have direct control.

                (d)     Right to Assert Other Objections. No Party waives any right it otherwise

 would have to object to disclosing or producing any information or item. Similarly, no Party

 waives any right to object on any ground to use in evidence of any of the material covered by this

 Protective Order. This Order shall not constitute a waiver of the right of any Party to claim in this

 action or otherwise that any Discovery Material, or any portion thereof, is privileged or otherwise

 non-discoverable, or is not admissible in evidence in this action or any other proceeding.

                (e)     Burdens of Proof. Notwithstanding anything to the contrary above, nothing

 in this Protective Order shall be construed to change the burdens of proof or legal standards

 applicable in disputes regarding whether particular Discovery Material is confidential, which level

 of confidentiality is appropriate, whether disclosure should be restricted, and if so, what

 restrictions should apply.

                (f)     Modification by Court. This Order is subject to further court order based

 upon public policy or other considerations, and the Court may modify this Order sua sponte in the

 interests of justice. The United States District Court for the District of Delaware is responsible for

 the interpretation and enforcement of this Order. All disputes concerning Protected Material,

 however designated, produced under the protection of this Order shall be resolved by the United

 States District Court for the District of Delaware.

                (g)     Discovery Rules Remain Unchanged. Nothing herein shall alter or change

 in any way the discovery provisions of the Federal Rules of Civil Procedure, the Local Rules for

 the United States District Court for the District of Delaware, or the Court’s own orders.

 Identification of any individual pursuant to this Protective Order does not make that individual




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 available for deposition or any other form of discovery outside of the restrictions and procedures

 of the Federal Rules of Civil Procedure, the Local Rules for the United States District Court for

 the District of Delaware, or the Court’s own orders.



 SO ORDERED.




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                                                EXHIBIT A


          I,                                    , acknowledge and declare that I have received a

 copy of the Protective Order (“Order”) in Autonomous Devices LLC v. Tesla, Inc., United

 States District Court, District of Delaware, Civil Action No. 22-1466-MN. Having read and

 understood the terms of the Order, I agree to be bound by the terms of the Order and consent

 to the jurisdiction of said Court for the purpose of any proceeding to enforce the terms of the

 Order.


          Name of individual:

          Present occupation/job description:




          Name of Company or Firm:

          Address:


          Dated:



                                                      [Signature]




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                            EXHIBIT 2
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                           EXHIBIT 3
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                            EXHIBIT 4
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                                   4                                       UNITED STATES DISTRICT COURT

                                   5                                      NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7                                                               Case No. C
                                                             Plaintiff,                            STIPULATED PROTECTIVE ORDER FOR
                                   8
                                                                                                   LITIGATION INVOLVING PATENTS,
                                                      v.                                           HIGHLY SENSITIVE CONFIDENTIAL
                                   9
                                                                                                   INFORMATION AND/OR TRADE SECRETS
                                  10
                                                             Defendant.
                                  11

                                  12
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 United States District Court




                                  13    1.      PURPOSES AND LIMITATIONS
                                  14            Disclosure and discovery activity in this action are likely to involve production of

                                  15    confidential, proprietary, or private information for which special protection from public

                                  16    disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

                                  17    Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated

                                  18    Protective Order. The parties acknowledge that this Order does not confer blanket protections on

                                  19    all disclosures or responses to discovery and that the protection it affords from public disclosure

                                  20    and use extends only to the limited information or items that are entitled to confidential treatment

                                  21    under the applicable legal principles. The parties further acknowledge, as set forth in Section 14.4,

                                  22    below, that this Stipulated Protective Order does not entitle them to file confidential information

                                  23    under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards

                                  24    that will be applied when a party seeks permission from the court to file material under seal.

                                  25    2.      DEFINITIONS
                                  26            2.1        Challenging Party: a Party or Non-Party that challenges the designation of information or

                                  27    items under this Order.

                                  28            2.2        “CONFIDENTIAL” Information or Items: information (regardless of how it is generated,
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                                   1    stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil Procedure

                                   2    26(c).

                                   3             2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well as

                                   4    their support staff).

                                   5             2.4     [Optional: Designated House Counsel: House Counsel who seek access to “HIGHLY

                                   6    CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information in this matter.]

                                   7             2.5     Designating Party: a Party or Non-Party that designates information or items that it

                                   8    produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

                                   9    CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY CONFIDENTIAL –

                                  10    SOURCE CODE”].

                                  11             2.6     Disclosure or Discovery Material: all items or information, regardless of the medium or

                                  12    manner in which it is generated, stored, or maintained (including, among other things, testimony,
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                                  13    transcripts, and tangible things), that are produced or generated in disclosures or responses to discovery in

                                  14    this matter.

                                  15             2.7     Expert: a person with specialized knowledge or experience in a matter pertinent to the

                                  16    litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or as a consultant

                                  17    in this action, (2) is not a past or current employee of a Party or of a Party’s competitor, and (3) at the time

                                  18    of retention, is not anticipated to become an employee of a Party or of a Party’s competitor.

                                  19             2.8     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items:

                                  20    extremely sensitive “Confidential Information or Items,” disclosure of which to another Party or Non-Party

                                  21    would create a substantial risk of serious harm that could not be avoided by less restrictive means.

                                  22             2.9     [Optional: “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items:

                                  23    extremely sensitive “Confidential Information or Items” representing computer code and associated

                                  24    comments and revision histories, formulas, engineering specifications, or schematics that define or

                                  25    otherwise describe in detail the algorithms or structure of software or hardware designs, disclosure of

                                  26    which to another Party or Non-Party would create a substantial risk of serious harm that could not be

                                  27    avoided by less restrictive means.]

                                  28             2.10    House Counsel: attorneys who are employees of a party to this action. House Counsel does
                                                                                                2
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                                   1    not include Outside Counsel of Record or any other outside counsel.

                                   2             2.11    Non-Party: any natural person, partnership, corporation, association, or other legal entity

                                   3    not named as a Party to this action.

                                   4             2.12    Outside Counsel of Record: attorneys who are not employees of a party to this action but

                                   5    are retained to represent or advise a party to this action and have appeared in this action on behalf of that

                                   6    party or are affiliated with a law firm which has appeared on behalf of that party.

                                   7             2.13    Party: any party to this action, including all of its officers, directors, employees,

                                   8    consultants, retained experts, and Outside Counsel of Record (and their support staffs).

                                   9             2.14    Producing Party: a Party or Non-Party that produces Disclosure or Discovery Material in

                                  10    this action.

                                  11             2.15    Professional Vendors: persons or entities that provide litigation support services (e.g.,

                                  12    photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing, storing, or
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                                  13    retrieving data in any form or medium) and their employees and subcontractors.

                                  14             2.16    Protected Material: any Disclosure or Discovery Material that is designated as

                                  15    “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” [Optional: or as

                                  16    “HIGHLY CONFIDENTIAL – SOURCE CODE.”]

                                  17             2.17    Receiving Party: a Party that receives Disclosure or Discovery Material from a Producing

                                  18    Party.

                                  19    3.       SCOPE
                                  20             The protections conferred by this Stipulation and Order cover not only Protected Material (as

                                  21    defined above), but also (1) any information copied or extracted from Protected Material; (2) all copies,

                                  22    excerpts, summaries, or compilations of Protected Material; and (3) any testimony, conversations, or

                                  23    presentations by Parties or their Counsel that might reveal Protected Material. However, the protections

                                  24    conferred by this Stipulation and Order do not cover the following information: (a) any information that is

                                  25    in the public domain at the time of disclosure to a Receiving Party or becomes part of the public domain

                                  26    after its disclosure to a Receiving Party as a result of publication not involving a violation of this Order,

                                  27    including becoming part of the public record through trial or otherwise; and (b) any information known to

                                  28    the Receiving Party prior to the disclosure or obtained by the Receiving Party after the disclosure from a
                                                                                                3
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                                   1    source who obtained the information lawfully and under no obligation of confidentiality to the Designating

                                   2    Party. Any use of Protected Material at trial shall be governed by a separate agreement or order.

                                   3    4.       DURATION
                                   4             Even after final disposition of this litigation, the confidentiality obligations imposed by this Order

                                   5    shall remain in effect until a Designating Party agrees otherwise in writing or a court order otherwise

                                   6    directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and defenses in this

                                   7    action, with or without prejudice; and (2) final judgment herein after the completion and exhaustion of all

                                   8    appeals, rehearings, remands, trials, or reviews of this action, including the time limits for filing any

                                   9    motions or applications for extension of time pursuant to applicable law.

                                  10    5.       DESIGNATING PROTECTED MATERIAL
                                  11             5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party or Non-

                                  12    Party that designates information or items for protection under this Order must take care to limit any such
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                                  13    designation to specific material that qualifies under the appropriate standards. To the extent it is practical to

                                  14    do so, the Designating Party must designate for protection only those parts of material, documents, items,

                                  15    or oral or written communications that qualify – so that other portions of the material, documents, items, or

                                  16    communications for which protection is not warranted are not swept unjustifiably within the ambit of this

                                  17    Order.

                                  18             Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown to be

                                  19    clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily encumber or

                                  20    retard the case development process or to impose unnecessary expenses and burdens on other parties)

                                  21    expose the Designating Party to sanctions.

                                  22             If it comes to a Designating Party’s attention that information or items that it designated for

                                  23    protection do not qualify for protection at all or do not qualify for the level of protection initially asserted,

                                  24    that Designating Party must promptly notify all other parties that it is withdrawing the mistaken

                                  25    designation.

                                  26             5.2     Manner and Timing of Designations. Except as otherwise provided in this Order (see, e.g.,

                                  27    second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery

                                  28             Material that qualifies for protection under this Order must be clearly so designated before the

                                                                                                4
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                                   1    material is disclosed or produced.

                                   2            Designation in conformity with this Order requires:

                                   3            (a) for information in documentary form (e.g., paper or electronic documents, but excluding

                                   4    transcripts of depositions or other pretrial or trial proceedings), that the Producing Party affix the legend

                                   5    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: or

                                   6    “HIGHLY CONFIDENTIAL – SOURCE CODE”] to each page that contains protected material. If only a

                                   7    portion or portions of the material on a page qualifies for protection, the Producing Party also must clearly

                                   8    identify the protected portion(s) (e.g., by making appropriate markings in the margins) and must specify,

                                   9    for each portion, the level of protection being asserted.

                                  10            A Party or Non-Party that makes original documents or materials available for inspection need not

                                  11    designate them for protection until after the inspecting Party has indicated which material it would like

                                  12    copied and produced. During the inspection and before the designation, all of the material made available
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                                  13    for inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the

                                  14    inspecting Party has identified the documents it wants copied and produced, the Producing Party must

                                  15    determine which documents, or portions thereof, qualify for protection under this Order. Then, before

                                  16    producing the specified documents, the Producing Party must affix the appropriate legend

                                  17    (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: or

                                  18    “HIGHLY CONFIDENTIAL – SOURCE CODE]) to each page that contains Protected Material. If only a

                                  19    portion or portions of the material on a page qualifies for protection, the Producing Party also must clearly

                                  20    identify the protected portion(s) (e.g., by making appropriate markings in the margins) and must specify,

                                  21    for each portion, the level of protection being asserted.

                                  22            (b) for testimony given in deposition or in other pretrial or trial proceedings, that the Designating

                                  23    Party identify on the record, before the close of the deposition, hearing, or other proceeding, all protected

                                  24    testimony and specify the level of protection being asserted. When it is impractical to identify separately

                                  25    each portion of testimony that is entitled to protection and it appears that substantial portions of the

                                  26    testimony may qualify for protection, the Designating Party may invoke on the record (before the

                                  27    deposition, hearing, or other proceeding is concluded) a right to have up to 21 days to identify the specific

                                  28    portions of the testimony as to which protection is sought and to specify the level of protection being

                                                                                               5
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                                   1    asserted. Only those portions of the testimony that are appropriately designated for protection within the 21

                                   2    days shall be covered by the provisions of this Stipulated Protective Order. Alternatively, a Designating

                                   3    Party may specify, at the deposition or up to 21 days afterwards if that period is properly invoked, that the

                                   4    entire transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

                                   5    EYES ONLY.”

                                   6            Parties shall give the other parties notice if they reasonably expect a deposition, hearing or other

                                   7    proceeding to include Protected Material so that the other parties can ensure that only authorized

                                   8    individuals who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A) are present

                                   9    at those proceedings. The use of a document as an exhibit at a deposition shall not in any way affect its

                                  10    designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

                                  11            Transcripts containing Protected Material shall have an obvious legend on the title page that the

                                  12    transcript contains Protected Material, and the title page shall be followed by a list of all pages (including
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                                  13    line numbers as appropriate) that have been designated as Protected Material and the level of protection

                                  14    being asserted by the Designating Party. The Designating Party shall inform the court reporter of these

                                  15    requirements. Any transcript that is prepared before the expiration of a 21-day period for designation shall

                                  16    be treated during that period as if it had been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’

                                  17    EYES ONLY” in its entirety unless otherwise agreed. After the expiration of that period, the transcript

                                  18    shall be treated only as actually designated.

                                  19            (c) for information produced in some form other than documentary and for any other tangible

                                  20    items, that the Producing Party affix in a prominent place on the exterior of the container or containers in

                                  21    which the information or item is stored the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

                                  22    ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY CONFIDENTIAL – SOURCE CODE”]. If only a

                                  23    portion or portions of the information or item warrant protection, the Producing Party, to the extent

                                  24    practicable, shall identify the protected portion(s) and specify the level of protection being asserted.

                                  25            5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to designate

                                  26    qualified information or items does not, standing alone, waive the Designating Party’s right to secure

                                  27    protection under this Order for such material. Upon timely correction of a designation, the Receiving Party

                                  28    must make reasonable efforts to assure that the material is treated in accordance with the provisions of this
                                                                                               6
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                                   1    Order.

                                   2    6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                   3              6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

                                   4    confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality designation

                                   5    is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens, or a significant

                                   6    disruption or delay of the litigation, a Party does not waive its right to challenge a confidentiality

                                   7    designation by electing not to mount a challenge promptly after the original designation is disclosed.

                                   8              6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution process by

                                   9    providing written notice of each designation it is challenging and describing the basis for each challenge.

                                  10    To avoid ambiguity as to whether a challenge has been made, the written notice must recite that the

                                  11    challenge to confidentiality is being made in accordance with this specific paragraph of the Protective

                                  12    Order. The parties shall attempt to resolve each challenge in good faith and must begin the process by
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                                  13    conferring directly (in voice to voice dialogue; other forms of communication are not sufficient) within 14

                                  14    days of the date of service of notice. In conferring, the Challenging Party must explain the basis for its

                                  15    belief that the confidentiality designation was not proper and must give the Designating Party an

                                  16    opportunity to review the designated material, to reconsider the circumstances, and, if no change in

                                  17    designation is offered, to explain the basis for the chosen designation. A Challenging Party may proceed to

                                  18    the next stage of the challenge process only if it has engaged in this meet and confer process first or

                                  19    establishes that the Designating Party is unwilling to participate in the meet and confer process in a timely

                                  20    manner.

                                  21              6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court intervention,

                                  22    the Designating Party shall file and serve a motion to retain confidentiality under Civil Local Rule 7 (and in

                                  23    compliance with Civil Local Rule 79-5, if applicable) within 21 days of the initial notice of challenge or

                                  24    within 14 days of the parties agreeing that the meet and confer process will not resolve their dispute,

                                  25    whichever is earlier.1 Each such motion must be accompanied by a competent declaration affirming that the

                                  26

                                  27    1
                                         Alternative: It may be appropriate in certain circumstances for the parties to agree to shift the burden to move on the
                                        Challenging Party after a certain number of challenges are made to avoid an abuse of the process. The burden of
                                  28
                                        persuasion would remain on the Designating Party.
                                                                                                   7
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                                   1    movant has complied with the meet and confer requirements imposed in the preceding paragraph. Failure

                                   2    by the Designating Party to make such a motion including the required declaration within 21 days (or 14

                                   3    days, if applicable) shall automatically waive the confidentiality designation for each challenged

                                   4    designation. In addition, the Challenging Party may file a motion challenging a confidentiality designation

                                   5    at any time if there is good cause for doing so, including a challenge to the designation of a deposition

                                   6    transcript or any portions thereof. Any motion brought pursuant to this provision must be accompanied by a

                                   7    competent declaration affirming that the movant has complied with the meet and confer requirements

                                   8    imposed by the preceding paragraph.

                                   9             The burden of persuasion in any such challenge proceeding shall be on the Designating Party.

                                  10    Frivolous challenges and those made for an improper purpose (e.g., to harass or impose unnecessary

                                  11    expenses and burdens on other parties) may expose the Challenging Party to sanctions. Unless the

                                  12    Designating Party has waived the confidentiality designation by failing to file a motion to retain
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                                  13    confidentiality as described above, all parties shall continue to afford the material in question the level of

                                  14    protection to which it is entitled under the Producing Party’s designation until the court rules on the

                                  15    challenge.

                                  16    7.       ACCESS TO AND USE OF PROTECTED MATERIAL
                                  17             7.1      Basic Principles. A Receiving Party may use Protected Material that is disclosed or

                                  18    produced by another Party or by a Non-Party in connection with this case only for prosecuting, defending,

                                  19    or attempting to settle this litigation. Such Protected Material may be disclosed only to the categories of

                                  20    persons and under the conditions described in this Order. When the litigation has been terminated, a

                                  21    Receiving Party must comply with the provisions of section 15 below (FINAL DISPOSITION).

                                  22             Protected Material must be stored and maintained by a Receiving Party at a location and in a secure

                                  23    manner2 that ensures that access is limited to the persons authorized under this Order.

                                  24             7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by the

                                  25    court or permitted in writing by the Designating Party, a Receiving Party may disclose any information or

                                  26

                                  27
                                        2
                                         It may be appropriate under certain circumstances to require the Receiving Party to store any electronic Protected
                                  28
                                        Material in password-protected form.
                                                                                                  8
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                                   1    item designated “CONFIDENTIAL” only to:

                                   2            (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of said

                                   3    Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this litigation

                                   4    and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit

                                   5    A;

                                   6            (b) the officers, directors, and employees (including House Counsel) of the Receiving Party to

                                   7    whom disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment and

                                   8    Agreement to Be Bound” (Exhibit A);

                                   9            (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is reasonably

                                  10    necessary for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”

                                  11    (Exhibit A);

                                  12            (d) the court and its personnel;
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                                  13            (e) court reporters and their staff, professional jury or trial consultants, and Professional Vendors to

                                  14    whom disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment and

                                  15    Agreement to Be Bound” (Exhibit A);

                                  16            (f) during their depositions, witnesses in the action to whom disclosure is reasonably necessary and

                                  17    who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise

                                  18    agreed by the Designating Party or ordered by the court. Pages of transcribed deposition testimony or

                                  19    exhibits to depositions that reveal Protected Material must be separately bound by the court reporter and

                                  20    may not be disclosed to anyone except as permitted under this Stipulated Protective Order.

                                  21            (g) the author or recipient of a document containing the information or a custodian or other person

                                  22    who otherwise possessed or knew the information.

                                  23            Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: and

                                  24    “HIGHLY CONFIDENTIAL – SOURCE CODE”] Information or Items. Unless otherwise ordered by the

                                  25    court or permitted in writing by the Designating Party, a Receiving Party may disclose any information or

                                  26    item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY

                                  27    CONFIDENTIAL – SOURCE CODE”] only to:

                                  28            (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of said
                                                                                               9
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                                   1    Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this litigation

                                   2    and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit

                                   3    A;

                                   4             [(b) Optional as deemed appropriate in case-specific circumstances: Designated House Counsel of

                                   5    the Receiving Party3 (1) who has no involvement in competitive decision-making, (2) to whom disclosure

                                   6    is reasonably necessary for this litigation, (3) who has signed the “Acknowledgment and Agreement to Be

                                   7    Bound” (Exhibit A), and (4) as to whom the procedures set forth in paragraph 7.4(a)(1), below, have been

                                   8    followed];4

                                   9             (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this

                                  10    litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3) as

                                  11    to whom the procedures set forth in paragraph 7.4(a)(2), below, have been followed];

                                  12             (d) the court and its personnel;
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                                  13             (e) court reporters and their staff, professional jury or trial consultants,5 and Professional Vendors

                                  14    to whom disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment

                                  15    and Agreement to Be Bound” (Exhibit A); and

                                  16             (f) the author or recipient of a document containing the information or a custodian or other person

                                  17    who otherwise possessed or knew the information.

                                  18

                                  19

                                  20

                                  21

                                  22
                                        3
                                         It may be appropriate under certain circumstances to limit the number of Designated House Counsel who may access
                                  23
                                        “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information under this provision.
                                  24    4
                                          This Order contemplates that Designated House Counsel shall not have access to any information or items
                                        designated “HIGHLY CONFIDENTIAL – SOURCE CODE.” It may also be appropriate under certain circumstances
                                  25    to limit how Designated House Counsel may access “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
                                        information. For example, Designated House Counsel may be limited to viewing “HIGHLY CONFIDENTIAL –
                                  26    ATTORNEYS’ EYES ONLY” information only if it is filed with the court under seal, or in the presence of Outside
                                        Counsel of Record at their offices.
                                  27    5
                                          Alternative: The parties may wish to allow disclosure of information not only to professional jury or trial
                                        consultants, but also to mock jurors, to further trial preparation. In that situation, the parties may wish to draft a
                                  28
                                        simplified, precisely tailored Undertaking for mock jurors to sign.
                                                                                                     10
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                                   1             7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL –

                                   2    ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY CONFIDENTIAL – SOURCE CODE”]

                                   3    Information or Items to Designated House Counsel6 or Experts.7

                                   4             (a)(1) Unless otherwise ordered by the court or agreed to in writing by the Designating Party, a

                                   5    Party that seeks to disclose to Designated House Counsel any information or item that has been designated

                                   6    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to paragraph 7.3(b) first must

                                   7    make a written request to the Designating Party that (1) sets forth the full name of the Designated House

                                   8    Counsel and the city and state of his or her residence, and (2) describes the Designated House Counsel’s

                                   9    current and reasonably foreseeable future primary job duties and responsibilities in sufficient detail to

                                  10    determine if House Counsel is involved, or may become involved, in any competitive decision-making.8

                                  11             (a)(2) Unless otherwise ordered by the court or agreed to in writing by the Designating Party, a

                                  12    Party that seeks to disclose to an Expert (as defined in this Order) any information or item that has been
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                                  13    designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY

                                  14    CONFIDENTIAL – SOURCE CODE”] pursuant to paragraph 7.3(c) first must make a written request to

                                  15    the Designating Party that (1) identifies the general categories of “HIGHLY CONFIDENTIAL –

                                  16    ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY CONFIDENTIAL – SOURCE CODE”]

                                  17    information that the Receiving Party seeks permission to disclose to the Expert, (2) sets forth the full name

                                  18    of the Expert and the city and state of his or her primary residence, (3) attaches a copy of the Expert’s

                                  19    current resume, (4) identifies the Expert’s current employer(s), (5) identifies each person or entity from

                                  20    whom the Expert has received compensation or funding for work in his or her areas of expertise or to

                                  21    whom the expert has provided professional services, including in connection with a litigation, at any time

                                  22

                                  23
                                        6
                                          Alternative: The parties may exchange names of a certain number of Designated House Counsel instead of following
                                  24
                                        this procedure.
                                  25    7
                                          Alternative: “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information or
                                        items may be disclosed to an Expert without disclosure of the identity of the Expert as long as the Expert is not a
                                  26    current officer, director, or employee of a competitor of a Party or anticipated to become one.
                                        8
                                         It may be appropriate in certain circumstances to require any Designated House Counsel who receives “HIGHLY
                                  27
                                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information pursuant to this Order to disclose any relevant
                                        changes in job duties or responsibilities prior to final disposition of the litigation to allow the Designating Party to
                                  28
                                        evaluate any later-arising competitive decision-making responsibilities.
                                                                                                    11
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                                   1    during the preceding five years,9 and (6) identifies (by name and number of the case, filing date, and

                                   2    location of court) any litigation in connection with which the Expert has offered expert testimony,

                                   3    including through a declaration, report, or testimony at a deposition or trial, during the preceding five

                                   4    years.10

                                   5               (b) A Party that makes a request and provides the information specified in the preceding respective

                                   6    paragraphs may disclose the subject Protected Material to the identified Designated House Counsel or

                                   7    Expert unless, within 14 days of delivering the request, the Party receives a written objection from the

                                   8    Designating Party. Any such objection must set forth in detail the grounds on which it is based.

                                   9               (c) A Party that receives a timely written objection must meet and confer with the Designating

                                  10    Party (through direct voice to voice dialogue) to try to resolve the matter by agreement within seven days

                                  11    of the written objection. If no agreement is reached, the Party seeking to make the disclosure to Designated

                                  12    House Counsel or the Expert may file a motion as provided in Civil Local Rule 7 (and in compliance with
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                                  13    Civil Local Rule 79-5, if applicable) seeking permission from the court to do so. Any such motion must

                                  14    describe the circumstances with specificity, set forth in detail the reasons why the disclosure to Designated

                                  15    House Counsel or the Expert is reasonably necessary, assess the risk of harm that the disclosure would

                                  16    entail, and suggest any additional means that could be used to reduce that risk. In addition, any such motion

                                  17    must be accompanied by a competent declaration describing the parties’ efforts to resolve the matter by

                                  18    agreement (i.e., the extent and the content of the meet and confer discussions) and setting forth the reasons

                                  19    advanced by the Designating Party for its refusal to approve the disclosure.

                                  20               In any such proceeding, the Party opposing disclosure to Designated House Counsel or the Expert

                                  21    shall bear the burden of proving that the risk of harm that the disclosure would entail (under the safeguards

                                  22    proposed) outweighs the Receiving Party’s need to disclose the Protected Material to its Designated House

                                  23    Counsel or Expert.

                                  24

                                  25    9
                                         If the Expert believes any of this information is subject to a confidentiality obligation to a third-party, then the
                                        Expert should provide whatever information the Expert believes can be disclosed without violating any confidentiality
                                  26    agreements, and the Party seeking to disclose to the Expert shall be available to meet and confer with the Designating
                                        Party regarding any such engagement.
                                  27    10
                                          It may be appropriate in certain circumstances to restrict the Expert from undertaking certain limited work prior to
                                        the termination of the litigation that could foreseeably result in an improper use of the Designating Party’s “HIGHLY
                                  28
                                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information.
                                                                                                  12
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                                        8.         PROSECUTION BAR [OPTIONAL]
                                   1
                                                   Absent written consent from the Producing Party, any individual who receives access to “HIGHLY
                                   2
                                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY CONFIDENTIAL –
                                   3
                                        SOURCE CODE”] information shall not be involved in the prosecution of patents or patent applications
                                   4
                                        relating to [insert subject matter of the invention and of highly confidential technical information to be
                                   5
                                        produced], including without limitation the patents asserted in this action and any patent or application
                                   6
                                        claiming priority to or otherwise related to the patents asserted in this action, before any foreign or
                                   7
                                        domestic agency, including the United States Patent and Trademark Office (“the Patent Office”).11 For
                                   8
                                        purposes of this paragraph, “prosecution” includes directly or indirectly drafting, amending, advising, or
                                   9
                                        otherwise affecting the scope or maintenance of patent claims.12 To avoid any doubt, “prosecution” as used
                                  10
                                        in this paragraph does not include representing a party challenging a patent before a domestic or foreign
                                  11
                                        agency (including, but not limited to, a reissue protest, ex parte reexamination or inter partes
                                  12
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                                        reexamination). This Prosecution Bar shall begin when access to “HIGHLY CONFIDENTIAL –
 United States District Court




                                  13
                                        ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY CONFIDENTIAL – SOURCE CODE”]
                                  14
                                        information is first received by the affected individual and shall end two (2) years after final termination of
                                  15
                                        this action.13
                                  16
                                        9.         SOURCE CODE [OPTIONAL]
                                  17
                                                   (a)      To the extent production of source code becomes necessary in this case, a Producing Party
                                  18
                                        may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE” if it comprises or includes
                                  19
                                        confidential, proprietary or trade secret source code.
                                  20
                                                   (b)      Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE CODE” shall
                                  21
                                        be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL – SOURCE CODE” shall be
                                  22

                                  23

                                  24    11
                                          It may be appropriate under certain circumstances to require Outside and House Counsel who receive access to
                                        “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information to implement an “Ethical Wall.”
                                  25
                                        12
                                             Prosecution includes, for example, original prosecution, reissue and reexamination proceedings.
                                  26    13
                                          Alternative: It may be appropriate for the Prosecution Bar to apply only to individuals who receive access to another
                                        party’s “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” technical or source code information pursuant
                                  27
                                        to this Order, such as under circumstances where one or more parties is not expected to produce “HIGHLY
                                        CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information that is technical in nature or “HIGHLY
                                  28
                                        CONFIDENTIAL – SOURCE CODE” information,
                                                                                                    13
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                                   1    subject to all of the protections afforded to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

                                   2    information [Optional: including the Prosecution Bar set forth in Paragraph 8], and may be disclosed only

                                   3    to the individuals to whom “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information

                                   4    may be disclosed, as set forth in Paragraphs 7.3 and 7.4, with the exception of Designated House

                                   5    Counsel.14

                                   6             (c)      Any source code produced in discovery shall be made available for inspection, in a format

                                   7    allowing it to be reasonably reviewed and searched, during normal business hours or at other mutually

                                   8    agreeable times, at an office of the Producing Party’s counsel or another mutually agreed upon location.15

                                   9    The source code shall be made available for inspection on a secured computer in a secured room without

                                  10    Internet access or network access to other computers, and the Receiving Party shall not copy, remove, or

                                  11    otherwise transfer any portion of the source code onto any recordable media or recordable device. The

                                  12    Producing Party may visually monitor the activities of the Receiving Party’s representatives during any
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                                  13    source code review, but only to ensure that there is no unauthorized recording, copying, or transmission of

                                  14    the source code.16

                                  15             (d)      The Receiving Party may request paper copies of limited portions of source code that are

                                  16    reasonably necessary for the preparation of court filings, pleadings, expert reports, or other papers, or for

                                  17    deposition or trial, but shall not request paper copies for the purposes of reviewing the source code other

                                  18    than electronically as set forth in paragraph (c) in the first instance. The Producing Party shall provide all

                                  19    such source code in paper form including bates numbers and the label “HIGHLY CONFIDENTIAL -

                                  20    SOURCE CODE.” The Producing Party may challenge the amount of source code requested in hard copy

                                  21    form pursuant to the dispute resolution procedure and timeframes set forth in Paragraph 6 whereby the

                                  22

                                  23    14
                                          It may be appropriate under certain circumstances to allow House Counsel access to derivative materials including
                                        “HIGHLY CONFIDENTIAL - SOURCE CODE” information, such as exhibits to motions or expert reports,
                                  24
                                        15
                                           Alternative: Any source code produced in discovery shall be made available for inspection in a format through
                                  25    which it could be reasonably reviewed and searched during normal business hours or other mutually agreeable times
                                        at a location that is reasonably convenient for the Receiving Party and any experts to whom the source code may be
                                  26    disclosed. This alternative may be appropriate if the Producing Party and/or its counsel are located in a different
                                        jurisdiction than counsel and/or experts for the Receiving Party.
                                  27    16
                                          It may be appropriate under certain circumstances to require the Receiving Party to keep a paper log indicating the
                                        names of any individuals inspecting the source code and dates and times of inspection, and the names of any
                                  28
                                        individuals to whom paper copies of portions of source code are provided.
                                                                                                  14
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                                   1    Producing Party is the “Challenging Party” and the Receiving Party is the “Designating Party” for purposes

                                   2    of dispute resolution.

                                   3             (e)      The Receiving Party shall maintain a record of any individual who has inspected any

                                   4    portion of the source code in electronic or paper form. The Receiving Party shall maintain all paper copies

                                   5    of any printed portions of the source code in a secured, locked area. The Receiving Party shall not create

                                   6    any electronic or other images of the paper copies and shall not convert any of the information contained in

                                   7    the paper copies into any electronic format. The Receiving Party shall only make additional paper copies if

                                   8    such additional copies are (1) necessary to prepare court filings, pleadings, or other papers (including a

                                   9    testifying expert’s expert report), (2) necessary for deposition, or (3) otherwise necessary for the

                                  10    preparation of its case. Any paper copies used during a deposition shall be retrieved by the Producing Party

                                  11    at the end of each day and must not be given to or left with a court reporter or any other unauthorized

                                  12    individual.17
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                                  13    10.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
                                                 LITIGATION
                                  14
                                                 If a Party is served with a subpoena or a court order issued in other litigation that compels
                                  15
                                        disclosure of any information or items designated in this action as “CONFIDENTIAL” or
                                  16
                                        “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY
                                  17
                                        CONFIDENTIAL – SOURCE CODE”] that Party must:
                                  18
                                                 (a) promptly notify in writing the Designating Party. Such notification shall include a copy
                                  19
                                        of the subpoena or court order;
                                  20
                                                 (b) promptly notify in writing the party who caused the subpoena or order to issue in the
                                  21
                                        other litigation that some or all of the material covered by the subpoena or order is subject to this
                                  22
                                        Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and
                                  23
                                                 (c) cooperate with respect to all reasonable procedures sought to be pursued by the
                                  24

                                  25

                                  26
                                        17
                                          The nature of the source code at issue in a particular case may warrant additional protections or restrictions, For
                                  27
                                        example, it may be appropriate under certain circumstances to require the Receiving Party to provide notice to the
                                        Producing Party before including “HIGHLY CONFIDENTIAL – SOURCE CODE” information in a court filing,
                                  28
                                        pleading, or expert report.
                                                                                                   15
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                                   1    Designating Party whose Protected Material may be affected.18

                                   2             If the Designating Party timely seeks a protective order, the Party served with the subpoena

                                   3    or court order shall not produce any information designated in this action as “CONFIDENTIAL”

                                   4    or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY

                                   5    CONFIDENTIAL – SOURCE CODE”] before a determination by the court from which the

                                   6    subpoena or order issued, unless the Party has obtained the Designating Party’s permission. The

                                   7    Designating Party shall bear the burden and expense of seeking protection in that court of its

                                   8    confidential material – and nothing in these provisions should be construed as authorizing or

                                   9    encouraging a Receiving Party in this action to disobey a lawful directive from another court.

                                  10    11.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
                                                 LITIGATION
                                  11
                                                 (a)      The terms of this Order are applicable to information produced by a Non-Party in
                                  12
Northern District of California




                                        this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
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                                  13
                                        ATTORNEYS’ EYES ONLY” [Optional: or “HIGHLY CONFIDENTIAL – SOURCE CODE”].
                                  14
                                        Such information produced by Non-Parties in connection with this litigation is protected by the
                                  15
                                        remedies and relief provided by this Order. Nothing in these provisions should be construed as
                                  16
                                        prohibiting a Non-Party from seeking additional protections.
                                  17
                                                 (b)      In the event that a Party is required, by a valid discovery request, to produce a Non-
                                  18
                                        Party’s confidential information in its possession, and the Party is subject to an agreement with the
                                  19
                                        Non-Party not to produce the Non-Party’s confidential information, then the Party shall:
                                  20
                                                          1.       promptly notify in writing the Requesting Party and the Non-Party that some or all
                                  21
                                        of the information requested is subject to a confidentiality agreement with a Non-Party;
                                  22
                                                          2.       promptly provide the Non-Party with a copy of the Stipulated Protective Order in
                                  23
                                        this litigation, the relevant discovery request(s), and a reasonably specific description of the information
                                  24
                                        requested; and
                                  25

                                  26

                                  27    18
                                          The purpose of imposing these duties is to alert the interested parties to the existence of this Protective Order and to
                                        afford the Designating Party in this case an opportunity to try to protect its confidentiality interests in the court from
                                  28
                                        which the subpoena or order issued.
                                                                                                   16
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                                   1                      3.        make the information requested available for inspection by the Non-Party.

                                   2             (c)      If the Non-Party fails to object or seek a protective order from this court within 14

                                   3    days of receiving the notice and accompanying information, the Receiving Party may produce the

                                   4    Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

                                   5    seeks a protective order, the Receiving Party shall not produce any information in its possession or

                                   6    control that is subject to the confidentiality agreement with the Non-Party before a determination

                                   7    by the court.19 Absent a court order to the contrary, the Non-Party shall bear the burden and

                                   8    expense of seeking protection in this court of its Protected Material.

                                   9    12.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                  10             If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected Material to

                                  11    any person or in any circumstance not authorized under this Stipulated Protective Order, the Receiving

                                  12    Party must immediately (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use
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                                  13    its best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the person or persons

                                  14    to whom unauthorized disclosures were made of all the terms of this Order, and (d) request such person or

                                  15    persons to execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit

                                  16    A.

                                  17    13.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
                                                 MATERIAL
                                  18
                                                 When a Producing Party gives notice to Receiving Parties that certain inadvertently
                                  19
                                        produced material is subject to a claim of privilege or other protection, the obligations of the
                                  20
                                        Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).20 This
                                  21

                                  22
                                        19
                                          The purpose of this provision is to alert the interested parties to the existence of confidentiality rights of a Non-
                                  23
                                        Party and to afford the Non-Party an opportunity to protect its confidentiality interests in this court.
                                  24    20
                                           Alternative: The parties may agree that the recipient of an inadvertent production may not “sequester” or in any way
                                        use the document(s) pending resolution of a challenge to the claim of privilege or other protection to the extent it
                                  25    would be otherwise allowed by Federal Rule of Civil Procedure 26(b)(5)(B) as amended in 2006. This could include a
                                        restriction against “presenting” the document(s) to the court to challenge the privilege claim as may otherwise be
                                  26    allowed under Rule 26(b)(5)(B) subject to ethical obligations.
                                        An alternate provision could state: “If information is produced in discovery that is subject to a claim of privilege or of
                                  27
                                        protection as trial-preparation material, the party making the claim may notify any party that received the information
                                        of the claim and the basis for it. After being notified, a party must promptly return or destroy the specified information
                                  28
                                        and any copies it has and may not sequester, use or disclose the information until the claim is resolved. This includes a
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                                   1    provision is not intended to modify whatever procedure may be established in an e-discovery order

                                   2    that provides for production without prior privilege review. Pursuant to Federal Rule of Evidence

                                   3    502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a

                                   4    communication or information covered by the attorney-client privilege or work product protection,

                                   5    the parties may incorporate their agreement in the stipulated protective order submitted to the

                                   6    court.

                                   7    14.      MISCELLANEOUS
                                   8             14.1     Right to Further Relief. Nothing in this Order abridges the right of any person to seek its

                                   9    modification by the court in the future.

                                  10             14.2     Right to Assert Other Objections. By stipulating to the entry of this Protective Order no

                                  11    Party waives any right it otherwise would have to object to disclosing or producing any information or item

                                  12    on any ground not addressed in this Stipulated Protective Order. Similarly, no Party waives any right to
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                                  13    object on any ground to use in evidence of any of the material covered by this Protective Order.

                                  14             14.3     [Optional: Export Control. Disclosure of Protected Material shall be subject to all

                                  15    applicable laws and regulations relating to the export of technical data contained in such Protected

                                  16    Material, including the release of such technical data to foreign persons or nationals in the United States or

                                  17    elsewhere. The Producing Party shall be responsible for identifying any such controlled technical data, and

                                  18    the Receiving Party shall take measures necessary to ensure compliance.]

                                  19             14.4     Filing Protected Material. Without written permission from the Designating Party or a

                                  20    court order secured after appropriate notice to all interested persons, a Party may not file in the public

                                  21    record in this action any Protected Material. A Party that seeks to file under seal any Protected Material

                                  22    must comply with Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant to a

                                  23    court order authorizing the sealing of the specific Protected Material at issue. Pursuant to Civil Local Rule

                                  24    79-5, a sealing order will issue only upon a request establishing that the Protected Material at issue is

                                  25    privileged, protectable as a trade secret, or otherwise entitled to protection under the law. If a Receiving

                                  26    Party's request to file Protected Material under seal pursuant to Civil Local Rule 79-5 is denied by the

                                  27

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                                        restriction against presenting the information to the court for a determination of the claim.”
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                                   1    court, then the Receiving Party may file the Protected Material in the public record pursuant to Civil Local

                                   2    Rule 79-5 unless otherwise instructed by the court.

                                   3    15.     FINAL DISPOSITION
                                   4            Within 60 days after the final disposition of this action, as defined in paragraph 4, each Receiving

                                   5    Party must return all Protected Material to the Producing Party or destroy such material. As used in this

                                   6    subdivision, “all Protected Material” includes all copies, abstracts, compilations, summaries, and any other

                                   7    format reproducing or capturing any of the Protected Material. Whether the Protected Material is returned

                                   8    or destroyed, the Receiving Party must submit a written certification to the Producing Party (and, if not the

                                   9    same person or entity, to the Designating Party) by the 60-day deadline that (1) identifies (by category,

                                  10    where appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the

                                  11    Receiving Party has not retained any copies, abstracts, compilations, summaries or any other format

                                  12    reproducing or capturing any of the Protected Material. Notwithstanding this provision, Counsel are
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                                  13    entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,

                                  14    legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work product, and

                                  15    consultant and expert work product, even if such materials contain Protected Material. Any such archival

                                  16    copies that contain or constitute Protected Material remain subject to this Protective Order as set forth in

                                  17    Section 4 (DURATION).

                                  18            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                  19
                                        DATED: ________________________ _____________________________________
                                  20                                           Attorneys for Plaintiff
                                  21    DATED: ________________________ _____________________________________
                                                                               Attorneys for Defendant
                                  22

                                  23    PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                  24

                                  25    DATED: ________________________ _____________________________________
                                                                               [Name of Judge]
                                  26                                           United States District/Magistrate Judge

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                                   1                                                      EXHIBIT A

                                   2                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

                                   3                     I, _____________________________ [print or type full name], of _________________

                                   4    [print or type full address], declare under penalty of perjury that I have read in its entirety and understand

                                   5    the Stipulated Protective Order that was issued by the United States District Court for the Northern District

                                   6    of California on [date] in the case of ___________ [insert formal name of the case and the number and

                                   7    initials assigned to it by the court]. I agree to comply with and to be bound by all the terms of this

                                   8    Stipulated Protective Order and I understand and acknowledge that failure to so comply could expose me to

                                   9    sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose in any

                                  10    manner any information or item that is subject to this Stipulated Protective Order to any person or entity

                                  11    except in strict compliance with the provisions of this Order.

                                  12                     I further agree to submit to the jurisdiction of the United States District Court for the
Northern District of California
 United States District Court




                                  13    Northern District of California for the purpose of enforcing the terms of this Stipulated Protective Order,

                                  14    even if such enforcement proceedings occur after termination of this action.

                                  15                     I hereby appoint __________________________ [print or type full name] of

                                  16    _______________________________________ [print or type full address and telephone number] as my

                                  17    California agent for service of process in connection with this action or any proceedings related to

                                  18    enforcement of this Stipulated Protective Order.

                                  19

                                  20    Date: _________________________________

                                  21    City and State where sworn and signed: _________________________________

                                  22    Printed name: ______________________________
                                                       [printed name]
                                  23
                                        Signature: __________________________________
                                  24                   [signature]
                                  25

                                  26

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                            EXHIBIT 5
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  PARITY NETWORKS, LLC,

           Plaintiff,
                                                 C.A. No. 22-cv-1521-MN
                   v.

  NETGEAR, INC.,

           Defendant.


                             [PROPOSED] PROTECTIVE ORDER

          WHEREAS, Plaintiff Parity Networks LLC (“Plaintiff” or “Parity Networks”) and

 Defendant NETGEAR, Inc. (“Defendant” or “NETGEAR”) in the above-captioned case, hereafter

 referred to as “the Parties,” believe that disclosure and discovery activity in the above-captioned

 case may involve the production or disclosure of confidential, proprietary, or private information,

 including trade secrets and confidential business information, for which special protection from

 public disclosure and from use for any purpose other than litigating the above-captioned cases may

 be warranted;

          WHEREAS, the Parties hereby stipulate to and petition the court to enter the following

 Protective Order limiting disclosure thereof in accordance with Federal Rule of Civil Procedure

 26(c):

          THEREFORE, pursuant to stipulation, it is so ORDERED that:

                                            GENERAL

 1.       Subject to the provisions herein and unless otherwise stated, each Party may designate as

          “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY”, or




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        “HIGHLY CONFIDENTIAL – SOURCE CODE” (“Protected Material”)1 any items or

        information, regardless of the medium or manner in which it is generated, stored or

        maintained, that are produced, or generated in disclosures or responses to discovery

        requests for protection under this Order, in whole or in part, that constitutes or includes

        confidential, proprietary, or private information (including trade secrets) of the Party or a

        person who is not a party to this Action (“Third Party”) to whom the Party reasonably

        believes it owes an obligation of confidentiality with respect to such item or information,

        including without limitation: (a) all documents, electronically stored information, and/or

        things as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing or

        deposition testimony, or documents marked as exhibits or for identification in depositions

        and hearings; (c) pretrial pleadings, exhibits to pleadings and other court filings; (d)

        affidavits; and (e) stipulations.

 2.     Any items or information disclosed or produced before issuance of this Order with the

        designation         “CONFIDENTIAL,”             “CONFIDENTIAL—SUBJECT                    TO

        CONFIDENTIALITY UNDER D. DEL. L.R. 26.2,” or “HIGHLY CONFIDENTIAL –

        OUTSIDE COUNSEL ONLY” shall receive the same treatment as if designated “HIGHLY

        CONFIDENTIAL – OUTSIDE COUNSEL ONLY” under this Order, unless and until such

        document is re-designated to have a different classification under this Order.

 3.     The protections conferred by this Order cover not only Protected Material (as defined

        above), but also (1) any information copied or extracted from Protected Material; (2) all

        copies, duplicates, abstracts, indexes, extracts, excerpts, descriptions, summaries, or


        1
           The term Protected Material is used throughout this Protective Order to refer to the class
 of materials designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – OUTSIDE
 COUNSEL ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE,” both individually and
 collectively.


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       compilations of Protected Material; and (3) any testimony, conversations, or presentations

       by Parties or their Counsel that might reveal Protected Material.

 4.    Within thirty (30) days of final termination of this Action, including any appeals, all

       Protected Material, including all copies, duplicates, abstracts, indexes, summaries,

       descriptions, compilations, and excerpts or extracts thereof, shall at the producing Party’s

       election either be returned to the producing Party or be destroyed. The receiving Party shall

       verify the return or destruction by affidavit furnished to the producing Party, upon the

       producing Party’s request. For purposes of this Order, final termination of this Action

       occurs after an order, mandate, or dismissal finally terminating the above-captioned action

       with prejudice, including all appeals. Notwithstanding this provision, counsel of the Parties

       are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and

       hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert

       reports, attorney work product, and consultant and expert work product, even if such

       materials contain Protected Material. Any such archival copies that contain or constitute

       Protected Material remain subject to this Protective Order.

                          DESIGNATING PROTECTED MATERIAL

 5.    Designation in conformity with this Order requires the following:

       a.     For information in documentary form, (e.g., paper or electronic documents, but

              excluding transcripts of depositions or other pretrial or trial proceedings), the

              producing Party shall affix the legend “CONFIDENTIAL,” “HIGHLY

              CONFIDENTIAL           –    OUTSIDE        COUNSEL        ONLY,”       or   “HIGHLY

              CONFIDENTIAL – SOURCE CODE” to each page that contains protected

              material.




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       b.     For transcripts of testimony given in deposition or in pretrial or trial proceedings,

              Parties may, at the deposition or hearing or within thirty (30) days after receipt of

              a deposition or hearing transcript, designate the deposition or hearing transcript or

              any portion thereof as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –

              OUTSIDE COUNSEL ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE

              CODE” pursuant to this Order. Access to the deposition or hearing transcript so

              designated shall be limited in accordance with the terms of this Order. Until

              expiration of the 30-day period, the entire deposition or hearing transcript shall be

              treated as CONFIDENTIAL. Each party receiving a copy of the transcript shall

              affix the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – OUTSIDE

              COUNSEL ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” on the

              cover page of the transcript (if not already present on the cover page of the transcript

              when received from the court reporter) by each attorney receiving a copy of the

              transcript after that attorney receives notice of the designation of some or all of that

              transcript as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – OUTSIDE

              COUNSEL ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”

       c.     For information produced in some form other than documentary and for any other

              tangible items, the producing Party shall affix in a prominent place on the exterior

              of the container or containers in which the information or item is stored the legend.

 6.    Parties may designate any items or information as Protected Material at any time.

       Inadvertent or unintentional failure to designate any items or information qualifying for

       protection under this Order (a) shall not waive a party’s right to secure protection under

       this Order for such material, and (b) shall not preclude the filing of a motion at a later date




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       seeking to impose such designations. Any party that inadvertently or unintentionally

       produces Protected Material without designating it as “CONFIDENTIAL,” “HIGHLY

       CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” or “HIGHLY CONFIDENTIAL –

       SOURCE CODE” may request destruction of that Protected Material by notifying the

       recipient(s), as soon as reasonably possible after the producing Party becomes aware of the

       inadvertent or unintentional disclosure, and providing replacement Protected Material that

       is properly designated. The recipient(s) shall then destroy all copies of the inadvertently or

       unintentionally produced Protected Material and any documents, information or material

       derived from or based thereon.

 7.    A Party may designate any items or information as “CONFIDENTIAL” upon a good faith

       belief that the documents, information or material contains confidential or proprietary

       information or trade secrets of the Party or a Third Party to whom the Party reasonably

       believes it owes an obligation of confidentiality with respect to such documents,

       information or material.

 8.    To the extent a producing Party believes that certain Protected Material qualifying to be

       designated CONFIDENTIAL is extremely sensitive, the disclosure of which to another

       Party or Third Party would create a substantial risk of harm to the disclosing Party or Third

       Party that could not be avoided by less restrictive means, the producing Party may

       designate such Protected Material “HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL

       ONLY.”

 9.    To the extent such Protected Material includes CONFIDENTIAL non-public information

       representing computer code and/or associated comments, revision histories, formulas,

       schematics, specifications, or other documentations that define or otherwise describe in




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       detail the algorithms or structure of computer programs or software designs (“SOURCE

       CODE”), the producing Party may designate such Protected Material as “HIGHLY

       CONFIDENTIAL – SOURCE CODE.” SOURCE CODE includes, without limitation: (a)

       human-readable programming language text that defines a computer program, software,

       algorithm, firmware, or electronic hardware; (b) internal specifications or documentations

       describing or explaining a computer program, software, algorithm, firmware, or electronic

       hardware; (c) text files containing computer code including but not limited to files

       containing code written in scripting languages, “C,” “C++,” C#, assembly language,

       hardware description language (“HDL”), VHDL, Verilog, and digital signal processor

       (“DSP”) programming languages; and (d) “.include files,” “make” files, link files, and

       other human-readable text files used in the generation and/or building of software directly

       executed on a microprocessor, micro-controller, or DSP. SOURCE CODE does not include

       binary executable files and object code files, nor does it include tools such as compilers or

       linkers.   Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE

       CODE” shall be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL

       – OUTSIDE COUNSEL ONLY” information.

                             CHALLENGING DESIGNATIONS

 10.   A Party may request in writing to the other Party that the designation given to any Protected

       Material be modified or withdrawn. If the designating Party does not agree to redesignation

       within ten (10) days of receipt of the written request, the requesting Party may seek relief

       from the Court under the Court’s procedures for resolving discovery disputes. Upon any

       such application to the Court, the burden shall be on the designating Party to show why the

       designating Party’s classification is proper. Such application shall be treated procedurally




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       as a motion to compel pursuant to Federal Rules of Civil Procedure 37, subject to the Rule’s

       provisions relating to sanctions. In making such application, the requirements of the

       Federal Rules of Civil Procedure and the Local Rules of the Court shall be met. Pending

       the Court’s determination of the application, the designation of the designating Party shall

       be maintained.

 11.   The failure to object to a designation at a given time shall not preclude the filing of a motion

       at a later date challenging the propriety of such designations. The entry of this Order and/or

       the production of documents, information and material hereunder shall in no way constitute

       a waiver of any objection to the furnishing thereof, all such objections being hereby

       preserved.

                        ACCESS TO AND USE OF PROTECTED MATERIAL

 12.   Protected Material or the contents thereof may be used by the receiving Party solely for

       purposes of the prosecution or defense of this litigation, including all appeals, and shall not

       be used by the receiving Party for any other business, commercial, competitive, personal,

       regulatory, patent prosecution, or any other proceeding (e.g., inter partes review), or other

       purpose, whether domestic or foreign. Nothing in this Protective Order precludes a

       producing Party from using or disseminating its own discovery material.

 13.   Any person or entity who obtains access to Protected Material or the contents thereof

       pursuant to this Order shall not make any copies, duplicates, extracts, reproductions,

       digests, compilations, summaries or descriptions of such Protected Material or any portion

       thereof except as may be reasonably necessary in the litigation of this Action.

 14.   Unless otherwise ordered by the court or permitted in writing by the designating party, a

       receiving    Party   may     only   disclose    any    items   or    information    designated




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       “CONFIDENTIAL” to:

       a.     a receiving Party’s outside counsel of record in this Action;

       b.     employees and staff of such counsel assigned to and reasonably necessary to assist

              such counsel in the litigation of this Action;

       c.     up to and including two (2) in-house counsel and/or designated representatives for

              each Party who either have responsibility for making decisions dealing directly with

              the litigation of these actions, or who are assisting outside counsel in the litigation

              of this Action, as well as their immediate paralegals and staff to whom disclosure

              is reasonably necessary for purposes of this litigation provided that each such

              person has completed and signed the “Undertaking of Experts or Consultants

              Regarding Protective Order” that is attached as Exhibit A hereto. In the event any

              party in good faith request the opposing party’s consent to designate one or more

              additional representatives, the opposing party shall not unreasonably withhold such

              consent, and the requesting party may seek leave of Court to designate such

              additional representative(s) if the requesting party believes the opposing party has

              unreasonably withheld such consent;

       d.     outside consultants or experts (i.e., not existing employees or affiliates of a Party

              or an affiliate of a Party) retained for the purpose of this litigation and staff of such

              consultant or expert assigned to and reasonably necessary to assist such consultant

              or expert in the litigation of this Action, provided that: (1) such consultants or

              experts are not presently employed by the Parties hereto for purposes other than

              this Action; (2) the consultant or expert has completed and signed the “Undertaking

              of Experts or Consultants Regarding Protective Order” that is attached as Exhibit




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              A hereto; and (3) the receiving party has served upon the producing Party a Notice

              of Disclosure at least five (5) business days before access to the Protected Material

              is to be given to that consultant or expert. The Notice of Disclosure shall include

              (1) a copy of the completed and signed Undertaking by the consultant or expert, (2)

              the consultant’s or expert’s current curriculum vitae, and (3) a list of the

              consultant’s or expert’s testifying experience within the last four (4) years. The

              producing Party may object to disclosure of Protected Material to the consultant or

              expert by serving an objection and a detailed statement of the basis for the objection

              in writing on the receiving Party within five (5) business days of receiving the

              Notice of Disclosure (“Objection”). Any failure to object within the seven-(7)-

              calendar-day period by the producing Party waives the objection to the consultant

              or expert. The Parties agree to promptly confer and use good faith to resolve any

              Objection within three (3) business days of service of the Objection. If the Parties

              are unable to resolve the Objection, the objecting Party may seek the Court’s

              assistance under the Court’s procedures for resolving discovery disputes within five

              (5) business days of service of the Objection, seeking a protective order with respect

              to the proposed disclosure. If relief from the Court is not sought under the Court’s

              procedures for resolving discovery disputes during that time, the Objection shall be

              deemed withdrawn. The objecting Party shall have the burden of proving the need

              for a protective order. If relief is timely sought, no disclosure shall occur until the

              Objection is resolved by agreement or Court order;

       e.     independent litigation support services (including persons working for or as court

              reporters, graphics or design services, jury or trial consulting services) and




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              photocopy, document imaging, and database services retained by counsel and

              reasonably necessary to assist counsel with the litigation of this Action; and

       f.     the Court and its personnel.

 15.   Each outside consultant or expert to whom Protected Material is disclosed in accordance

       with the terms of this Order shall be advised by counsel of the terms of this Order, shall be

       informed that he or she is subject to the terms and conditions of this Order, shall sign an

       the “Undertaking of Experts or Consultants Regarding Protective Order” that is attached

       as Exhibit A hereto acknowledging that he or she has received a copy of, has read, has

       agreed to be bound by this Order, is obligated on behalf of his or her staff to abide by the

       terms and conditions of the Order, and will appropriately disclose the terms and conditions

       of this Order to all staff who will have access to information pursuant to the Order.

 16.   For Protected Material designated HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL

       ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

       listed in paragraphs 14(a-b) and (e-f) subject to the Prosecution Bar as defined in paragraph

       20.

 17.   Protected Material designated HIGHLY CONFIDENTIAL – SOURCE CODE shall be

       subject to all of the protections afforded to “HIGHLY CONFIDENTIAL – OUTSIDE

       COUNSEL ONLY” information, including the Prosecution Bar set forth in Paragraph 19,

       and may be disclosed only to the individuals to whom “HIGHLY CONFIDENTIAL –

       OUTSIDE COUNSEL ONLY” information may be disclosed, as set forth in paragraph 15.

       For Protected Material designated HIGHLY CONFIDENTIAL – SOURCE CODE, the

       following additional restrictions apply:

       a.     Any SOURCE CODE produced in discovery shall be made available for inspection,




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             in a format allowing it to be reasonably reviewed and searched, during normal

             business hours or at other mutually agreeable times, at an office of the producing

             Party’s counsel or another mutually agreed upon location. “Normal business hours”

             for purposes of this paragraph shall be 9:00 a.m. through 5:00 p.m. in the time zone

             where the access is to occur, or at other mutually agreeable times. SOURCE CODE

             shall be made available for inspection on a secured stand-alone computer in a

             secured room without Internet access or network access to other computers, and the

             receiving Party shall not copy, remove, or otherwise transfer any portion of the

             SOURCE CODE onto any recordable media or recordable device. During

             SOURCE CODE review, the receiving Party may only bring non-electronic writing

             utensils (i.e., pen or pencil only) and paper to the secured room. The producing

             Party may visually monitor the activities of the receiving Party’s representatives

             during any SOURCE CODE review, but only to ensure that there is no unauthorized

             recording, copying, or transmission of the source code.

       b.    The receiving Party may request paper copies of limited portions of SOURCE

             CODE that are reasonably necessary for the preparation of court filings, pleadings,

             expert reports, or other papers, or for deposition or trial, up to a total amount of five

             hundred (500) pages. The receiving Party shall not request paper copies for the

             purposes of reviewing SOURCE CODE other than electronically as set forth in

             paragraph (a) in the first instance. The producing Party shall provide all such

             SOURCE CODE in paper form including bates numbers and the label “HIGHLY

             CONFIDENTIAL - SOURCE CODE.”

       c.    The receiving Party shall maintain a record (“Source Code Inspection Record”) of




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             any individual who has inspected any portion of the SOURCE CODE in electronic

             or paper form. The receiving Party shall maintain all paper copies of any printed

             portions of the SOURCE CODE in a secured, locked area. The receiving Party shall

             not create any electronic or other images of the paper copies and shall not convert

             any of the information contained in the paper copies into any electronic format. The

             receiving Party shall make additional paper copies only if such additional copies

             are (1) necessary to prepare court filings, pleadings, or other papers (including a

             testifying expert’s expert report), (2) necessary for deposition, or (3) otherwise

             necessary for the preparation of its case. All additional copies must be logged by

             the receiving Party in the Source Code Inspection Record, as well as individuals

             who have inspected those additional copies. Each additional copy must be uniquely

             identified with the following label: “Copy #___.” Any paper copies used during a

             deposition shall be retrieved by the producing Party at the end of each day and must

             not be given to or left with a court reporter or any other unauthorized individual.

             The requesting Party shall provide a copy of the Source Code Inspection Record to

             the producing Party within one calendar day of the producing Party’s written

             request.

       d.    The producing Party or Non-Party, at its sole discretion, may choose to waive any

             or all of the default requirements in paragraph 17 for its own convenience.

       e.    To the extent a Party makes Source Code Material available for inspection, at least

             fourteen (14) calendar days before the producing Party makes said Source Code

             Material available for inspection, the producing Party shall provide the receiving

             Party in writing, an identification of the Product(s) from which the Source Code




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              Material originated and the Source Code Material languages present in the

              production (e.g., Java, Python, etc.).      The producing Party shall provide the

              receiving Party with information explaining how to start, log on to, and operate the

              stand-alone computer(s) in order to access the produced Source Code Material on

              the stand-alone computer(s). The producing Party will produce Source Code

              Material in computer searchable format on the secure computer(s) as described

              above. The secure computer shall include software utilities which will allow

              counsel and experts to view, search, and analyze the source code. At a minimum,

              these utilities must provide the ability to (a) view, search, and line-number any

              source file, (b) search for a given pattern of text through a number of files, (c)

              compare two files and display their differences, and (d) compute the MD5

              checksum of a file.

       f.     This provision shall not obligate any Party to produce Source Code Material and

              does not constitute a waiver of a Party’s right to object to the production or

              inspection of Source Code Material.

 18.   There shall be no disclosure of any Protected Material by any person authorized to have

       access thereto to any person who is not authorized for such access under this Order. The

       Parties are hereby ORDERED to safeguard all such documents, information and material

       to protect against disclosure to any unauthorized persons or entities.

 19.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

       Protected Material in taking testimony at any deposition or hearing provided that the

       Protected Material is only disclosed to a person(s) who is: (i) eligible to have access to the

       Protected Material by virtue of his or her employment with the producing Party, (ii)




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       identified in the Protected Material as an author, addressee, or copy recipient of such

       information, (iii) although not identified as an author, addressee, or copy recipient of such

       Protected Material, has, in the ordinary course of business, seen such Protected Material,

       (iv) a current or former officer, director or employee of the producing Party or a current or

       former officer, director or employee of a company affiliated with the producing Party; (v)

       counsel for a Party, including outside counsel and in-house counsel (subject to paragraphs

       14, 16 and 17 of this Order); (vi) an independent contractor, consultant, and/or expert

       retained for the purpose of this litigation; (vii) court reporters and videographers; (viii) the

       Court; or (ix) other persons entitled hereunder to access to Protected Material. Protected

       Material shall not be disclosed to any other persons unless prior authorization is obtained

       from counsel representing the producing Party or from the Court.

                                PATENT PROSECUTION BAR

 20.   Absent the written consent of the producing Party, any attorney representing a Party,

       whether in-house or outside counsel, and any person associated with a Party and who

       receives one or more items designated “HIGHLY CONFIDENTIAL – OUTSIDE

       COUNSEL ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” (“HIGHLY

       SENSITIVE MATERIAL”) by a Party shall not be involved, directly or indirectly, in

       advising on, consulting on, preparing, prosecuting, drafting, editing, and/or amending of

       patent applications relating to the routing or scheduling of data packets in a network router

       on behalf of the receiving Party or its acquirer, successor, predecessor, or other affiliate

       during the pendency of this Action, including any appeals, before any foreign or domestic

       agency, including the United States Patent and Trademark Office. For sake of clarity, any

       attorney representing a Party, whether in-house or outside counsel, and any person




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       associated with a Party and permitted to receive another Party’s HIGHLY SENSITIVE

       MATERIAL, may participate, supervise and assist in any and all proceedings before the

       U.S. Patent and Trademark Office related to the patents-in-suit, including without

       limitation reexamination, Inter Partes Review (IPR), covered business method review

       proceedings, even if they have received the other Party’s HIGHLY SENSITIVE

       MATERIAL, provided that they do not participate or assist in any claim preparation,

       drafting, editing, or amendment of claims in such proceedings.

                FILING PROTECTED MATERIAL WITH THE COURT

 21.   Any Protected Material that is filed with the Court shall be filed under seal and in

       accordance with the Court’s policies and procedures regarding filing documents under seal.

                                      THIRD PARTIES

 22.   To the extent that any discovery is taken of Third Parties and in the event that such Third

       Parties contend the discovery sought involves trade secrets, confidential business

       information, or other proprietary information, then such Third Parties may agree to be

       bound by this Order.

 23.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

       designate as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL

       ONLY” any documents, information or other material, in whole or in part, produced or

       give by such Third Parties. The Third Parties shall have ten (10) days after production of

       such documents, information or other materials to make such a designation. Until that time

       period lapses or until such a designation has been made, whichever occurs sooner, all

       documents, information or other material so produced or given shall be treated as

       “HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY” in accordance with this




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       Order.

                                      MISCELLANEOUS

 24.   Any Party knowing or believing that any other party is in violation of or intends to violate

       this Order and has raised the question of violation or potential violation with the opposing

       party and has been unable to resolve the matter by agreement may seek relief from the

       Court under the Court’s procedures for resolving discovery disputes as may be appropriate

       in the circumstances.

 25.   Production of Protected Material by each of the Parties shall not be deemed a publication

       of the documents, information and material (or the contents thereof) produced so as to void

       or make voidable whatever claim the Parties may have as to the proprietary and confidential

       nature of the documents, information or other material or its contents.

 26.   Items or information, regardless of the medium or manner in which it is generated, stored

       or maintained, produced, or generated in disclosures or responses to discovery in this

       matter, including but not limited to Protected Material, shall be used by the Parties only in

       the litigation of this Action, including all appeals, and shall not be used for any other

       purpose.

 27.   Nothing in this Order shall require production of documents, information or other material

       that a Party contends is protected from disclosure by the attorney-client privilege, the work

       product doctrine, or other privilege, doctrine, or immunity. If documents, information or

       other material subject to a claim of attorney-client privilege, work product doctrine, or

       other privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

       production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

       any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally




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       produces documents, information or other material it reasonably believes are protected

       under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

       immunity may obtain the return of such documents, information or other material by

       promptly notifying the receiving Party in writing of the inadvertent or unintentional

       production and the basis for the claimed protection. Within ten (10) days upon receiving

       such notice, the receiving Party shall return to the producing Party or destroy all copies of

       such documents, information or other material, including any copies possessed by any

       person to whom the receiving Parity has provided such documents, information or other

       material, and certified as such to the producing Party. No reference to the privileged

       document shall be made in discovery, at trial, or any other manner. The Party returning

       such material may then move the Court for an order compelling production of the material,

       but that party shall not assert as a ground for entering such an order the fact or

       circumstances of the inadvertent or unintentional production. The Party returning the

       material may not further use or disclose the information until the claim of privilege is

       resolved and must take reasonable steps to: (a) notify any person to whom the returning

       party has provided the information of the claim of privilege, and (b) request that such

       person destroy all paper and electronic copies of such documents, information or material

       and not further use or disclose the information until the claim of privilege is resolved.

 28.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

       the Parties from introducing any Protected Material into evidence at the trial of this Action,

       or from using any information contained in Protected Material at the trial of this Action,

       subject to any pretrial order issued by this Court.

 29.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any




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       kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

 30.   Other Proceedings. By entering this order and limiting the disclosure of information in this

       case, the Court does not intend to preclude another court from finding that information may

       be relevant and subject to disclosure in another case. Any person or party subject to this

       order who becomes subject to a motion to disclose another party’s information designated

       “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL—OUTSIDE COUNSEL ONLY” or

       “HIGHLY CONFIDENTIAL—SOURCE CODE” pursuant to this Order shall promptly

       notify that party of the motion so that the party may have an opportunity to appear and be

       heard on whether that information should be disclosed. If any documents, tangible things,

       or information received under this Protective Order and in the possession, custody, or

       control of any receiving Party is sought by subpoena, request for production of

       documents, interrogatories, or any other form of discovery request or compulsory process,

       including any form of discovery request, the receiving Party to whom the process or

       discovery request is directed shall, unless otherwise precluded from doing so by law or

       court order, (i) within ten (10) business days after receipt thereof, give written notice by

       hand, e-mail, or facsimile of such process or discovery request together with a copy thereof,

       to counsel for the producing Party; (ii) cooperate to the extent necessary to permit the

       producing Party to seek to quash such process or discovery request; and (iii) not produce

       or disclose the documents, things, or information until the producing Party consents in

       writing to production or the receiving Party is ordered by a court of competent jurisdiction

       to produce or disclose the documents, things, or information, so long as the order is not

       stayed prior to the date set for production or disclosure.

 31.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify




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        this Order to allow disclosure of Protected Material to additional persons or entities if

        reasonably necessary to prepare and present this Action and (b) to apply for additional

        protection of Protected Material.


 Dated: April 3, 2023                           Respectfully submitted,

  FARNAN LLP                                        ASHBY & GEDDES

  /s/ Michael J. Farnan                             /s/ Steven J. Balick
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  Michael J. Farnan (Bar No. 5165)                  Andrew C. Mayo (#5207)
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                                                    SQUIRE PATTON BOGGS (US) LLP
  Attorneys for Plaintiff                           2550 M Street NW
                                                    Washington, D.C. 20037
                                                    (202) 457-6000

                                                    Attorneys for Defendant

 SO ORDERED this __________ day of April, 2023.

                                                     _________________________________
                                                     The Honorable Maryellen Noreika



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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  PARITY NETWORKS, LLC,

        Plaintiff,
                                               C.A. No. 22-cv-1521-MN
                v.

  NETGEAR, INC.,

        Defendant.


                             APPENDIX A
          UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                         PROTECTIVE ORDER

       I, ____________________________________________, declare that:

 1.    My address is ___________________________________________________________.

 My current employer is _________________________________________________________.

 My current occupation is ________________________________________________________.

 2.    I have received a copy of the Protective Order in this action. I have carefully read and

       understand the provisions of the Protective Order.

 3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

       will not disclose to anyone not qualified under the Protective Order, and will use only for

       purposes of this action any information designated as “CONFIDENTIAL,” “HIGHLY

       CONFIDENTIAL – OUTSIDE COUNSEL ONLY,” “HIGHLY CONFIDENTIAL –

       SOURCE CODE,” that is disclosed to me.

 4.    Promptly upon termination of this Action, I will return all documents and things designated

       as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY,”

       or “HIGHLY CONFIDENTIAL – SOURCE CODE” that came into my possession, and

       all documents and things that I have prepared relating thereto, to the outside counsel for

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       the party by whom I am employed.

 5.    I acknowledge the obligation on behalf of all my staff to abide by the terms and conditions

       of the Order and will appropriately disclose the terms and conditions of the Protective

       Order to all staff who will have access to information pursuant to the Protective Order.

 6.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

       I declare under penalty of perjury that the foregoing is true and correct.

 Signature ________________________________________

 Date ____________________________________________




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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


      ALMONDNET, INC.,                                   CASE NO. 6:21-CV-00876-ADA

                    Plaintiff,
                                                         JURY TRIAL DEMANDED
            v.

      ROKU, INC.,

                    Defendant.



                                       PROTECTIVE ORDER
          WHEREAS, Plaintiff AlmondNet, Inc. (“Plaintiff” or “AlmondNet”) and Defendant Roku,

 Inc. (“Defendant” or “Roku”), hereafter referred to as the “Parties,” believe that certain information

 that is or will be encompassed by discovery demands by the Parties involves the production or

 disclosure of trade secrets, confidential business information, or other proprietary information;

          WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

 Federal Rule of Civil Procedure 26(c):

          THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

 1.       Each Party may designate as confidential for protection under this Order, in whole or in part,

          any document, information, or material that constitutes or includes, in whole or in part,

          confidential or proprietary information or trade secrets of the Party or a Third Party to whom

          the Party reasonably believes it owes an obligation of confidentiality with respect to such

          document, information, or material (“Protected Material”). Protected Material shall be

          designated by the Party producing it by affixing a legend or stamp on such document,

          information, or material as follows: “CONFIDENTIAL,” “CONFIDENTIAL - OUTSIDE



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       ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE.” The label

       “CONFIDENTIAL,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,”

       or “CONFIDENTIAL - SOURCE CODE” shall be placed clearly on each page of the

       Protected Material (except deposition and hearing transcripts, natively produced

       documents, and tangible things other than documents) for which such protection is sought.

       For   deposition     and    hearing    transcripts,   the   word(s)    “CONFIDENTIAL,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” shall be placed on the cover page of the transcript (if not already present

       on the cover page of the transcript when received from the court reporter) by each attorney

       receiving a copy of the transcript after that attorney receives notice of the designation of

       some or all of that transcript as “CONFIDENTIAL,” “CONFIDENTIAL - OUTSIDE

       ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE.” For natively

       produced Protected Material, the word(s) “CONFIDENTIAL,” “CONFIDENTIAL -

       OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE”

       shall be placed in the filename of each such natively produced document. For tangible

       things other than documents, the “CONFIDENTIAL,” “CONFIDENTIAL - OUTSIDE

       ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE” nature of the

       item shall be prominently identified in a cover letter, a photograph of the object, or a label

       attached to the document.      If two or more copies of the same document or thing are

       produced with or given inconsistent confidentiality designations, then the most restrictive

       designation shall apply to all such copies.

 2.    Any document produced before issuance of this Order, including pursuant to the Court’s

       Order Governing Proceedings - Patent Case, with the designation “Confidential” or the like




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        shall receive the same treatment as if designated “CONFIDENTIAL” under this order; any

        such documents produced with the designation “Confidential - Outside Attorneys’ Eyes

        Only” or the like shall receive the same treatment as if designated “CONFIDENTIAL -

        OUTSIDE ATTORNEYS’ EYES ONLY” under this Order; and any such documents

        produced with the designation “Confidential – Source Code” or the like shall receive the

        same treatment as if designated “CONFIDENTIAL – SOURCE CODE” under this order;

        unless and until such document is re-designated to have a different classification under this

        Order.

 3.     With respect to documents, information, or material designated “CONFIDENTIAL,”

        “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

        SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the provisions herein and

        unless otherwise stated, this Order governs, without limitation: (a) all documents,

        electronically stored information, and things as defined by the Federal Rules of Civil

        Procedure; (b) all pretrial, hearing, and deposition testimony, or documents marked as

        exhibits or for identification in depositions or hearings; (c) pretrial pleadings, exhibits to

        pleadings and other court filings; (d) affidavits; and (e) stipulations.2        All copies,

        reproductions, extracts, digests, and complete or partial summaries prepared from any

        DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and



 1 The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to

 documents, information, or material designated as “CONFIDENTIAL,” “CONFIDENTIAL -
 OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE,”
 individually and collectively.
 2 For the avoidance of doubt, where the accuracy of information is confirmed only through the

 review of DESIGNATED MATERIAL, the fact that such information is accurate is
 DESIGNATED MATERIAL. For example, the accuracy of unsubstantiated media speculations
 or rumors that are later confirmed to be accurate through access to DESIGNATED MATERIAL
 is not public information.


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       treated as such under this Order.

 4.    A designation of Protected Material (i.e., “CONFIDENTIAL,” “CONFIDENTIAL -

       OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE”) may

       be made at any time. Inadvertent or unintentional production of documents, information,

       or material that has not been designated as DESIGNATED MATERIAL shall not be

       deemed a waiver in whole or in part of a claim for confidential treatment. Any Party that

       inadvertently or unintentionally produces Protected Material without designating it as

       DESIGNATED MATERIAL may request destruction of that Protected Material by notifying

       the recipient(s) as soon as reasonably possible after the producing Party becomes aware of

       the inadvertent or unintentional disclosure, and providing replacement Protected Material

       that is properly designated. The recipient(s) shall then destroy all copies of the inadvertently

       or unintentionally produced Protected Materials and any documents, information, or material

       derived from or based thereon.

 5.    “CONFIDENTIAL” documents, information, and material may be disclosed only to the

       following persons, except upon receipt of the prior written consent of the designating Party,

       upon order of the Court, or as set forth in paragraph 15 herein:

       (a)     Outside counsel of record in this Action for the Parties.

       (b)     Employees of such counsel assigned to and reasonably necessary to assist such
               counsel in the litigation of this Action.

       (c)     Up to two (2) in-house counsel for the Parties who either have responsibility for
               making decisions dealing directly with the litigation of this Action, or who are
               assisting outside counsel in the litigation of this Action.

       (d)     Up to one (1) designated representative of each of the Parties, who either has
               responsibility for making decisions dealing directly with the litigation of this
               Action, or who is assisting outside counsel in the litigation of this Action, and who
               has completed the Undertaking attached as Exhibit A hereto, except that any Party
               may in good faith request the other Party’s consent to designate one or more



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                additional representatives, the other Party shall not unreasonably withhold such
                consent, and the requesting Party may seek leave of Court to designate such
                additional representative(s) if the requesting Party believes the other Party has
                unreasonably withheld such consent.

        (e)     Outside consultants or experts retained for the purpose of this litigation, provided
                that: (1) such consultants or experts are not presently employed by the Parties or
                of an affiliate of a Party hereto for purposes other than this Action,3 (2) is not a
                current employee or contractor of a Party’s competitor; (3) at the time of retention,
                is not anticipated to become an employee or contractor of a Party, of an affiliate of
                a Party, or of a Party’s competitor; and (4) at least ten (10) days before access to
                the Protected Material is to be given to that consultant or expert, the consultant or
                expert has completed the Undertaking attached as Appendix A hereto and the same
                is served upon the producing Party with a current curriculum vitae of the consultant
                or expert, including (a) a list of other cases in which the individual has provided a
                report or testified (at trial or deposition) (identified by name and number of the
                case, filing date, and location of court) during the preceding four years, (b) a list
                of companies and/or persons that the individual has been employed by or from
                whom the consultant or expert has received compensation or funding for work in
                their area(s) of expertise or to whom the Expert has provided professional services,
                including in connection with a litigation, within the last four years and a brief
                description of the subject matter of the consultancy or employment, including the
                Party to the litigation for whom such work was done.4 The producing Party may
                object to and notify the receiving Party in writing that it objects to disclosure of
                Protected Material to the consultant or expert within ten (10) days of receipt of the
                materials listed in 5(e)(4). The Parties agree to promptly confer and use good faith
                to resolve any such objection. If the Parties are unable to resolve any objection,
                the objecting Party may file a motion with the Court within fifteen (15) days of
                receipt of the notice, or within such other time as the Parties may agree, seeking a
                protective order with respect to the proposed disclosure. The objecting Party shall
                have the burden of proving the need for a protective order. No disclosure shall occur
                until all such objections are resolved by agreement or Court order.

        (f)     Independent litigation support services, including persons working for or as court
                reporters, graphics or design services, jury or trial consulting services (including
                mock jurors), and photocopy, document imaging, and database services retained


 3 For avoidance of doubt, an independent expert or consultant retained (as opposed to employed)

 by a Party would not be precluded based solely on Sections 5(e)(1), (2), or (3), but would remain
 subject to all remaining limitations and applicable objections set forth in this Protective Order.
 4 With regard to the information sought through part (b) of such a disclosure, if the expert or

 consultant believes any of this information is subject to a confidentiality obligation to a Third
 Party, then the expert or consultant should provide whatever information they believe can be
 disclosed without violating any confidentiality agreements, and the Party seeking to disclose to the
 consultant or expert must be available to meet and confer with the designating Party regarding any
 such engagement.


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              by counsel and reasonably necessary to assist counsel with the litigation of this
              Action to whom disclosure is reasonably necessary for this litigation and who have
              signed a confidentiality agreement.

       (g)    The Court and its personnel.

       (h)    Any mediator who is assigned to this matter, and their staff, who have signed
              Appendix A.

 6.    A Party shall designate documents, information, or material as “CONFIDENTIAL” only

       upon a good faith belief that the documents, information, or material contains confidential

       or proprietary information or trade secrets of the Party or a Third Party to whom the Party

       reasonably believes it owes an obligation of confidentiality with respect to such documents,

       information, or material, including material that qualifies for protection under Federal Rule

       of Civil Procedure 26(c) and material for which the disclosure may cause harm to a Party

       or a Third Party.

 7.    Documents, information, or material produced in this Action, including but not limited

       to Protected Material designated as DESIGNATED MATERIAL, shall be used by the

       Parties only in the litigation of this Action and shall not be used for any other purpose.

       However, to be clear, a party may use its own DESIGNATED MATERIAL (confidential

       material of that party) for any purpose. Any person or entity who obtains access to

       DESIGNATED MATERIAL or the contents thereof pursuant to this Order shall not make

       any copies, duplicates, extracts, summaries, or descriptions of such DESIGNATED

       MATERIAL or any portion thereof except as may be reasonably necessary in the litigation

       of this Action. Any such copies, duplicates, extracts, summaries, or descriptions shall be

       classified DESIGNATED MATERIALS and subject to all of the terms and conditions of

       this Order. The Parties shall use reasonable means to protect DESIGNATED MATERIAL,

       including by taking reasonable precautions to protect the information or materials from



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        unauthorized physical or electronic access or dissemination.

 8.     To the extent a producing Party believes that certain Protected Material qualifying to be

        designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

        limitation, including confidential or proprietary information and technical information

        related to research for, the design and development of, and production of past and current

        products and related to technical, business, and research information regarding future

        products, highly sensitive investor information, competitively sensitive financial

        information, customer names and lists, sensitive personal information that would not

        normally be shared outside the company, and any other information the Designating Party

        in good faith believes falls within the scope of this provision, the producing Party may

        designate such Protected Material “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

        ONLY.” Additionally, and to the extent such Protected Material includes or substantially

        relates to computer Source Code5 or live data (that is, data as it exists residing in a database

        or databases) (“Source Code Material”), the producing Party may designate such Protected

        Material as “CONFIDENTIAL - SOURCE CODE.”

 9.     For Protected Material designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

        ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

        listed in paragraphs 5(a–b) and (e–h).

 10.    For Protected Material designated CONFIDENTIAL - SOURCE CODE, the following

        additional restrictions apply:

        (a)     Access to a Party’s Source Code Material shall be provided only on a “stand-alone”
                computer (that is, the computer may not be linked to any network, including a local


 5 “Source Code” means computer code, associated comments, and/or revision histories for

 computer code, formulas, engineering specifications, or schematics that define or otherwise
 describe in detail the algorithms or structure of software or hardware designs.


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              area network (“LAN”), an intranet or the Internet). The stand-alone computer may
              only be located within the continental United States of America, in a locked room,
              at the offices of the producing Party’s outside counsel selected by the producing
              Party or another mutually agreed upon location. The stand-alone computer(s) shall
              have disk encryption and be password protected. Use or possession of any
              input/output device (e.g., USB memory stick, mobile phone or tablet, camera or
              any camera-enabled device, CD, floppy disk, portable hard drive, laptop, or any
              device that can access the Internet or any other network or external system, etc.) is
              prohibited while accessing the stand-alone computer(s). All persons entering the
              locked room containing the stand-alone computer(s) must agree to submit to
              reasonable security measures to ensure they are not carrying any prohibited items
              before they will be given access to the stand-alone computer(s), and shall sign a
              log that includes the names of persons who enter the room and the dates and times
              when they enter and depart. The producing Party may visually monitor, in a non-
              intrusive fashion and at reasonable intervals, through a glass wall or window, the
              activities of the receiving Party’s representatives, but only to ensure that no
              unauthorized electronic records of the Source Code Material and no information
              concerning the Source Code Material are being created or transmitted in any way.
              The producing Party shall not monitor the review conducted by the receiving Party
              through analyzing the electronic access record on the stand-alone computer (e.g.,
              command histories, recent file lists, file access dates, undo histories), except as
              required to address technical issues or security concerns, as agreed to by the
              receiving Party, or as ordered by the Court.

                     (i)      To enable electronic note taking during Source Code reviews, the
                     Producing Party of Source Code shall also provide an additional “note-
                     taking” computer loaded with at least Microsoft One Note, Notepad++, and
                     Microsoft Word software, unless otherwise agreed by the Producing Party
                     and the Receiving Party. The note-taking computer shall either be a portable
                     laptop or be located in close proximity to the Source Code Computer to
                     facilitate electronic note taking, and shall not be linked to any network,
                     including a local area network (“LAN”), an intranet or the Internet.

                     (ii)   At the beginning of a Source Code review session, the Producing
                     Party shall, when requested by the reviewer, upload to the note-taking
                     computer an encrypted notes file (e.g., uploading an encrypted notes file
                     from a USB memory stick provided by the reviewer to the note-taking
                     computer).

                     (iii)   The reviewer may then decrypt and open the notes file using the
                     note-taking computer for the purpose of taking notes during the Source
                     Code review session. During the source Code review session, the Producing
                     Party may disable any input and/or output devices on the note-taking
                     computer (e.g., disable any USB ports, Wi-Fi or Ethernet connectivity,
                     and/or optical disc drives) except as necessary to enable the reviewer to take
                     notes (e.g., enable mouse and keyboard). Use or possession of any
                     input/output device (e.g., USB memory stick, mobile phone or tablet,


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                     camera or any camera-enabled device, CD, floppy disk, portable hard drive,
                     laptop/computer, or any device that can access the Internet or any other
                     network or external system, etc.) is prohibited while accessing the note-
                     taking computer.

                     (iv)   At the end of a Source Code review session, the reviewer may save
                     any notes in the same encrypted notes file. The Producing Party shall, when
                     requested by the reviewer, download from the note-taking computer the
                     encrypted notes file and provide an electronic copy to the reviewer (e.g.,
                     downloading the encrypted notes file from the note-taking computer to a
                     USB memory stick provided by the reviewer).

                     (v)     Notwithstanding this stipulation, no reviewer may at any time copy
                     or include in electronic notes any portions or sections of the Source Code.
                     Reviewers using electronic note-taking will be directed by undersigned
                     counsel not to copy or include in electronic notes any portions or sections
                     of the Source Code.

                     (vi)    If requested by the Producing Party, a copy of the encrypted notes
                     file shall remain on the note-taking computer, so long as it remains
                     encrypted.

                     (vii) If requested by the Producing Party, a representative for the
                     Producing Party may oversee the transfer of the encrypted notes file from
                     the secure data storage device to the notetaking computer, and vice-versa,
                     without reviewing the substance of the electronic notes.

                     (viii) The reviewer shall not take notes electronically on the “stand-alone”
                     computer containing Source Code Material or any other computer or
                     electronic device (besides the note-taking computer) while conducting a
                     review.

       (b)    The receiving Party shall make reasonable efforts to restrict its requests for such
              access to the stand-alone computer to normal business hours, which for purposes of
              this paragraph shall be 9:00 a.m. through 6:00 p.m. However, upon reasonable
              notice from the receiving Party, the producing Party shall make reasonable efforts to
              accommodate the receiving Party’s request for access to the stand-alone computer
              outside of normal business hours. The Parties agree to cooperate in good faith such
              that maintaining the producing Party’s Source Code Material at the offices of its
              outside counsel or its vendors shall not unreasonably hinder the receiving Party’s
              ability to efficiently and effectively conduct the prosecution or defense of this
              Action.

       (c)    The producing Party shall provide basic instructions to the receiving Party
              regarding how to operate the stand-alone computer for purposes of accessing the
              produced Source Code Material as permitted in this Protective Order.




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        (d)     The producing Party will produce Source Code Material in computer searchable
                format on the stand-alone computer as described above. The producing Party shall
                install tools that are sufficient for viewing the Source Code Material produced for
                inspection on the stand-alone computer. The receiving Party’s outside counsel
                and/or experts/consultants may request that commercially available software tools
                for viewing and searching Source Code Material be installed on the stand-alone
                computer, provided, however, that (a) the receiving Party possesses an appropriate
                license to such software tools; (b) the producing Party approves such software
                tools; (c) such software tools will not be capable of compiling or executing the
                code; and (d) such other software tools are reasonably necessary for the receiving
                Party to perform its review of the Source Code Material consistent with all of the
                protections herein. The producing Party shall approve reasonable requests for
                additional commercially available software tools. The receiving Party must
                provide the producing Party with the CD, DVD, file path, or Advanced Package
                Tool package containing such licensed software tool(s) at least six (6) business
                days in advance of the date upon which the receiving Party wishes to have the
                additional software tools available for use on the stand-alone computer. The
                producing Party shall make reasonable attempts to install the requested software
                but will not be held responsible for the proper setup, functioning, or support of any
                software requested by the receiving Party. By way of example, the producing Party
                will not compile or debug software for installation.

        (e)     Access to Source Code Material shall be limited to outside counsel and up to three
                (3) outside consultants or experts6 (i.e., not existing employees or affiliates of a
                Party) retained for the purpose of this litigation and approved to access such
                Protected Materials pursuant to paragraph 5(e) above, as well as those individuals
                in paragraph 5(f), 5(g), and 5(h) above, except that mock jurors shall not have
                access to Protected Material designated CONFIDENTIAL - SOURCE CODE .

        (f)     To the extent portions of Source Code Material are quoted in an electronic
                copy or image of a document which, pursuant to the Court’s rules, procedures, or
                orders, must be filed or served electronically (“Source Code Exhibit”), either (1)
                the entire Source Code Exhibit will be stamped and treated as CONFIDENTIAL -
                SOURCE CODE or (2) those pages containing quoted Source Code Material will
                be separately stamped and treated as CONFIDENTIAL - SOURCE CODE. The
                receiving Party may create an electronic copy or image of limited excerpts of
                Source Code Material (where each such excerpt contains no more than 75
                consecutive lines of code) from Source Code Printouts as defined below in
                paragraph (i), only to the extent necessary to create Source Code Exhibits or any
                drafts of these documents.7 The receiving Party shall only include such excerpts
                as are reasonably necessary for inclusion in such documents for filing with the

 6 For the purposes of this paragraph, an outside consultant or expert does not include the outside

 consultant’s or expert’s direct reports and other support personnel.
 7 Drafts shall only include those excerpts the receiving Party reasonably believes will be included

 in the final version.


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             Court. Images or copies of Source Code Material shall not be included in
             correspondence between the parties (references to production numbers, file names,
             and/or line numbers shall be used instead) and shall be omitted from pleadings and
             other papers except to the extent permitted herein. The receiving Party may create
             an electronic image of a selected portion of the Source Code Material only when
             the electronic file containing such image has been encrypted using commercially
             reasonable encryption software including password protection, and any documents
             or drafts thereof that contain such Source Code Material must remain encrypted
             except as may be required for filing with the Court. The communication and/or
             disclosure of electronic files containing any portion of Source Code Material shall
             at all times be limited to individuals who are authorized to see Source Code
             Material under the provisions of this Protective Order. Additionally, all electronic
             copies must be labeled “CONFIDENTIAL – SOURCE CODE” and must only be
             exchanged via secure, encrypted file transfer. If Source Code Exhibits are filed
             with the Court, they must be filed under seal in accordance with the Court’s rules,
             procedures and orders. Electronic images should not be maintained separate and
             apart from the filing for which they were created for.

       (g)   Except as set forth in paragraph 10(f), no electronic copies or images of Source
             Code Material shall be made without prior written consent of the producing Party.

       (h)   Except as set forth in paragraph 10(f) above and in this paragraph, no person shall
             copy, e-mail, transmit, upload, download, print, photograph or otherwise duplicate
             any portion of the designated “CONFIDENTIAL – SOURCE CODE” material.
             The receiving Party may request up to three paper copies (“Source Code Printouts”)
             of limited portions of Source Code Material, but only if and to the extent
             reasonably necessary for the preparation of court filings, pleadings, expert reports,
             or other papers, or for deposition or trial. In no event may the receiving Party
             request (in this specific case) printouts of more than 40 consecutive pages, or an
             aggregate total of more than 750 pages, of source code during the duration of the
             case without prior written approval by the producing Party. The receiving Party
             shall not request paper copies for the purposes of reviewing the source code other
             than electronically as set forth in paragraph 10(a) in the first instance. Using the
             software available on the source code computer, the receiving Party shall create
             PDFs of the printed copies the receiving Party is requesting and save them in a
             folder on the desktop named “Print Requests” with a subfolder identifying the date
             of the request. The PDF printouts must include identifying information including
             the full file path and file name, page number, line numbers, and date. The request
             for printed Source Code Material shall be served via email request identifying the
             subfolders of the “Print Requests” folder that the receiving Party is requesting.
             Within 5 business days or such additional time as necessary due to volume
             requested, the producing Party will provide the requested material on watermarked
             or colored paper bearing Bates numbers and the legend “CONFIDENTIAL –
             SOURCE CODE" unless objected to as discussed below. Even if within the limits
             described, the producing Party may challenge the amount of source code requested
             in hard copy form or whether the source code requested in hard copy form is



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             reasonably necessary to any case preparation activity pursuant to the dispute
             resolution procedure and timeframes set forth in Paragraph 19 whereby the
             producing Party is the “requesting Party” and the receiving Party is the
             “designating Party” for purposes of dispute resolution. Contested Source Code
             Printouts do not need to be produced to the receiving Party until the matter is
             resolved by the Court.

       (i)   If the receiving Party’s outside counsel, consultants, or experts obtain Source Code
             Material Printouts, the receiving Party shall ensure that such outside counsel,
             consultants, or experts keep the Source Code Printouts under their control in a
             secured locked area in the offices of such outside counsel, consultants, or expert.
             The receiving Party may also temporarily keep the Source Code Printouts at: (i) the
             Court for any proceedings(s) relating to the Source Code , for the dates associated
             with the proceeding(s); (ii) the sites where any deposition(s) relating to the Source
             Code Material are taken, for the dates associated with the deposition(s); and (iii)
             any intermediate location reasonably necessary to transport the Source Code
             Printouts to a Court proceeding or deposition (e.g., a hotel prior to a Court
             proceeding or deposition) provided that the Source Code Printouts are kept in a
             secure manner that ensures access is limited to the persons authorized under this
             Order.

       (j)   A producing Party’s Source Code Material may only be transported by the receiving
             Party at the direction of a person authorized under paragraph 10(e) above to another
             person authorized under paragraph 10(e) above on paper via hand carry, Federal
             Express, or other similarly reliable courier. Source Code Material may not be
             transported or transmitted electronically over a network of any kind, including a
             LAN, an intranet, or the Internet except as is reasonably necessary for filing any
             Source Code Material with the Court or serving such Source Code Material on
             another Party.

       (k)   The receiving Party’s outside counsel or expert, or both, shall be entitled to take
             notes relating to the source code, including as set forth above under paragraphs
             10(a)(i)-(viii), but may not copy any portion of the source code into the notes. No
             copies of all or any portion of the source code may leave the room in which the
             source code is inspected except as otherwise provided herein. Further, no other
             written or electronic record of the source code is permitted except as otherwise
             provided herein. No notes shall be made or stored on the inspection computer, or
             left behind at the site where the inspection computer is made available, and any
             such notes shall be deleted or destroyed by the producing Party, without reviewing
             the substance of the notes, upon discovery. Notwithstanding the foregoing, any
             such notes shall be stamped and treated as “CONFIDENTIAL – SOURCE
             CODE.”

       (l)   A list of names of persons who will review Source Code Material on the stand-
             alone computer(s) will be provided to the producing Party in conjunction with any
             written (including email) notice requesting inspection. Prior to the first inspection


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               of any Source Code Material on the stand-alone computer(s), the receiving Party
               shall provide five (5) business days’ notice to schedule the initial inspection with
               the producing Party. The receiving Party shall provide four (4) business days’
               notice in advance of scheduling any additional inspections. Such notice shall
               include the names and titles for every individual from the receiving Party who will
               attend the inspection.

        (m)    The receiving Party’s outside counsel shall maintain a log of all copies of the
               Source Code Printouts (received from a producing Party) that are delivered by the
               receiving Party to any person and a log of each excerpt of source code created
               pursuant to section 10(f). The log shall include the names of the recipients and
               reviewers of copies and locations where the copies are stored. Upon request by
               the producing Party, the receiving Party shall provide reasonable assurances and/or
               descriptions of the security measures employed by the receiving Party and/or
               person that receives a copy of any portion of the source code.

        (n)    All copies of any portion of the Source Code Printouts in whatever form shall be
               securely destroyed if they are no longer in use. Copies of Source Code Printouts
               that are marked as deposition exhibits shall not be provided to the Court Reporter
               or attached to deposition transcripts; rather, the deposition record will identify the
               exhibit by its production numbers. Any paper copies used during a deposition will
               be retrieved by the producing Party at the end of each day.

  11.   Absent written consent from the designating Party, any attorney representing a Party and

        any person associated with a Party and permitted to receive the other Party’s Protected

        Material that is designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY

        or CONFIDENTIAL - SOURCE CODE (collectively “HIGHLY SENSITIVE

        MATERIAL”), who obtains, receives, has access to, or otherwise learns, in whole or in

        part, the other Party’s HIGHLY SENSITIVE MATERIAL under this Order (“Barred

        Persons”) shall not prepare, prosecute, supervise, or assist in the preparation or prosecution

        of any patent application pertaining to the subject matter of the patents-in-suit as well as

        the subject matter of the HIGHLY SENSITIVE MATERIAL to which access is received,

        including without limitation the patents asserted in this action and any patent or application

        claiming priority to or otherwise related to the patents asserted in this action, before any

        foreign or domestic agency, including the United States Patent and Trademark Office (“the



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        Patent Office”). This bar shall be in effect upon first receipt of HIGHLY SENSITIVE

        MATERIAL and ends two (2) years after the conclusion of this action, including any

        appeals. Nothing in this Order shall prevent a person with access to HIGHLY SENSITIVE

        MATERIAL from participating in post-grant PTO proceedings—e.g., IPR, PGR, ex parte

        reexamination—except that person shall not participate—directly or indirectly—in the

        amendment of any claim(s). For purposes of this paragraph, “prosecute” includes directly

        or indirectly drafting, amending, advising, or otherwise affecting the scope or maintenance

        of patent claims. Prosecution includes, for example, original prosecution, reissue, and

        reexamination and other post-grant proceedings. To avoid any doubt, “prosecution” as

        used in this paragraph does not include representing a Party challenging a patent before a

        domestic or foreign agency (including, but not limited to, a reissue protest, ex parte

        reexamination, post grant review, or inter partes review).

  12.   Absent agreement, a Party’s Designated Material must be stored and maintained by a

        receiving Party at a location in the United States of America and in a secure manner that

        ensures that access is limited to persons authorized under this Order. Absent agreement,

        Designated Material may not be exported outside the United States of America or released

        to any foreign national (even if within the United States of America), unless the foreign

        national (1) is a Green Card holder, (2) working in the United States of America pursuant

        to an H-1B visa sponsored by the receiving Party’s law firm, or (3) directly employed by

        the receiving Party’s law firm to provide support or legal representation to the firm’s

        clients and who are otherwise unaffiliated with the receiving Party. Without limitation,

        this prohibition extends to Designated Material (including copies) in physical and

        electronic form. The viewing of Designated Material through electronic means outside




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        the territorial limits of the United States of America is similarly prohibited.           The

        restrictions contained within this paragraph may be amended through the express written

        consent of the producing Party to the extent that such agreed to procedures conform with

        applicable export control laws and regulations. Nothing in this paragraph is intended to

        remove any obligation that may otherwise exist to produce documents currently located in

        a foreign country.

  13.   The Protected Material disclosed by the producing Party may contain technical data

        subject to export control laws and therefore the release of such technical data to foreign

        persons or nationals in the United States or elsewhere may be restricted. The receiving

        Party shall take measures necessary to ensure compliance with applicable export control

        laws, including confirming that no unauthorized foreign person has access to such

        technical data.

  14.   The Parties agree that Federal Rule of Evidence 502 applies to the conduct of discovery

        in this case. To that end, the Parties respectfully request that the Court enter an order

        stating that Rule 502 applies in this case and in all proceedings in any other federal or state

        court in line with Fed. R. Evid. 502(d). Entry of this Protective Order shall constitute such

        a Rule 502(d) order. Nothing herein prevents the Parties from agreeing to additional

        stipulations relating to Rule 502(d), and from requesting the Court to enter an order

        containing such additional terms.

  15.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

        to have access thereto to any person who is not authorized for such access under this Order.

        The Parties are hereby ORDERED to safeguard all such documents, information, and

        material to protect against disclosure to any unauthorized persons or entities. If a receiving




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        Party learns that, by inadvertence or otherwise, it has disclosed Protected Material to any

        person or in any circumstance not authorized under this Protective Order, the receiving

        Party must immediately (a) notify in writing the designating Party of the unauthorized

        disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected

        Material, (c) inform the person or persons to whom unauthorized disclosures were made

        of all the terms of this Order, and (d) request such person or persons to execute Appendix

        A.

  16.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

        DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

        the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

        access to the DESIGNATED MATERIAL by virtue of his or her employment with the

        designating Party; (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

        or copy recipient of such information; (iii) although not identified as an author, addressee,

        or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

        business, seen such DESIGNATED MATERIAL; (iv) court reporters and videographers;

        (v) the Court; or (vi) other persons entitled hereunder to access to DESIGNATED

        MATERIAL. DESIGNATED MATERIAL shall not be disclosed to any other persons

        unless prior authorization is obtained from counsel representing the producing Party or

        from the Court.

  17.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

        deposition or hearing transcript, designate the deposition or hearing transcript or any portion

        thereof as “CONFIDENTIAL,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

        ONLY,” or “CONFIDENTIAL - SOURCE CODE” pursuant to this Order. Access to the




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        deposition or hearing transcript so designated shall be limited in accordance with the terms

        of this Order.   Until expiration of the 30-day period, the entire deposition or hearing

        transcript shall be treated as CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

        ONLY.

  18.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

        shall remain under seal until further order of the Court. The filing Party shall be responsible

        for informing the Clerk of the Court that the filing should be sealed and for placing the

        legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

        caption and conspicuously on each page of the filing.       Exhibits to a filing shall conform

        to the labeling requirements set forth in this Order.     If a pretrial pleading filed with the

        Court, or an exhibit thereto, discloses or relies on DESIGNATED MATERIAL, such

        confidential portions shall be redacted to the extent necessary and the redacted pleading

        or exhibit filed publicly with the Court.

  19.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

        the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

        this Action, or from using any information contained in DESIGNATED MATERIAL at

        the trial of this Action, subject to any pretrial order issued by this Court.

  20.   A Party may request in writing to the other Party that the designation given to any

        DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

        not agree to re-designation within ten (10) days of receipt of the written request, the

        requesting Party may apply to the Court for relief. Upon any such application to the Court,

        the burden shall be on the designating Party to show why its classification is proper. Such

        application shall be treated procedurally as a motion to compel pursuant to Federal Rule




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        of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

        such application, the requirements of the Federal Rules of Civil Procedure and the Local

        Rules of the Court shall be met. Pending the Court’s determination of the application, the

        designation of the designating Party shall be maintained.

  21.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

        accordance with the terms of this Order shall be advised by counsel of the terms of this

        Order, shall be informed that they are subject to the terms and conditions of this Order, and

        shall sign an acknowledgment that they have received a copy of, have read, and have

        agreed to be bound by this Order. A copy of the acknowledgment form is attached as

        Appendix A.

  22.   To the extent that any discovery is taken of persons who are not Parties to this Action

        (“Third Parties”) and in the event that such Third Parties contend the discovery sought

        involves trade secrets, confidential business information, or other proprietary information,

        then such Third Parties may agree to be bound by this Order.

  23.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

        designate as “CONFIDENTIAL,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

        ONLY,” and/or “CONFIDENTIAL - SOURCE CODE” any documents, information, or

        other material, in whole or in part, produced by such Third Parties. The Third Parties (as

        well as any Party whose Protected Material is contained or referenced in such Third Party

        production) shall have ten (10) days after production of such documents, information, or

        other materials to make such a designation.     Until that time period lapses or until such a

        designation has been made, whichever occurs sooner, all documents, information, or other

        material so produced or given shall be treated as “CONFIDENTIAL - OUTSIDE




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        ATTORNEYS’ EYES ONLY” in accordance with this Order.

  24.   In the event that a Party is required in this case, by a valid discovery request, to produce a

        Third Party’s confidential information in the Party’s possession, and the Party is subject

        to an agreement with the Third Party not to disclose the Third Party’s information, then

        the Party shall: (i) promptly notify in writing the receiving Party and the Third Party that

        some or all of the information requested is subject to a confidentiality agreement with a

        Third Party and (ii) promptly provide the Third Party with a copy of this Protective Order,

        the relevant discovery request(s), and a reasonably specific description of the information

        requested. If the Third Party fails to object or seek a protective order from this court within

        a reasonable period of time after receiving the notice and accompanying information,

        including but not limited to any contractual notice period in an agreement between the

        producing Party and the Third Party covering the confidentiality or disclosure of the

        information requested, the producing Party may produce the Third Party’s confidential

        information responsive to the discovery request. If the Third Party timely seeks a

        protective order, the producing Party shall not produce any information in its possession

        or control that is subject to the confidentiality agreement with the Third Party before a

        determination by the Court.

  25.   If a Party is served with a subpoena issued by a court, arbitral, administrative, or legislative

        body, or with a court order issued in other litigation that compels disclosure of any

        DESIGNATED MATERIALS that Party must:

            (a)     promptly notify in writing the designating Party. Such notification shall include

                    a copy of the subpoena or court order, other than a criminal Grand Jury

                    Subpoena;




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           (b)     promptly notify in writing the person who caused the subpoena or order to issue

                   in the other litigation that some or all of the material covered by the subpoena

                   or order is subject to this Protective Order. Such notification shall include a

                   copy of this Protective Order; and

           (c)     cooperate with respect to all reasonable procedures sought to be pursued by the

                   designating Party whose DESIGNATED MATERIAL may be affected.

                   If the designating Party timely seeks a protective order, the Party served with

                   the subpoena or court order shall not produce any DESIGNATED MATERIAL

                   before a determination by the court from which the subpoena or order issued,

                   unless the Party has obtained the designating Party’s permission. The

                   designating Party shall bear the burden and expense of seeking protection in

                   that court of its confidential material – and nothing in these provisions should

                   be construed as authorizing or encouraging a receiving Party in this action to

                   disobey a lawful directive from another court. Any agreement by a designating

                   Party that DESIGNATED MATERIAL may be produced in response to a

                   subpoena does not in any way waive the protections this Protected Order

                   provides against disclosure in any other litigation.

  26.   Within sixty (60) days of final termination of this Action, including any appeals, all

        DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

        descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

        into any privileged memoranda of the Parties), shall at the producing Party’s election either

        be returned to the producing Party or be destroyed.     The receiving Party shall verify the

        return or destruction in writing to the producing Party, upon the producing Party’s request.




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        Notwithstanding this provision, Counsel are entitled to retain an archival copy of all

        pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

        correspondence, deposition and trial exhibits, expert reports, attorney work product, and

        consultant and Expert work product, even if such materials contain Protected Material,

        with the exception of paper copies of Source Code. Any such archival copies that contain

        or constitute Protected Material remain subject to this Protective Order.

  27.   The failure (inadvertent or otherwise) to designate documents, information, or material in

        accordance with this Order and the failure to object to a designation at a given time shall

        not preclude the filing of a motion at a later date seeking to impose such designation or

        challenging the propriety thereof. The entry of this Order or the production of documents,

        information, or material hereunder shall in no way constitute a waiver of any objection to

        the furnishing thereof, all such objections being hereby preserved.

  28.   An inadvertent failure to designate Protected Material does not waive the designating

        Party’s right to secure protection under this Protective Order for such material. Upon

        correction of a designation, the receiving Party must make all reasonable efforts to assure

        that the material is treated in accordance with the provisions of this Protective Order, which

        may require a Party withdraw access to Protected Material that was given to a person who

        is not authorized to have access under the new designation. Within a reasonable time after

        the correction of a designation, a receiving Party must provide notice to the designating

        Party of all persons who received access to the Protected Material who are no longer

        authorized to have access under the new designation. In the event that a producing Party

        inadvertently fails to designate Protected Material, the producing Party shall give written

        notice of such inadvertent production (the “Inadvertent Production Notice”) and shall




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        reproduce copies of the Protected Material that are labeled with the appropriate

        confidentiality designation. Upon receipt of an Inadvertent Production Notice and properly

        labeled Protected Material, the receiving Party shall promptly destroy the inadvertently

        produced Protected Material and all copies thereof or return such together with all copies

        of such Protected Material to counsel for the producing Party. Should the receiving Party

        choose to destroy such inadvertently produced Protected Material, the receiving Party shall

        notify the producing Party in writing of such destruction within 14 calendar days of receipt

        of written notice of the Inadvertent Production Notice and properly labeled Protected

        Material. This provision is not intended to apply to any inadvertent production of any

        document, material, or testimony protected by attorney-client or work product privileges.

  29.   Any Party knowing or believing that any other Party is in violation of or intends to violate

        this Order and has raised the question of violation or potential violation with the opposing

        Party and has been unable to resolve the matter by agreement may move the Court for such

        relief as may be appropriate in the circumstances.        Pending disposition of the motion by

        the Court, the Party alleged to be in violation of or intending to violate this Order shall

        discontinue the performance of and shall not undertake the further performance of any

        action alleged to constitute a violation of this Order.

  30.   Production of DESIGNATED MATERIAL by any Party shall not be deemed a

        publication of the documents, information, or material (or the contents thereof) produced

        so as to void or make voidable whatever claim the Parties may have as to the proprietary and

        confidential nature of the documents, information, or other material or its contents.

  31.   A designation of Protected Material as “CONFIDENTIAL,” “CONFIDENTIAL -

        OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE"




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        alone shall not be a reason to limit the admissibility of such Protected Material to the jury

        at trial.

  32.   Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of any

        kind on the rights of each of the Parties to assert any applicable privilege.

  33.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

        Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

        if reasonably necessary to prepare and present this Action; and (b) to apply for additional

        protection of DESIGNATED MATERIAL.




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION



  ALMONDNET, INC.,                               §
                                                 §
        v.                                       §           Case No. 6:21-CV-00876-ADA
                                                 §
  ROKU, INC.                                     §


                                     APPENDIX A
                               UNDERTAKING REGARDING
                                 PROTECTIVE ORDER
  I, ___________________________________________, declare that:

  1.    My address is _________________________________________________________.

        My current employer is _________________________________________________.

        My current occupation is ________________________________________________.

  2.    I have received a copy of the Protective Order in this action. I have carefully read and

        understand the provisions of the Protective Order.

  3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

        will not disclose to anyone not qualified under the Protective Order, and will use only for

        purposes   of this    action any information designated as            “CONFIDENTIAL,”

        “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

        SOURCE CODE” that is disclosed to me.

  4.    Promptly upon termination of these actions, I will return all documents and things

        designated as “CONFIDENTIAL,” “CONFIDENTIAL - OUTSIDE ATTORNEYS’

        EYES ONLY,” or “CONFIDENTIAL - SOURCE CODE” that came into my possession,

        and all documents and things that I have prepared relating thereto, to the outside counsel




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         for the Party by whom I am employed.

  5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

         Protective Order in this action.

  I declare under penalty of perjury that the foregoing is true and correct.

  Signature ________________________________________

  Date ______________________________




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                            EXHIBIT 7
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


      TORCHLIGHT TECHNOLOGIES LLC,

                     Plaintiff,
      v.                                                  Civil Action. No. 22-751-GBW

      DAIMLER AG, MERCEDES-BENZ USA,
      LLC, VOLKSWAGEN AG,
      AUDI AG, AUDI OF AMERICA,
      LLC, PORSCHE AG, AND PORSCHE
      CARS NORTH AMERICA, INC.,

                     Defendants.



                        [PROPOSED] PROTECTIVE ORDER
           REGARDING THE DISCLOSURE AND USE OF DISCOVERY MATERIALS


            Plaintiff Torchlight Technologies LLC (“Plaintiff”) and Defendants Mercedes-Benz USA,

  LLC, Audi of America, LLC, and Porsche Cars North America, Inc., (collectively, “Defendants”)

  anticipate that documents, testimony, or information containing or reflecting confidential,

  proprietary, trade secret, and/or commercially sensitive information are likely to be disclosed

  or produced during the course of initial disclosures, supplemental disclosures, and other

  discovery in this case and request that the Court enter this Order setting forth the conditions

  for treating, obtaining, and using such information.1




  1
    Defendants note that Plaintiff has additionally named Daimler AG, Volkswagen AG, and Porsche
  AG in this action but has still not served them. To the extent any of those parties are served and
  brought into this action, they may negotiate amendments and supplements to any of this Order’s
  terms.
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         Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Court finds good

  cause for the following Agreed Protective Order Regarding the Disclosure and Use of

  Discovery Materials (“Order” or “Protective Order”).

         1.      PURPOSES AND LIMITATIONS

         (a)     Protected Material designated under the terms of this Protective Order shall be used

  by a Receiving Party solely for this case and shall not be used directly or indirectly for any other

  purpose whatsoever.

         (b)     The Parties acknowledge this Order does not confer blanket protections on all

  disclosures during discovery, or in the course of making initial or supplemental disclosures under

  Rule 26(a). Designations under this Order shall be made with care and shall not be made absent a

  good faith belief that the designated material satisfies the criteria set forth below. If it comes to a

  Producing Party’s attention that designated material does not qualify for protection, or for the level

  of protection initially asserted, the Producing Party must promptly notify all other Parties that it is

  withdrawing or changing the designation.

         2.      DEFINITIONS

         (a)     “Discovery Material” means all items or information, including from any non-

  party, regardless of the medium or manner generated, stored, or maintained (including, among

  other things, testimony, transcripts, or tangible things), that are produced, disclosed, or generated

  in connection with Rule 26(a) disclosures or other discovery in this case.

         (b)     “Outside Counsel” means (i) outside counsel who appear on the pleadings as

  counsel for a Party and (ii) partners, counsel, associates, and staff of such outside counsel to whom

  it is reasonably necessary to disclose the information for this litigation.




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          (c)     “Party” means any party to this case, including all of its officers, directors,

  employees, consultants, retained experts, and Outside Counsel and their support staffs.

          (d)     “Producing Party” means any Party or non-party that discloses or produces any

  Discovery Material in this case.

          (e)     “Receiving Party” means any Party who receives Discovery Material from a

  Producing Party.

          (f)     “Protected Material” means any Discovery Material that is designated as

  “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL

  – ATTORNEYS’ EYES ONLY – SOURCE CODE,” as provided for in this Order.

          (g)     “Source Code” shall mean source code, object code (i.e., computer instructions and

  data definitions expressed in a form suitable for input to an assembler, compiler, or other translator),

  microcode, register transfer language (“RTL”), firmware, hardware description language (“HDL”),

  and any other human-readable representations of actually completed, implemented, and/or realized

  software, firmware, and integrated circuits, as well as any and all programmer notes, annotations,

  and other comments of any type related thereto and accompanying the code. For avoidance of doubt,

  this includes source files, make files, intermediate output files, executable files, header files, resource

  files, library files, module definition files, map files, object files, linker files, browse info files, and

  debug files.

          3.      COMPUTATION OF TIME

          The computation of any period of time prescribed or allowed by this Order shall be

  governed by the provisions for computing time set forth in Federal Rule of Civil Procedure 6.

          4.      SCOPE

          (a)     The protections conferred by this Order cover not only Discovery Material (as

  defined above), but also, without limitation, (1) any information copied or extracted from
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  Discovery Material, (2) all copies, excerpts, summaries, or compilations of Discovery Material,

  and (3) any testimony, conversations, or presentations by Parties or their counsel in court or in

  other settings that reflect Protected Material.

         (b)     Nothing in this Protective Order shall prevent or restrict a Producing Party’s own

  disclosure or use of its own Protected Material for any purpose.

         (c)     Nothing in this Order shall be construed to prejudice any Party’s right to use any

  Protected Material in court or in any court filing, provided the Court’s procedures and orders for

  sealing such Protected Material are followed. The use of Protected Material at trial, however, shall

  be governed by a separate agreement or order.

         (d)     This Order is without prejudice to the right of any Party to seek further or additional

  protection of any Discovery Material or to modify this Order in any way, including, without

  limitation, an order that certain matter not be produced at all.

         5.      DURATION

         (a)        Even after final disposition of this litigation, the confidentiality obligations

  imposed by this Order shall remain in effect until and so long as the Parties comply with ¶ 19 or a

  court order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of

  all claims and defenses in this action, with or without prejudice; and (2) final judgment herein after

  the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

  including the time limits for filing any motions or applications for extension of time pursuant to

  applicable law.

         6.      ACCESS TO AND USE OF PROTECTED MATERIAL

         (a)        Basic Principles. All Protected Material shall be used solely for this case or any

  related appellate proceeding, and not for any other purpose, including without limitation any other



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  litigation, patent prosecution or acquisition, patent reexamination or reissue proceedings, or any

  business or competitive purpose or function. Protected Material shall not be distributed, disclosed

  or made available to anyone except as expressly provided in this Order.

         (b)     Patent Prosecution Bar. Absent written consent from the Producing Party, any

  individual who accesses “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’ EYES

  ONLY,” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE” materials

  reflecting technical information shall not be involved in the Prosecution of patents or patent

  applications (including, without limitation, patents, utility models, continuations, continuations-

  in-part, divisionals, reissues, and any other similar rights) before any foreign or domestic agency,

  including the United States Patent and Trademark Office (“the Patent Office”) relating to 1) the

  invention claimed in any patent asserted in this action, including without limitation any patent or

  patent application claiming priority to or from or otherwise related to any patent asserted in this

  action, or 2) the functionality, operation, and design of any multi-light headlight systems (generally

  or as described in the patents-in-suit). For purposes of this paragraph, “Prosecution” includes

  directly or indirectly drafting and amending patent claims or patent application claims before the

  Patent Office or any foreign agency, discussing whether or how to amend patent claims, or

  rendering any related legal advice or counsel, or supervising any of the above-mentioned activities,

  whether during the course of prosecution or in reissues and reexamination proceedings, inter partes

  review proceedings, covered business method review, post-grant reviews, opposition proceedings,

  or other post-grant proceedings. This prosecution bar shall begin when the affected individual first

  accesses “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE” materials reflecting




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  technical information and shall end one (1) year after final termination of this action (including

  appeals).

         (c)     Secure Storage, No Export. Protected Material must be stored and maintained by a

  Receiving Party at a location in the United States and in a secure manner that ensures that access

  is limited to the persons authorized under this Order.

         (d)     Legal Advice Based on Protected Material. Nothing in this Protective Order shall

  be construed to prevent counsel from advising their clients with respect to this case based in whole

  or in part upon Protected Materials, provided counsel does not disclose the Protected Material

  itself except as provided in this Order and otherwise complies with this Order.

         (e)     Limitations. Nothing in this Order shall restrict in any way a Producing Party’s use

  or disclosure of its own Protected Material. Nothing in this Order shall restrict in any way the use

  or disclosure of Discovery Material by a Receiving Party: (i) that is or has become publicly known

  through no fault of the Receiving Party; (ii) that is lawfully acquired by the Receiving Party from

  a third party that has a right to disclose such material and is not under a duty of confidentiality or

  that is known to the Receiving Party independent of the Producing Party (in each case, as

  demonstrated by contemporaneous written evidence); (iii) previously produced, disclosed and/or

  provided by the Producing Party to the Receiving Party or a non-party without an obligation of

  confidentiality and not by inadvertence or mistake; (iv) with the prior written consent of the

  Producing Party; or (v) pursuant to order of the Court.

         7.      DESIGNATING PROTECTED MATERIAL

         (a)     Available Designations. Any Producing Party may designate Discovery Material

  with any of the following designations, provided that it meets the requirements for such




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  designations as provided for herein: “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’

  EYES ONLY,” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE.”

         (b)     Written Discovery and Documents and Tangible Things.             Written discovery,

  documents (which include “electronically stored information,” as that phrase is used in Federal

  Rule of Procedure 34), and tangible things and any other Discovery Materials that meet the

  requirements for the confidentiality designations listed in Paragraph 7(a) may be so designated by

  placing the appropriate designation on every page of the written material prior to production. For

  digital files being produced, the Producing Party may mark each viewable page or image with the

  appropriate designation, and mark the medium, container, and/or communication in which the

  digital files were contained. In the event that original documents are produced for inspection, the

  original documents shall be presumed “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” during

  the inspection and re-designated as appropriate during the copying process.

         (c)     Native Files.    Where electronic files and documents are produced in native

  electronic format, such electronic files and documents shall be designated for protection under this

  Order by appending to the file names or designators information indicating whether the file

  contains “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE” material, or shall use any

  other reasonable method for so designating Protected Materials produced in electronic format.

  When electronic files or documents are printed for use at deposition, in a court proceeding, or for

  provision in printed form to an expert or consultant pre-approved pursuant to Paragraph 11, the

  party printing the electronic files or documents shall affix a legend to the printed document

  corresponding to the designation of the Designating Party and including the production number

  and designation associated with the native file.



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         (d)     Depositions and Testimony. Parties or testifying persons or entities may designate

  depositions and other testimony with the appropriate designation by indicating on the record at the

  time the testimony is given or by sending written notice of how portions of the transcript of the

  testimony is designated within thirty (30) days of receipt of the transcript of the testimony. If no

  indication on the record is made, all information disclosed during a deposition shall be deemed

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the time within which it may be

  appropriately designated as provided for herein has passed. Any Protected Material that is used in

  the taking of a deposition shall remain subject to the provisions of this Protective Order, along with

  the transcript pages of the deposition testimony dealing with such Protected Material. In such cases

  the court reporter shall be informed of this Protective Order and shall be required to operate in a

  manner consistent with this Protective Order. In the event the deposition is videotaped, the original

  and all copies of the videotape shall be marked by the video technician to indicate that the contents

  of the videotape are subject to this Protective Order, substantially along the lines of “This videotape

  contains confidential testimony used in this case and is not to be viewed or the contents thereof

  to be displayed or revealed except pursuant to the terms of the operative Protective Order in

  this matter or pursuant to written stipulation of the parties.” Counsel for any Producing Party

  shall have the right to exclude from oral depositions, other than the deponent, deponent’s

  counsel, the reporter and videographer (if any), any person who is not authorized by this

  Protective Order to receive or access Protected Material based on the designation of such

  Protected Material.     Such right of exclusion shall be applicable only during periods of

  examination or testimony regarding such Protected Material.




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         8.       DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL”

         (a)      A Producing Party may designate Discovery Material as “CONFIDENTIAL” if it

  contains or reflects confidential, proprietary, and/or commercially sensitive information.

         (b)      Unless otherwise ordered by the Court, Discovery Material designated as

  “CONFIDENTIAL” may be disclosed only to the following:

                  (i)     The Receiving Party’s Outside Counsel, including such counsel’s

  immediate paralegals and staff, and any copying or clerical litigation support services working at

  the direction of such counsel, paralegals, and staff;

                  (ii)    Any outside expert or consultant retained by the Receiving Party to assist

  in this action, provided that disclosure is only to the extent necessary to perform such work; and

  provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

  Protective Order by signing a copy of Exhibit A; and (b) no unresolved objections to such

  disclosure exist after proper notice has been given to all Parties as set forth in Paragraph 11 below;

                  (iii)   Court reporters, stenographers and videographers retained to record

  testimony taken in this action;

                  (iv)    The Court, jury, and court personnel;

                  (v)     Graphics, translation, design, and/or trial consulting personnel, having first

  agreed to be bound by the provisions of the Protective Order by signing a copy of Exhibit A;

                  (vi)    Mock jurors who have signed an undertaking or agreement agreeing not to

  publicly disclose Protected Material and to keep any information concerning Protected Material

  confidential;




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                 (vii)   Any mediator who is assigned to hear this matter, and his or her staff,

  subject to their agreement to maintain confidentiality to the same degree as required by this

  Protective Order;

                 (viii) Expert witnesses of the Producing Party during a deposition who have

  signed the undertaking of Exhibit A;

                 (ix)    Fact witnesses employed by the Producing Party during a deposition; and

                 (x)     Any other person with the prior written consent of the Producing Party.

         9.      DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL –
                 ATTORNEYS’ EYES ONLY”

         (a)     A Producing Party may designate Discovery Material as “CONFIDENTIAL –

  ATTORNEYS’ EYES ONLY” only if it contains or reflects information that is extremely

  confidential and/or sensitive in nature and the Producing Party reasonably believes that the

  disclosure of such Discovery Material is likely to cause economic harm or significant competitive

  disadvantage to the Producing Party. Without limiting the generality of the foregoing, the Parties

  agree that the following information, if non-public, shall be presumed to merit the

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” designation: (a) trade secrets and (b) non-

  public pricing information, financial data, sales information, sales or marketing forecasts or plans,

  business plans, sales or marketing strategy, product development information, engineering

  documents, testing documents, employee information, or other non-public information of similar

  competitive and business sensitivity.

         (b)     Unless otherwise ordered by the Court, Discovery Material designated as

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” may be disclosed only to:




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                  (i)     The Receiving Party’s Outside Counsel, including such Outside Counsel’s

  immediate paralegals and staff, and any copying or clerical litigation support services working at

  the direction of such counsel, paralegals, and staff;

                  (ii)     Any outside expert or consultant retained by the Receiving Party to assist

  in this action, provided that disclosure is only to the extent necessary to perform such work; and

  provided that: (a) such expert or consultant has agreed to be bound by the provisions of the

  Protective Order by signing a copy of Exhibit A; and (b) no unresolved objections to such

  disclosure exist after proper notice has been given to all Parties as set forth in Paragraph 11 below;

                  (iii)   Court reporters, stenographers and videographers retained to record

  testimony taken in this action;

                  (iv)    The Court, jury, and court personnel;

                  (v)     Graphics, translation, design, and/or trial consulting personnel, having first

  agreed to be bound by the provisions of the Protective Order by signing a copy of Exhibit A;

                  (vi)    Mock jurors who have signed an undertaking or agreement agreeing not to

  publicly disclose Protected Material and to keep any information concerning Protected Material

  confidential;

                  (vii)   Any mediator who is assigned to hear this matter, and his or her staff,

  subject to their agreement to maintain confidentiality to the same degree as required by this

  Protective Order;

                  (viii) Expert witnesses of the Producing Party during a deposition who have

  signed the undertaking of Exhibit A;

                  (ix)    Fact witnesses employed by the Producing Party during a deposition; and

                  (x)     Any other person with the prior written consent of the Producing Party.



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         10.     DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL –
                 ATTORNEYS’ EYES ONLY – SOURCE CODE”

                 (a)     To the extent production of source code becomes necessary in this case, a

  Producing Part may designate source code as “CONFIDENTIAL – ATTORNEYS’ EYES ONLY

  – SOURCE CODE.” However, nothing in this Order shall be construed as a representation or

  admission that Source Code is properly discoverable in this action or to obligate any Party to

  produce any Source Code.

                 (b)     Access to a Party’s “CONFIDENTIAL – ATTORNEYS’ EYES ONLY –

  SOURCE CODE” material shall be provided only on a “stand-alone” computer(s) that is not linked

  to any network, including a local area network (“LAN”), an intranet, or the Internet with all ports,

  software and other avenues that could be used to copy or transfer data blocked (“Source Code

  Computer”). The Source Code Computer may be located in a secure room at the offices of the

  Producing Party’s outside counsel or at another location the Parties mutually agree on. The

  Receiving Party shall not have the right to, and agrees not to, copy, transmit, or duplicate

  CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE material in any manner,

  including scanning or otherwise creating an electronic image of such material, except as expressly

  set forth herein. Each time a person accesses the Source Code Computer, the person shall sign a

  sign-in sheet prior to, and a sign-out sheet subsequent to, accessing the Source Code Computer

  including the name of the person accessing, the date in and out, and whether any handwritten notes

  or hard copies were made. The Receiving Party shall not modify the files on the Source Code

  Computer, nor shall the Receiving Party load anything onto the Source Code Computer absent the

  prior written consent of the Producing Party.




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                 (c)    The Producing Party shall provide the receiving Party with information

  explaining how to start, log on to, and operate the Source Code Computer(s) in order to access the

  produced Source Code Material on the Source Code Computer(s);

                 (d)    The Producing Party will produce Source Code Material in computer

  searchable format on the Source Code Computer(s) as described above;

                 (e)    The Receiving Party may request reasonable software tools on the Source

  Code Computer, which if agreed shall be installed by the Producing Party at the Receiving Party’s

  expense. The Parties shall promptly meet and confer as to any objection the Producing Party may

  have to the installation of any such software tools. The Receiving Party must provide the Producing

  Party with the CD or DVD containing any such tool(s) – or appropriate online location where such

  tool(s) can be downloaded from – at least seven (7) days in advance of the date upon which the

  Receiving Party wishes to have the tool(s) available for use. An exemplary tool is Microsoft Visual

  Studio Express Edition (subject to certain functional aspects being disabled or not included if

  applicable, such as compiling, interpreting, or simulating functionality). The Receiving Party must

  obtain licensed copies of software tools to be installed on the Source Code Computer. The

  Producing Party will, upon any agreement, make a good-faith attempt to install them on the Source

  Code Computer. In no event shall the Receiving Party use any compilers, interpreters or simulators

  in connection with the Producing Party’s source code. The Receiving Party is not allowed to install

  any software on the Source Code Computer.

                 (f)    No recording devices or recordable media will be permitted inside the

  source code review room, including without limitation: sound recorders; computers; personal

  digital assistants; cellular phones; peripheral equipment; cameras; CDs; DVDs; floppy drives, zip

  drives, thumb drives, or external drives of any kind; USB memory sticks; portable hard drives;



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  Ethernet or other cables that could be used to transfer data off of the Source Code Computer;

  Dictaphones; telephone jacks; or smartphones of any kind. Nor shall any non-electronic devices

  capable of similar functionality be permitted inside the source code review room. Unless otherwise

  agreed in advance by the parties in writing, following each inspection, the Receiving Party’s

  Outside Counsel and/or Experts may remove all notes, documents, and all other materials from the

  room that may contain work product and/or attorney-client privileged information. The Producing

  Party is not responsible for any items left in the room following each inspection session.

                 (g)     The Receiving Party’s Outside Counsel and/or expert shall be entitled to

  take handwritten notes relating to the source code. The Receiving Party’s Outside Counsel and/or

  expert, however, may not copy portions of any source code (e.g., entire source code files or entire

  functions or methods where such functions or methods are longer than a few lines) into the notes

  and may not take such notes electronically on the Source Code Computer itself or any other

  computer or other electronic device, including one that is connected to any network.

                 (h)     No copies of all or any portion of the source code may leave the room in

  which the source code is inspected except as otherwise expressly provided herein. No written or

  electronic record of the source code is permitted except as otherwise expressly provided herein.

  The Producing Party shall provide to the Receiving Party one (1) copy on Bates-numbered paper,

  labeled “CONFIDENTIAL –ATTORNEYS’ EYES ONLY – SOURCE CODE” within seven (7)

  business days of the Receiving Party’s designation of the portions of the source code to be printed.

  The Receiving Party shall not designate source code to be printed in order to review blocks of

  source code in the first instance (i.e., as an alternative to reviewing that Source Code electronically

  on the source code Computer). The Receiving Party may only print those portions of the source

  code that are reasonably necessary to prepare court filings, pleadings, contentions, expert reports,



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  or other papers, and limit paper or PDF copies to no more than 50 continuous pages, up to a total

  of 100 pages in the aggregate, in the first instance. If the Receiving Party has a reasonable basis

  for requesting more than 50 continuous pages or 100 aggregate pages of source code to be printed,

  the Producing Party shall not unreasonably withhold permission. The Producing Party may object

  to any such request as not being reasonable. The Producing Party shall give the Receiving Party

  notice of such objection within three (3) business days. If after meeting and conferring the

  Producing Party and the Receiving Party cannot resolve the objection(s), the Receiving Party may

  move the Court for an Order compelling the requested source code within seven (7) days of the

  notice, or within such other time as the Parties may agree, with respect to the requested source

  code and the Producing Party has the burden of proof on the issue of sufficiency of the objection(s).

  Pending a ruling by the Court upon any such objection(s), the requested source code shall not be

  produced to the Receiving Party until the matter is resolved by the Court, but the Parties will

  stipulate to a reasonable expedited briefing schedule for the motion.

                 (i)     The Receiving Party’s outside counsel shall not make electronic copies of

  the printed pages of source code, except as reasonably necessary to create documents which,

  pursuant to the Court’s rules, procedures and order, must be filed or served electronically, and only

  if such documents are clearly labeled “CONFIDENTIAL –ATTORNEYS’ EYES ONLY –

  SOURCE CODE.” This does not prevent experts from embedding excerpts of source code into

  their reports so long as the reports are clearly labeled “CONFIDENTIAL –ATTORNEYS’ EYES

  ONLY – SOURCE CODE.” The Receiving Party’s outside counsel may only make such

  additional, duplicate paper copies for use by outside counsel or experts as is reasonably necessary

  for the foregoing. No more than ten total copies may be made. The duplicate copies to be stored

  by outside counsel under the conditions set forth in paragraph (j) below. Each of these additional



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  copies shall be designated and clearly labeled “CONFIDENTIAL –ATTORNEYS’ EYES ONLY

  – SOURCE CODE,” and the Receiving Party shall maintain a log of all such copies, which it must

  produce to the Producing Party upon request. No other copies of source code shall be made unless

  otherwise allowed herein. The copies may be used under secure conditions in depositions and in

  sealed court filings and proceedings.

                 (j)     In addition to other reasonable steps to maintain the security and

  confidentiality of the Producing Party’s source code, copies of the source code maintained by the

  Receiving Party must be kept secure when not in use under secure conditions that prevent access

  by anyone other than outside counsel and experts qualified for access. No electronic copies of the

  source code shall be provided by the Producing Party beyond the Source Code Computer. The

  Receiving Party may also temporarily keep the source code material at: (i) the Court for any

  proceedings(s) relating to the source code material, for the dates associated with the proceeding(s);

  (ii) the sites where any deposition(s) relating to the source code material are taken, for the dates

  associated with the deposition(s); and (iii) any intermediate location reasonably necessary to

  transport the printouts or copies (e.g., a hotel prior to a Court proceeding or deposition), provided

  such printouts are stored in a secure manner such as a hotel safe when not in active use.

                 (k)     The Producing Party shall provide access to the Source Code Computer

  during normal business hours, which for purposes of this paragraph shall be 9:00 a.m. through

  5:00 p.m. Monday through Friday, excluding Federal Holidays. However, upon reasonable notice

  from the Receiving Party, the Producing Party shall make reasonable efforts to accommodate the

  Receiving Party’s request for access to the Source Code Computer outside of normal business

  hours. The Parties agree to cooperate in good faith such that maintaining the Producing Party’s

  source code material at the offices of its outside counsel shall not unreasonably hinder the



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  Receiving Party’s ability to efficiently and effectively conduct the prosecution or defense of this

  Action.

                 (l)     The Receiving Party must give at least seven (7) days’ notice to Counsel for

  the Producing Party that it will be sending individual(s) authorized to review the source code made

  available on the Source Code Computer for any initial reviews and seven (7) days’ notice for

  additional reviews of the same, previously inspected code. If a review of the source code is taking

  place and the Receiving Party requests to continue the review on the next, subsequent business

  day, the Producing Party shall make the Source Code Computer available unless it is not possible

  to do so (e.g., a person to monitor the review is unavailable). When requesting inspection of the

  Source Code Computer, the Receiving Party shall identify all persons who will be present at the

  inspection, including members of a Receiving Party’s Outside Counsel.

                 (m)     Access    to   Protected    Material   designated    “CONFIDENTIAL          –

  ATTORNEYS’ EYES ONLY – SOURCE CODE” shall be limited to outside counsel and up to

  two (2) Experts (as defined in this Order) of the Receiving Party retained for the purpose of this

  litigation and approved to access such Protected Materials pursuant to paragraph 8(b)(ii) and

  9(b)(ii) above. The Receiving Party must designate one (1) Expert (from the two Experts with

  access to Protected Material designated “CONFIDENTIAL – ATTORNEYS’ EYES ONLY –

  SOURCE CODE”) as the Expert responsible for accessing the Source Code Computer. Whenever

  copies or handwritten notes concerning Protected Material designated “CONFIDENTIAL –

  ATTORNEYS’ EYES ONLY – SOURCE CODE” are made, the Receiving Party shall keep a log

  including (i) the custodian of each copy of such Protected Materials; and (ii) the name of all

  persons accessing such materials. A Receiving Party may include excerpts of source code material

  in a pleading, court filing, exhibit, expert report, discovery document, deposition transcript, trial



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  and hearing presentation, or other Court document if it is reasonably and in good faith believed to

  be necessary by the Receiving Party, provided that those documents are appropriately marked

  under this Order, restricted to those who are entitled to have access to them as specified herein,

  and, if filed with the Court, filed under seal in accordance with the Court’s rules, procedures and

  orders.

                 (n)    To the extent portions of “CONFIDENTIAL –ATTORNEYS’ EYES

  ONLY – SOURCE CODE” are quoted in a document, either (1) the entire document will be

  stamped and treated as “CONFIDENTIAL –ATTORNEYS’ EYES ONLY – SOURCE CODE” or

  (2) those pages containing quoted source code material will be separately stamped and treated as

  “CONFIDENTIAL –ATTORNEYS’ EYES ONLY – SOURCE CODE.”

                 (o)    Except as expressly provided in this order, absent express written

  permission from the Producing Party, the Receiving Party may not create electronic images, or

  any other images, or make electronic copies of source code material from any paper copy of the

  source code for use in any manner. For example, images or copies of the source code shall not be

  included in correspondence between the Parties (references to production numbers shall be used

  instead), and shall be omitted from pleadings, trial exhibits, and other papers wherever possible.

  The Parties are not, however, restricted from using portions of source code in any pleadings, trial

  exhibits, or other papers where it is reasonably necessary and where appropriate confidential

  treatment for the same is sought. For example, nothing in this Protective Order, including this

  Section, prohibits the Parties from using non-OCR images of source code in their confidential

  contentions and expert reports.

                 (p)    A Producing Party’s source code material may only be transported or

  provided by the Receiving Party at the direction of a person authorized to review source code via



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  hand carry, Federal Express (or other similarly reliable courier), or secure electronic transmission.

  Source code may not be transported electronically over a network of any kind, including a LAN,

  an intranet, or the Internet.

                  (q)     In addition to the provisions in Paragraph 19, below, within four weeks after

  the issuance of a final, non-appealable decision resolving all issues in the case, the Receiving Party

  must, if requested (a) return to the Producing Party, or certify the destruction of, all copies of the

  Producing Party’s source code (in whole or in part), and (b) certify destruction of any notes

  containing, showing, or quoting the source code. In addition, all persons to whom any copies of

  the source code were provided must certify in writing that all copies of the source code were

  returned to the counsel who provided them and that they will make no use of the source code in

  any future endeavor. Such certifications may be provided collectively, and any collective

  certification must specify the individuals on whose behalf it is being provided. The certification

  must then be communicated to the Producing Party within said four weeks. Access to and review

  of the source code is strictly for the purpose of advancing the claims and defenses at issue in this

  case. No person may review or analyze any source code for purposes unrelated to this case.

                  (r)     Access to and review of source code shall be strictly for the purpose of

  investigating the claims and defenses at issue in this case. No person shall review or analyze any

  source code for purposes unrelated to this case, nor may any person use any knowledge gained as

  a result of reviewing source code in this case or any other pending or future dispute, proceeding,

  patent prosecution, or litigation.


          11.     NOTICE OF DISCLOSURE

          (a)     Prior to the first disclosure of Protected Material to any person described in

  Paragraphs 8(b)(ii) Error! Reference source not found. or 9(b)(ii) (referenced below as


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  “Person”), the Party seeking to disclose such information shall provide the Producing Party with

  written notice that includes:

                  (i)     the name of the Person;

                  (ii)    an up-to-date curriculum vitae of the Person;

                  (iii)   the present employer and title of the Person;

                  (iv)    an identification of all of the Person’s past and current employment and

  consulting relationships, including but not limited to any past and current employment and

  consulting relationships relating to lighting and/or automotive headlamp technology or design;

                  (v)     a statement of the existence of all patents and pending patent applications

  on which the Person is named as an inventor; and

                  (vi)    a list of the cases in which the Person has testified at deposition or trial

  within the last four (4) years.

  Further, the Party seeking to disclose Protected Material shall provide such other information

  regarding the Person’s professional activities reasonably requested by the Producing Party for it to

  evaluate whether good cause exists to object to the disclosure of Protected Material to the outside

  expert or consultant.

          (b)     Within ten (10) days of receipt of the disclosure of the Person, the Producing Party

  or Parties may object in writing to the Person for good cause. In the absence of an objection at the

  end of the ten (10) day period, the Person shall be deemed approved under this Protective Order.

  There shall be no disclosure of Protected Material to the Person prior to expiration of this ten (10)

  day period. If the Producing Party objects in writing to disclosure to the Person within such ten

  (10) day period, the Parties shall meet and confer via telephone or in person within five (5) days

  following the objection and attempt in good faith to resolve the dispute on an informal basis. If



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  the dispute is not resolved, the Party objecting to the disclosure will have five (5) days from the

  date of the meet and confer to seek relief from the Court. If relief is not sought from the Court

  within that time, the objection shall be deemed withdrawn. If relief is sought, Designated Materials

  shall not be disclosed to the Person in question until the Court resolves the objection.

             (c)   Prior to receiving any Protected Material under this Order, the Person must execute

  a copy of the “Agreement to Be Bound by Protective Order” (Exhibit A hereto) and serve it on all

  Parties.

             12.   CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL

             (a)   A Party shall not be obligated to challenge the propriety of any designation of

  Discovery Material under this Order at the time the designation is made, and a failure to do so shall

  not preclude a subsequent challenge thereto.

             (b)   Any challenge to a designation of Discovery Material under this Order shall be

  written, shall be served on outside counsel for the Producing Party, shall particularly identify the

  documents or information that the Receiving Party contends should be differently designated, and

  shall state the grounds for the objection. Thereafter, further protection of such material shall be

  resolved in accordance with the following procedures:

                   (i)    The objecting Party shall have the burden of conferring either in person, in

  writing, or by telephone with the Producing Party claiming protection (as well as any other

  interested party) in a good faith effort to resolve the dispute. The Producing Party shall have the

  burden of justifying the disputed designation;

                   (ii)   If the Producing Party does not agree to re-designation within ten (10) days

  of receipt of the written request, the Receiving Party may bring a motion to the Court for a ruling




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  that the Discovery Material in question is not entitled to the status and protection of the Producing

  Party’s designation.;

                 (iii)    Notwithstanding any challenge to a designation, the Discovery Material in

  question shall continue to be treated as designated under this Order until one of the following

  occurs: (a) the Party who designated the Discovery Material in question withdraws such

  designation in writing; or (b) the Court rules that the Discovery Material in question is not

  entitled to the designation.

         13.     SUBPOENAS OR COURT ORDERS

         If at any time Protected Material is subpoenaed by any court, arbitral, administrative, or

  legislative body, the Party to whom the subpoena or other request is directed shall immediately

  give prompt written notice thereof to every Party who has produced such Discovery Material and

  to its counsel and shall provide each such Party with an opportunity to move for a protective order

  regarding the production of Protected Materials implicated by the subpoena.

         14.     OTHER PROCEEDINGS

         By entering this order and limiting the disclosure of information in this case, the Court does

  not intend to preclude another court from finding that information may be relevant and subject to

  disclosure in another case. Any party subject to this order who becomes subject to a motion to

  disclose another party's information designated "Confidential," “Confidential-Attorneys’ Eyes

  Only,” or “Confidential –Attorneys’ Eyes Only – Source Code” pursuant to this order shall

  promptly notify that party of the motion so that the party may have an opportunity to appear and

  be heard on whether that information should be disclosed.




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         15.     DISCOVERY FROM THIRD PARTIES

         This Protective Order shall apply to discovery sought from persons or companies who are

  not parties to this lawsuit.     Third parties may designate information produced under the

  “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER,” “HIGHLY CONFIDENTIAL —

  ATTORNEY'S EYES ONLY,” or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY –

  SOURCE CODE” designations.

         16.     FILING PROTECTED MATERIAL

         (a)     Absent written permission from the Producing Party or a court Order secured after

  appropriate notice to all interested persons, a Receiving Party may not file or disclose in the public

  record any Protected Material. Further, third parties and other persons or entities that did not

  participate in the preparation and filing of this Protective Order may seek supplemental protections

  or other modifications in respect of the same.

         (b)     Any Party is authorized under the local rules of the United States District Court

  presiding over this case to file under seal with the Court any brief, document or materials that are

  designated as Protected Material under this Order. However, nothing in this section shall in any

  way limit or detract from this Order’s requirements as to Source Code.

         17.     INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL

         (a)     Nothing in this Order shall require production of documents, information, or other

  material that a party contends is protected from disclosure by the attorney-client privilege, the

  work product doctrine, or other privilege, doctrine, or immunity. The inadvertent production by a

  Party of Discovery Material subject to the attorney-client privilege, work-product protection, or

  any other applicable privilege or protection, despite the Producing Party’s reasonable efforts to

  prescreen such Discovery Material prior to production, will not waive the applicable privilege



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  and/or protection if a request for return of such inadvertently produced Discovery Material is made

  promptly after the Producing Party learns of its inadvertent production.

         (b)     Upon a request from any Producing Party who has inadvertently produced

  Discovery Material that it believes is privileged and/or protected, each Receiving Party shall

  immediately return such Discovery Material and all copies to the Producing Party, except for any

  pages containing privileged markings by the Receiving Party which shall instead be destroyed and

  certified as such by the Receiving Party to the Producing Party. Further, the Receiving Party shall

  not use, and shall immediately cease any prior use of, any such material, including to assess or

  challenge the assertion of privilege. If the Receiving Party discovers that the Producing Party may

  have inadvertently disclosed documents, information, or other material that may be subject to a claim

  of the attorney-client privilege, the work product doctrine, or other privilege, doctrine, or

  immunity, the Receiving Party must immediately notify Producing Party.

         (c)     At the request of the Receiving Party, the Producing Party shall prepare and provide

  a privilege log of the inadvertently produced discovery material within 7 days of the request. The

  Receiving Party may move the Court for an Order compelling production of such information, but

  the motion shall not assert as a ground for production the fact or circumstances of the inadvertent or

  unintentional production.

         18.     INADVERTENT FAILURE TO DESIGNATE PROPERLY

         (a)     The inadvertent failure by a Producing Party to designate Discovery Material as

  Protected Material with one of the designations provided for under this Order shall not waive any

  such designation provided that the Producing Party notifies all Receiving Parties that such

  Discovery Material is protected under one of the categories of this Order within fourteen (14) days

  of the Producing Party learning of the inadvertent failure to designate. The Producing Party shall



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  reproduce the Protected Material with the correct confidentiality designation within seven (7) days

  upon its notification to the Receiving Parties. Upon receiving the Protected Material with the

  correct confidentiality designation, the Receiving Parties shall return or securely destroy, at the

  Producing Party’s option, all Discovery Material that was not designated properly.

         (b)     A Receiving Party shall not be in breach of this Order for any use of such Discovery

  Material before the Receiving Party receives such notice that such Discovery Material is protected

  under one of the categories of this Order, unless an objectively reasonable person would have

  realized that the Discovery Material should have been appropriately designated with a

  confidentiality designation under this Order. Once a Receiving Party has received notification of

  the correct confidentiality designation for the Protected Material with the correct confidentiality

  designation, the Receiving Party shall treat such Discovery Material (subject to the exception in

  Paragraph 17(c) below) at the appropriately designated level pursuant to the terms of this Order.

         (c)     Notwithstanding the above, a subsequent designation of “CONFIDENTIAL,”

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “CONFIDENTIAL – ATTORNEYS’

  EYES ONLY – SOURCE CODE” shall apply on a going forward basis and shall not disqualify

  anyone who reviewed “CONFIDENTIAL,” “CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”

  or “CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE” materials while the

  materials were not marked “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

  “CONFIDENTIAL – ATTORNEYS’ EYES ONLY – SOURCE CODE” from engaging in the

  activities set forth in Paragraph 6(b), provided that they do not further review any such materials

  after the subsequent designation and provided that they cease all use of the same.




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         19.     INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER

         (a)     In the event of a disclosure of any Discovery Material pursuant to this Order to any

  person or persons not authorized to receive such disclosure under this Protective Order, the Party

  responsible for having made such disclosure, and each Party with knowledge thereof, shall

  immediately notify counsel for the Producing Party whose Discovery Material has been disclosed

  and provide to such counsel all known relevant information concerning the nature and

  circumstances of the disclosure. The responsible Disclosing Party shall also promptly take all

  reasonable measures to retrieve the improperly disclosed Discovery Material and to ensure that no

  further or greater unauthorized disclosure and/or use thereof is made

         (b)     Unauthorized or inadvertent disclosure does not change the status of Discovery

  Material or waive the right to hold the disclosed document or information as Protected Material.

         20.     FINAL DISPOSITION

         (a)     Not later than sixty (60) days after the Final Disposition of this case, each Party

  shall return all Discovery Material of a Producing Party to the respective outside counsel of the

  Producing Party or destroy such Material, at the option of the Producing Party. For purposes of

  this Order, “Final Disposition” occurs after an order, mandate, or dismissal finally terminating the

  above-captioned action with prejudice, including all appeals.

         (b)     All Parties that have received any such Discovery Material shall certify in writing

  that all such materials have been returned to the respective outside counsel of the Producing Party

  or destroyed. Notwithstanding the provisions for return of Discovery Material, outside counsel

  may retain one set of pleadings, correspondence and attorney and consultant work product (but not

  document productions) for archival purposes, but must return or destroy any pleadings,

  correspondence, and consultant work product that contain Source Code and certify the same. Any



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  such archived copies that contain or constitute Protected Material remain subject to this Order and

  shall be maintained in confidence by outside counsel for the Party retaining the materials.

         21.     DISCOVERY FROM EXPERTS OR CONSULTANTS

         (a)     Testifying experts shall not be subject to discovery with respect to any draft of their

  report(s) in this case. Draft reports, notes, or outlines for draft reports developed and drafted by

  the testifying expert and/or his or her staff are also exempt from discovery.

         (b)     Discovery of materials provided to testifying experts shall be limited to those

  materials, facts, consulting expert opinions, and other matters actually relied upon by the testifying

  expert in forming his or her final report, trial, or deposition testimony or any opinion in this case.

  No discovery can be taken from any non-testifying expert except to the extent that such non-

  testifying expert has provided information, opinions, or other materials to a testifying expert relied

  upon by that testifying expert in forming his or her final report(s), trial, and/or deposition testimony

  or any opinion in this case.

         (c)     No conversations or communications between counsel and any testifying or

  consulting expert will be subject to discovery unless the conversations or communications are

  relied upon by such experts in formulating opinions that are presented in reports or trial or

  deposition testimony in this case.

         (d)     Materials, communications, and other information exempt from discovery under

  the foregoing Paragraphs 20(a)–(c) shall be treated as attorney-work product for the purposes of

  this litigation and Order.

         (e)     Nothing in Protective Order, including Paragraphs 20(a)–(c), shall alter or change

  in any way the requirements in Paragraph 10 regarding Source Code, and Paragraph 10 shall

  control in the event of any conflict.



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         22.     MISCELLANEOUS

         (a)     Right to Further Relief. Nothing in this Order abridges the right of any person to

  seek its modification by the Court in the future. By stipulating to this Order, the Parties do not

  waive the right to argue that certain material may require additional or different confidentiality

  protections than those set forth herein.

         (b)     Termination of Matter and Retention of Jurisdiction. The Parties agree that the

  terms of this Protective Order shall survive and remain in effect after the Final Determination of

  the above-captioned matter. The Court shall retain jurisdiction after Final Determination of this

  matter to hear and resolve any disputes arising out of this Protective Order.

         (c)     Successors. This Order shall be binding upon the Parties hereto, their attorneys,

  and their successors, executors, personal representatives, administrators, heirs, legal

  representatives, assigns, employees, agents, retained consultants and experts, and any persons or

  organizations over which they have direct control.

         (d)     Right to Assert Other Objections. By stipulating to the entry of this Protective

  Order, no Party waives any right it otherwise would have to object to disclosing or producing any

  information or item. Similarly, no Party waives any right to object on any ground to use in

  evidence of any of the material covered by this Protective Order. This Order shall not constitute

  a waiver of the right of any Party to claim in this action or otherwise that any Discovery Material,

  or any portion thereof, is privileged or otherwise non-discoverable, or is not admissible in evidence

  in this action or any other proceeding.

         (e)     Burdens of Proof. Notwithstanding anything to the contrary above, nothing in this

  Protective Order shall be construed to change the burdens of proof or legal standards applicable in

  disputes regarding whether particular Discovery Material is confidential, which level of



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  confidentiality is appropriate, whether disclosure should be restricted, and if so, what restrictions

  should apply.

         (f)      Modification by Court. This Order is subject to further court order based upon

  public policy or other considerations, and the Court may modify this Order sua sponte in the

  interests of justice. The United States District Court presiding over this case is responsible for the

  interpretation and enforcement of this Order. All disputes concerning Protected Material, however

  designated, produced under the protection of this Order shall be resolved by the United States

  District Court presiding over this case.

         (g)      Discovery Rules Remain Unchanged. Nothing herein shall alter or change in any

  way the discovery provisions of the Federal Rules of Civil Procedure, the Local Rules for the

  United States District Court presiding over this case, or the Court’s own orders. Identification of

  any individual pursuant to this Protective Order does not make that individual available for

  deposition or any other form of discovery outside of the restrictions and procedures of the Federal

  Rules of Civil Procedure, the Local Rules for the United States District Court presiding over this

  case, or the Court’s own orders.

  SO ORDERED this _____ day of ___________, 2023.


                                                 _______________________________________
                                                 The Honorable Maryellen Noreika
                                                 U.S. District Court Judge




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  Dated: February 3, 2023


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                                          EXHIBIT A


         I,                                    , acknowledge and declare that I have received a

  copy of the Protective Order (“Order”) in Torchlight Technologies LLC v. Daimler AG,

  Mercedes-Benz USA, LLC, Volkswagen AG, Audi AG, Audi of America, LLC, Porsche AG, and

  Porsche Cars North America, Inc., United States District Court, District of Delaware, Civil

  Action No. 22-751-GBW. Having read and understood the terms of the Order, I agree to be

  bound by the terms of the Order and consent to the jurisdiction of said Court for the purpose

  of any proceeding to enforce the terms of the Order.


         Name of individual:

         Present occupation/job description:




         Name of Company or Firm:

         Address:


         Dated:



                                                      [Signature]




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   THE NIELSEN COMPANY (US), LLC,                 )
                                                  )
                  Plaintiff,                      )
                                                  )   C.A. No. 22-1345-CJB
          v.                                      )
                                                  )   JURY TRIAL DEMANDED
   TVISION INSIGHTS, INC.,                        )
                                                  )
                  Defendant.                      )

                               SOURCE CODE ACCESS AGREEMENT

         The parties jointly move for and stipulate to the entry of this Source Code Access

  Agreement, which will supplement the general Protective Order to be submitted by the parties.

         1.      Unless otherwise agreed to in writing between the Producing Party and the

  Receiving Party, all relevant and properly requested source code shall only be provided on a

  secured stand-alone computer (a computer not connected to a network, Internet or a peripheral

  device, “Source Code Computer”) residing in a locked room or other secure location at the offices

  of (a) the Producing Party, (b) the Producing Party’s outside counsel, (c) any other location to

  which the parties jointly agree. The election among the above locations for production rests with

  the Producing Party.

         2.      Source code review shall be conducted during regular business hours (9:00 a.m.

  through 5:00 p.m. local time) or at other mutually agreeable times. The parties agree to cooperate

  in good faith, such that maintaining the Producing Party’s source code at the offices of the

  Producing Party or the Producing Party’s Outside Counsel or any other facility will not

  unreasonably hinder the Receiving Party’s ability to efficiently and effectively conduct the

  prosecution or defense of this action.
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          3.     The Receiving Party must give notice to the Producing Party at least five (5)

  business days in advance of the requested inspection, each time the Receiving Party requests a

  review of source code on the Source Code Computer. The Receiving Party is entitled to inspect

  on as many separate occasions as reasonably needed within the timing procedures identified above

  and the Court’s fact discovery deadline

          4.     The Receiving Party shall identify in writing all individuals it requests be given

  access to the source code at least ten (10) business days prior to the first inspection. Proper

  identification includes the individual’s full name, city and state of the individual’s primary

  residence and current employer(s). Each party can identify experts for source code review. Access

  to the stand-alone computer shall be permitted, after notice to the Producing Party and an

  opportunity to object, to two (2) outside counsel representing the Receiving Party and no more

  than two (2) experts retained by the Receiving Party per patent at issue in the above-captioned

  cases, all of whom have been approved under the protective order in place. The Producing Party

  shall not unreasonably deny access to any additional experts retained by the Receiving Party that

  the Producing Party has indicated would be replacing an original expert retained by the Receiving

  Party. Absent a good faith request to proceed otherwise, no one from the provider shall have

  further access to the computer during the remainder of discovery. The Producing Party may object

  to providing access to any persons so identified and, if so, must set forth in detail the grounds on

  which it is objecting. The Producing Party may also deny access to any individual who fails to

  properly provide identification. Objections and denials of access must be in writing, and disputes

  over such issues shall be presented to the Court for resolution unless resolved by agreement among

  the parties.




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          5.     The Source Code Computer shall have disk encryption and be password protected.

  The Producing Party shall provide a manifest of the contents of the Source Code Computer. The

  manifest, which will be supplied in both printed and electronic form, will list the name, location

  (e.g., file path) and MD5 checksum of every source and executable file escrowed on the computer.

  The manifest shall generally identify the programming languages that were used to author the

  code.

          6.     The Parties shall take reasonable steps to produce all source code with any software

  required to allow review of the code in a manner reasonably equivalent to the review in the

  ordinary course of business by the Producing Party. At minimum, this will include the same

  software utilities and related plug-ins that the Producing Party, itself, uses to review the source

  code in the ordinary course of business. These software utilities and plugins shall provide the

  ability to (a) view, search, and line-number any source file, (b) search for a given pattern of text

  through a number of files and (c) compare two files and display their differences. The Reviewing

  Party may provide a reasonable set of certain searchable PDFs of documents produced by the

  Producing Party—such as wikis or other documents relevant to the review or source code—to be

  included on the Source Code Computer, with reasonable advance notice to the Producing Party to

  allow for the saving of such files to the Source Code Computer.

          7.     The Receiving Party may request that other commercially available software search

  tools for viewing and searching the source code be installed on the Source Code Computer,

  including plugins that may need to be downloaded from the internet through Visual Studio Code

  and other software. If such a request is made before the Source Code Computer has been initially

  set up and its connectivity restricted, the Requesting Party shall provide the Producing Party with

  the physical media containing such software tools at least seven (7) days in advance of the date




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  upon which the Receiving Party wishes to have the additional software tools available for use on

  the Source Code Computer or direct the Producing Party to where the software tools or plugins

  may be obtained on the internet. The Producing Party shall not be required to install software or

  plugins that requires substantial, unreasonable modifications to the hardware or software of the

  computer(s) and may object to a software tool installation within four (4) days of the Receiving

  Party’s request. Costs associated with the purchase or installation of such software tools, including

  any licenses, shall be borne by the party requesting its use.

          8.      The Parties acknowledge that the Requesting Party may request the installation of

  additional software during the review of the source code, including plugins that may need to be

  downloaded from the internet through Visual Studio Code and other software after the Source

  Code Computer has been initially set up and its connectivity restricted. The Producing Party may

  object to any such request within four (4) days of the Receiving Party’s request. In the event that

  a request is made with less than four-days’ notice, the Producing Party must make reasonable,

  good-faith efforts to provide its objection, or indicate that it has none, in the time allotted.

          9.      The Receiving Party shall be entitled to request printed copies of limited aspects of

  the source code. To designate the pages for printing, the Reviewing Party shall print the selected

  page to an electronic PDF and place the PDF files in a folder on the desktop of the Source Code

  Computer that shall be clearly labeled as a location for pages of source code to be printed. The

  Producing Party shall then print and produce the designated pages with the appropriate Bates stamp

  and Protective Order designations. The Producing Party shall preserve and maintain a copy of

  each electronic PDF placed in the desktop folder of the Source Code Computer. A party may only

  seek to obtain printed copies of a reasonable number of pages, narrowly tailored to the needs of

  this case. Unless agreed to in writing by the Producing Party, the Receiving Party may not request




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  printed copies of more than 15 consecutive pages, or an aggregate total of more than 150 pages,

  of the source code. If necessary, the Receiving Party may request printed copies of additional

  pages in excess of these limits, and such request, upon showing of good cause, shall not be

  unreasonably denied by the Producing Party. If, after meeting and conferring, the Producing Party

  and the Receiving Party cannot resolve the request to receive printed copies of additional pages,

  the Receiving Party shall be entitled to seek the Court’s resolution.

          10.    Printed copies of the source code shall be logged and maintained by the Receiving

  Party in a secured, locked area under the direct control of counsel or experts for whom disclosure

  has been cleared. In addition to copies provided to experts, the Receiving Party’s counsel may

  make a single copy of any printed pages of source code, which shall be maintained in the same

  manner as the original printed pages. In no event shall the total number of copies made exceed

  one for each expert identified above in Section 4 and one for counsel. Copies cannot be made for

  any other person or purpose. Any printed pages of source code may not otherwise be copied,

  digitally imaged, or otherwise duplicated, except in limited excerpts necessary to attach as exhibits

  to depositions, expert reports, or court filings. The Receiving Party shall only include such

  excerpts as are reasonably necessary for the purposes for which such part of the source code is

  used.

          11.    The Receiving Party’s outside counsel and/or expert shall be entitled to take notes

  relating to the source code but may not copy any portion of the source code into the notes. The

  Receiving Party’s outside counsel and/or experts are permitted to (i) make and/or maintain

  electronic copies of their notes outside of the source code review room; and (ii) take such notes on

  the source code computer itself provided that such notes are not transmitted outside the source

  code review room and are deleted upon conclusion of the review. Any such notes shall be treated




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  as though designated as source code under the protective order and shall be afforded the same

  protections contained therein. No copies of all or any portion of the source code may leave the

  room in which the source code is inspected except as otherwise provided herein. Further, no other

  written or electronic record of the source code is permitted except as otherwise provided herein.

         12.     Unless agreed to by the Producing Party, use or possession of any outside electronic

  devices (e.g., USB memory sticks, mobile phones or tablets, cameras, laptops, floppy disks, CDs,

  zip drives, or any device that can access the Internet or any other network or external system, etc.)

  or any non-electronic devices capable of similar functionality is prohibited while accessing the

  Source Code Computer. All persons entering the locked room containing the Source Code

  Computer must agree to submit to reasonable security measures to ensure they are not carrying

  any prohibited items before they will be given access to the locked room. The Producing Party

  shall make a separate room close in proximity to the review room available for the Receiving

  Party’s outside counsel and expert to leave personal belongings, including phones and laptops, and

  in which such individuals may work and take notes and use their computers.

         13.     The Producing Party shall keep a log that records the identity of individuals who

  enter the locked room to view the source code and when they start and end each review day. The

  Receiving Party shall log the identity of individuals to whom a copy of the source code is provided,

  when the copy was provided to that person, and where the copy is stored. The other Party is

  entitled to a copy of each log.

         14.     Within sixty (60) days after the issuance of a final, non-appealable decision

  resolving all issues in the case, the Receiving Party shall serve upon the Producing Party the log

  and, at the Producing Party’s option, either serve upon the Producing Party, or certify the

  destruction of, all paper copies of the Producing Party’s source code. In addition, all persons to




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  whom the paper copies of the source code were provided must certify in writing that all copies of

  the source code were returned to the counsel who provided them the information and that they will

  make no use of the source code or of any knowledge gained from the source code in any future

  endeavor.

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  Bindu A. Palapura (#5370)                     Andrew E. Russell (#5382)
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  Attorneys for Plaintiff
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  Dated: February 9, 2023


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            SO ORDERED this _____ day of February, 2023.



                                                  Christopher J. Burke
                                                  United States Magistrate Judge



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                                     UNITED STATES DISTRICT COURT
 1
                                  NORTHERN DISTRICT OF CALIFORNIA
 2
                                         SAN FRANCISCO DIVISION
 3

 4
     TESLA, INC., a Delaware corporation,             Case No. 19-cv-01463-VC
 5
            Plaintiff,                                JOINT DISCOVERY LETTER OF
 6                                                    PLAINTIFF TESLA, INC. AND
     v.                                               DEFENDANT GUANGZHI CAO AND
 7                                                    THIRD PARTY XMOTORS.AI INC. RE
     GUANGZHI CAO, an individual,                     THIRD PARTY NEUTRAL REVIEW
 8                                                    PROTOCOL
            Defendant.
 9

10          Counsel for Tesla and counsel for Defendant Guangzhi Cao have met and conferred
11 telephonically prior to filing this joint letter, most recently on August 21, 2020. Undersigned counsel

12 hereby attest that they have complied with Section 9 of the Northern District’s Guidelines for

13 Professional Conduct regarding discovery prior to filing the joint letter.

14
     THE NORTON LAW FIRM PC                                    CONRAD & METLITZKY LLP
15
   By: /s/ Fred Norton                                         By: /s/ Mark Conrad
16 Fred Norton (SBN 224725)                                    Mark Conrad (SBN 255667)
17 Attorneys for Plaintiff                                     Attorneys for Defendant
   TESLA, INC.                                                 Guangzhi Cao
18

19                                                             RIMON, P.C.
20                                                             By: /s/ Scott Raber
                                                               Scott Raber (SBN194924)
21
                                                               Attorneys for Third Party
22                                                             XMotors.ai, Inc.
23

24          Pursuant to Local Rule 5.1(i)(3), I attest that all other signatories listed, and on whose behalf the
25 filing is submitted, concur in the filing’s content and have authorized the filing.

26    Dated: September 4, 2020                     By: /s/ Fred Norton
                                                         Fred Norton
27

28
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 1 Tesla’s Position

 2          Tesla drafted a detailed protocol for review of source code by the third-party neutral. Cao and

 3 XMotors object to two aspects of Tesla’s proposal: (1) the parties’ experts may submit requests and

 4 inquiries to the neutral until the end of the expert discovery period; and (2) XMotors must provide

 5 relevant information that the neutral requests to perform his or her role. The Court should approve the

 6 protocol as Tesla drafted it. See Attachment 1 (Tesla’s form of the review protocol).

 7          Tesla objected to having a neutral review source code in the first instance because (among other

 8 challenges) a neutral will not be familiar with the issues in the case, the discovery from the parties, or

 9 the specific applications of the technology at issue. The neutral thus cannot identify similar features in

10 the code bases without extensive and time-consuming input from the parties and their experts. Even

11 then, the neutral may fail to see similarities that would be evident to experts who know the technology

12 and the larger context of the case. The Court nonetheless ordered that a neutral would review XMotors’

13 source code and produce code that “appears similar” to Tesla’s, Dkt. 80 at 2, and rejected Cao’s and

14 XMotors’ efforts to limit the neutral to simply identifying identical files, Dkt. 84 at 2-3. The Court

15 approved of Tesla’s approach, in which “each party will provide the neutral with software, analytical

16 tools, instructions, and criteria, which the neutral will use to identify files that appear similar,” and the

17 neutral effectively acts as a proxy for the parties’ experts, “performing the same function that Plaintiff’s

18 experts would, i.e., reviewing the source code and determining which code is similar.” Dkt. 84 at 2-3.

19          Cao and XMotors once again object to Tesla’s proposed review protocol. They insist the parties’

20 experts must submit all inquiries, analyses, and queries to the neutral within an arbitrarily short period

21 and then be done forever. Cao and XMotors initially demanded 21 days, then refused to make any

22 specific proposal, and now Cao says 28 days. Tesla, in contrast, would allow the experts to submit such

23 requests iteratively as long as they continue their work, i.e., until the end of expert discovery. A shorter,

24 arbitrary cutoff has no proper purpose but has a clear improper effect – it would prevent Tesla’s experts

25 from gaining an understanding of XMotors’ source code to identify and obtain relevant code.

26          Tesla’s timing is more appropriate to the needs of the case. As the Court held, the role of the

27 neutral here is to perform “the same function” the parties’ experts normally would, “reviewing the

28 source code and determining which code is similar.” Dkt. 84 at 3. Under normal circumstances, that


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 1 process is iterative and time-consuming. Direct comparison of source code to identify similarities often

 2 takes months. See, e.g., Brookhaven Typesetting Servs., Inc. v. Adobe Sys., Inc., No. C-01-20813 RMW,

 3 2007 WL 2429653, at *6 (N.D. Cal. Aug. 24, 2007) (in case alleging infringement of copyrights in

 4 computer code, court continued hearing on defendant’s summary judgment motion “for more than nine

 5 months” to allow plaintiff’s experts “additional time to complete the source code comparison”). The

 6 process here is even more cumbersome: Tesla and its experts cannot see the XMotors code, so they must

 7 blindly suggest potential areas of inquiry to the neutral, await results, then suggest further inquiries.

 8 Tesla does not even have XMotors’ 30(b)(6) testimony on source code. XMotors says the witness is

 9 unavailable until mid-October – which may well come after the arbitrary 28-day cutoff Cao proposes.

10          Dr. Jeffrey Miller, Tesla’s source code expert, explained in his declaration that working with a

11 neutral to identify relevant source code would take at least ten weeks after the neutral obtained the code,

12 including a week to formulate initial questions, two weeks to identify the initial analyses, one week for

13 the neutral to run those initial analyses, six weeks of “iterating with the neutral based on the results of

14 the analyses” and two weeks to draft a report “based on the results of the iterative analysis.” Dkt. 86-3,

15 ¶ 8. Once Cao produces his own expert’s report, Dr. Miller may have further inquiries and analyses to

16 offer in response that require access to the source code. Cao asserts that this iterative process is

17 unnecessary, but he has no expert declaration or any other authority for that claim. In fact, neither

18 XMotors nor Cao has offered any expert declaration, or any principled justification, for making the

19 period of expert analysis of source code shorter than the period of expert discovery. 1

20          Cao’s other arguments are also unavailing. He repeats the canard that Tesla had a copy of

21 XMotors’ source code a year ago but did not analyze it. This claim is false – Tesla’s consulting experts

22 did examine that code. It is also irrelevant – the Court already held that Tesla has a right to XMotors’

23 other code – the code that Cao and XMotors have fought so desperately to withhold. Dkt. 75. Cao also

24 argues that if it really took so much time to review source code, Tesla should have served its subpoena

25 on XMotors earlier than January 2020. But Tesla served its subpoena after discussing with Cao’s

26 counsel that the discovery cutoffs would need to be extended, before the COVID-19 pandemic imposed

27
     1
    Tesla filed a motion to extend the expert discovery cutoff to March 12, 2021, Dkt. 86; Judge Chhabria
28 provisionally extended the due date for expert reports but has not issued an order with specific dates.


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 1 systemic delays, and before Tesla knew that the review process would be delayed by the use of a neutral.

 2          XMotors objects that it is responsible for paying half of the neutral’s fees, and it would rather not

 3 pay for the neutral to keep searching for relevant, similar code. This is a non-issue. Tesla pays the other

 4 half and has no interest in paying for fruitless searches, and the neutral would refuse to perform analyses

 5 that are made in bad faith anyway. Dkt. 84 at 2. If the neutral is still working, there is still work to do.

 6 Anyway, any difficulty is of XMotors’ making. XMotors wanted a neutral to examine the code;

 7 XMotors got what it wanted. If cost is now the issue, XMotors can let Dr. Miller do the comparisons

 8 himself. The real problem is that XMotors doesn’t want a neutral, it wants a roadblock.

 9          Next, XMotors suggested in meet and confer that it would answer questions from the neutral

10 about its source code. Tesla agreed, so long as XMotors is required to answer any question the neutral

11 thinks proper (subject to proper objections under the Rules of Civil Procedure) – not just provide

12 information that XMotors hopes will favor its employee, Cao. XMotors reversed its position and refuses

13 to answer questions at all. Again, XMotors demanded that there be a neutral. If the neutral needs

14 information from XMotors to perform the neutral’s work, XMotors should be required to answer.

15 Cao’s Position

16          Defendant Guangzhi Cao’s singular point of contention regarding Tesla’s proposed protocol is

17 that a reasonable time limit should be placed on Tesla’s ability to rummage through XMotors’ source

18 code. Dr. Cao’s proposed limitation is reflected in redline edits to Paragraph 6(i) of Attachment 2.

19          In January, Tesla subpoenaed third-party XMotors.ai, Inc. (“XMotors”) seeking, among other

20 things, more copies of that company’s source code repositories, beyond what had already been

21 voluntarily produced by XMotors earlier in the litigation. In order to protect XMotors’ sensitive and

22 proprietary code from unnecessary disclosure, this Court set out a specific protocol by which a third-

23 party neutral would compare Tesla and XMotors source code and produce code that appears similar, so

24 that the parties could use that material during expert discovery. Now, Tesla insists that the protocol—

25 adopted by the Court for the limited purpose of furnishing material to experts for use in their expert

26 reports—should extend, without any limitation, throughout the entire expert discovery period. At the

27 same time, Tesla has asked the presiding judge to extend the expert discovery deadline—which has

28 already been continued two times—by another 5 months or more. By this motion, Tesla seeks to


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 1 circumvent the fact discovery deadline, which has already passed, and continue its ongoing pattern of

 2 delay and litigation churn, imposing mounting (and unnecessary) litigation costs on an individual

 3 defendant and a third party. In the interest of fairness and expediency, Tesla’s request must be rejected.

 4          Background. In June 2019, XMotors provided Tesla with a forensic image of the laptop

 5 computer that it had issued to Cao—which included a complete copy of XMotors’ source code

 6 repositories to date. (ECF 44 at 4.) Tesla then allowed fourteen months to lapse without undertaking

 7 any source code comparison analysis. Indeed, Tesla only disclosed its source code comparison experts

 8 at the end of July, after twice seeking extensions of the case schedule—both times within weeks of the

 9 expert discovery deadline. On July 24, 2020, on the deadline for the close of fact discovery, Tesla

10 requested a third extension of the case schedule. (ECF 86.) This time, Tesla asks to continue the fact

11 discovery deadline to November and the expert discovery deadline to March 2021. At the hearing, Tesla

12 indicated that it would actually need even more time than requested in its papers. Cao vigorously

13 opposed the motion. (ECF 93.) The presiding judge has taken the matter under submission. (ECF 97.)

14          In the meantime, the parties have sought to finalize the details of the source code production

15 protocol. Cao requested a time limitation on the protocol to ensure that Tesla does not drag the process

16 out unnecessarily. Initially, Cao proposed a period of 21 days in which the parties could request code

17 from the neutral, with the ability to extend that time upon a showing of good cause by the requesting

18 party. Tesla countered that this proposed time limit was “arbitrary.” Cao invited Tesla to propose a

19 differently time period limitation, but Tesla refused to do so. Instead, Tesla argued that it should be

20 allowed to extend the protocol to the close of expert discovery. Tesla’s proposal should be rejected.

21          The Source Code Production Protocol Is A Facet of Fact Discovery. The source code

22 production protocol is a means for XMotors to produce documents sought by Tesla’s subpoena. That is

23 a basic function of fact discovery. Indeed, this Court’s prior order on the source code selection protocol

24 made clear that the source code production protocol would precede expert discovery. It said: “this

25 process is equivalent to if the parties were not being required to use a neutral; Plaintiff would have

26 inspected the code on its own before producing expert reports identifying which code is similar and

27 why.” (ECF 84.) As with all plaintiffs, Tesla could always use more time to continue exploring

28 possible avenues for evidence to substantiate its claims, but the fact discovery window is not unlimited.


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 1          Cao’s Request For a Time Limitation (with a Good Cause Exception) Is Reasonable. Cao

 2 originally proposed to give the parties 21 days—from the time the code has been submitted to the

 3 neutral—to complete the production protocol. This time limitation is reasonable. In the Declaration of

 4 Jeffrey Miller In Support of Tesla’s Motion to Extend Case Deadlines (ECF 86-3), Tesla’s own source

 5 code comparison expert estimated that it would take: 1 week for the parties to submit initial questions,

 6 including inquiring into the file structure, file types, number of files, etc.; 2 weeks for the parties to

 7 determine the analysis applications that will be necessary, configuring them, and sending them to the

 8 neutral; and 1 week for the neutral to run analysis using the analysis applications and produce results.

 9 (Id.) This amounts to 28 days. While Cao believes the process can be done in less time, he would be

10 satisfied with a 28-day time limitation for the protocol, as specified by Tesla’s own expert. Tesla would

11 also like to give its expert an additional “6 weeks of iterating with the neutral” (id.), but there is no

12 reason why it should be allowed this opportunity to seek further productions of code. Rather, Tesla

13 should be allowed to frame its requests for code as broadly as it would like—after asking questions

14 about file structure and evaluating analysis applications—and the neutral should produce code in

15 response to Tesla’s requests, provided the neutral deems those requests to be appropriate. Indeed, if

16 XMotors were supplying the code itself, it would produce code according to a set of agreed-upon

17 criteria, not according to an iterative process. There is simply no reason why requests submitted—after

18 a 3-week period allotted for asking questions and assessing analyses—are not enough. In fact, if Tesla

19 had actually needed more than 16 weeks to complete the code comparison, as it now says, it should not

20 have waited to serve its subpoena for source code or to disclose its source code experts just weeks in

21 advance of the then-scheduled deadlines for expert reports.

22          Tesla has taken a scorched earth approach to discovery in this case and insisted on litigating

23 every single issue in discovery, at enormous cost to parties and non-parties alike. It now asks the Court

24 to sign off on a protocol that would require a third-party to stay engaged in this case for another six

25 months (or more) while Tesla continues its baseless sleuthing expeditions. If Tesla wanted months and

26 months to complete a source code comparison, it should have begun that process in June 2019, when

27 XMotors voluntarily produced its source code repositories. At this point, Tesla should be restricted to a

28 finite time period to submit requests to the neutral and complete fact discovery.


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 1 XMotors’ Position

 2          Tesla and third-party XMotors once again find themselves before this Court because of Tesla’s

 3 continued overreach with respect to its review of XMotors’ source code. Over Tesla’s objection, this

 4 Court ordered Tesla and XMotors to select a third-party neutral—not Tesla—to examine XMotors’

 5 source code “in the first instance” and produce any resulting code that looked “similar.” (ECF 80.) After

 6 the parties were unable to reach agreement on certain aspects of the neutral’s anticipated review

 7 protocol, the Court on July 24, 2020 ordered, in part, that Tesla could still submit its search tools and

 8 requests confidentially to the neutral, and that the neutral could refuse Tesla’s search requests if she

 9 believed they were not made in good faith.

10          However, XMotors’ earlier stated concerns have come to fruition during the parties’ most recent

11 discussions to finalize other aspects of the review protocol: specifically, XMotors objected that allowing

12 Tesla’s submitted search tools and requests to be treated as confidential work product would undermine

13 the neutral’s gatekeeping function. (ECF 81) As XMotors predicted and anticipated, before the parties

14 have even settled on a mutually agreeable neutral, Tesla now demands that it have unlimited

15 opportunities to issue requests to the neutral, without any time limits other than the expiration of expert

16 discovery, in an unbridled effort to determine whether there is any overlap between the parties’ source

17 code.

18          Tesla readily acknowledges that much of this process will necessarily involve the neutral’s use of

19 automated tools, which are intended to review vast quantities of code to determine whether any

20 overlapping material exists. Tesla nonetheless argues it should have open-ended recourse to test what

21 may or may not be “similar” because it deems this to be an “iterative” process. Tesla wishes to reserve

22 the opportunity to learn more about the structure, content, and purposes of XMotors’ code as it moves

23 forward. To be clear, Tesla presently has no evidence that XMotors ever received Tesla source code, yet

24 through this process wishes to guarantee that it can spend unlimited time and effort over a period of

25 several months submitting successive requests to the neutral—all in confidence and unfettered—to

26 understand XMotors’ source code and what might be “similar” to Tesla’s code. Thus, this becomes not

27 an exercise to determine if there is any “similar” code but rather Tesla’s uncircumscribed inquiry into

28 XMotors’ most valuable intellectual property for an indefinite period.


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 1          XMotors, a non-party, opposes Tesla’s demand for unlimited time for two principal reasons.

 2 First, Tesla’s desire to review source code through the neutral, without any reasonable time limitations,

 3 will result in unnecessary and unwarranted expense for XMotors irrespective of any proportionality or

 4 probability that relevant information even exists. This is unreasonable and overreaching. Rule 45

 5 protects a person who is “neither a party nor a party's officer from significant expense resulting from

 6 compliance” Fed. R. Civ. P. 45(d)(2)(B)(ii). See also United States v. McGraw-Hill, 302 F.R.D. 532,

 7 536 (C.D. Cal. 2014). XMotors has agreed to bear half the cost of the forensic neutral, but that

 8 agreement assumed the parties would proceed efficiently with the neutral. XMotors should not be made

 9 to pay for unlimited requests by Tesla to the neutral, the contents of which XMotors will not even know,

10 let alone be able to object to.

11          XMotors proposed that the parties, in conjunction with the agreed-upon neutral, set a reasonable

12 period of time (i.e., one month) from the neutral’s receipt of source code to perform the initial

13 comparison, with the ability to extend that time, upon a showing of good cause. Tesla rejected that

14 approach without elaboration, claiming that having a time limit is presumptively unworkable and

15 “unacceptable.” Yet, Tesla has neither offered a plausible justification for why it should have no

16 temporal restrictions nor engaged in any discussion of a reasonable period of time for it (and the neutral)

17 to conduct that review and analysis. XMotors did not sign up for cost sharing of such an unlimited

18 endeavor.

19          Second, Tesla’s position, in fact, vitiates the role of the neutral as a gatekeeper because so long

20 as Tesla can—in secret, under the cloak of work product protection—articulate any rational, “good

21 faith” basis for requesting that the neutral undertake a particular search, the neutral will be obligated to

22 carry out that search. However, the neutral will have no (or limited) prior knowledge of the underlying

23 case or familiarity with XMotors’ or Tesla’s code, which will necessarily hinder the neutral in

24 determining whether a request is made in good faith, or to the contrary, simply to learn more about

25 XMotors’ code. Absent reasonable constraints that require Tesla to proceed efficiently, as opposed to

26 fishing around and “learning as it goes,” such a procedure effectively undermines the neutral’s

27 gatekeeping role and judgment as to what is genuinely necessary to find “similar” code. Tesla’s position

28 is unreasonable.


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 1          Finally, Tesla also seeks to turn this process into an informal mini-deposition by requiring that

 2 XMotors answer any potential questions the neutral may have, as though such questions comprised

 3 discovery under the federal rules. Tesla initially wanted XMotors to have absolutely no communication

 4 with the neutral other than for purely “administrative” purposes. After XMotors suggested that the

 5 protocol include flexibility for XMotors to answer potential questions from the neutral which are not

 6 clearly “administrative” (such as minor clarifications of a code’s purpose), Tesla reversed course and

 7 decided that XMotors should answer all questions the neutral might have, even though XMotors will

 8 have been completely blind to, and excluded from the underlying process and events precipitating such

 9 questions. Tesla’s desire to require XMotors to answer potential questions is improper for multiple

10 reasons: it exceeds the scope of the subpoena’s requests; it asks this court to adjudicate potential

11 questions from the neutral not yet before it, that have yet to arise and are not ripe for decision; and Tesla

12 will be able to seek related information through its anticipated Rule 30(b)(6) deposition of XMotors.

13 XMotors thus requests that the protocol be treated as originally proposed by Tesla—XMotors will not

14 have, and will not be required to have communication with the neutral regarding any substantive issues.

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                               [Plaintiff Tesla, Inc.’s Proposed Protocol]


                      Third-Party Source Code Neutral Protocol Between
                        Plaintiff Tesla, Inc., Defendant Guangzhi Cao,
                              And Third-Party XMotors.ai, Inc.

  [ADD WHEREAS CLAUSES]

  Tesla, Inc. (Tesla), Guangzhi Cao (Cao), XMotors.ai, Inc. (XMotors), and [NEUTRAL] (the
  Neutral) hereby agree as follows:

         1. Production of documents and data pursuant to subpoena. By no later than
            [DATE], XMotors shall provide the Neutral with all autonomous driving source code,
            source code logs, and other data that XMotors is required to produce pursuant to
            Tesla’s subpoena of January 1, 2017 and the Orders of the Court at Docket Numbers
            75, 80, 84, and 85.

         2. XMotors source code from source code repository. XMotors shall provide the
            Neutral with complete versions of its source code from its source code repository for
            the entire time period covered by the subpoena, including but not limited to such code
            that exists in a human readable format that is consistent with the format XMotors
            engineers use to review and revise source code in the ordinary course of business.
            The source code shall include any metadata to the extent that such information is
            available to XMotors.

         3. XMotors source code logs. XMotors will also provide the Neutral with true and
            correct copies of complete source code logs and all other documents that are subject
            to Request No. 16 of Tesla’s subpoena to XMotors. Such logs correspond to the
            source code being provided. To the extent that documents responsive to Request
            number 16 do not contain actual source code, XMotors shall produce those
            documents directly to Tesla and to Cao.

         4. XMotors source code on laptop images. XMotors shall provide Tesla Cao, and the
            Neutral a copy of all source code files that XMotors removed from the laptop images
            that XMotors is required to produce pursuant to Tesla’s subpoena of January 17, 2020
            and the Orders of the Court at Docket Numbers 75, 80, and 85. The log should
            include custodian, file name, file size, file path, date last modified, person who last
            modified, and MD5 hash value of each source code file, to the extent that such
            information is available to XMotors.

         5. Tesla source code. By no later than [DATE], Tesla shall provide the Neutral with all
            source code that Tesla contends that Cao improperly copied, downloaded, retained, or
            misappropriated, along with the MD5 hash value and file path of each such file.
            Tesla has confirmed that it will be producing to the Neutral only the files it described
            in its response to Interrogatory No. 1 as of the date the Neutral is retained or as
            subsequently amended.



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                            [Plaintiff Tesla, Inc.’s Proposed Protocol]


        6. Communications with the Neutral.

              a. In order to allow Tesla and Cao to specify Instructions (as defined below) and
                 to provide context for expert analyses of the XMotors source code, the Neutral
                 shall be allowed to freely communicate with counsel for and retained experts
                 of Tesla and Cao and provide information concerning the characteristics and
                 attributes of XMotors source code, on the terms and conditions set forth
                 below. All information that the Neutral discloses to Tesla and Cao pursuant to
                 this Protocol shall be subject to the Protective Order (as amended) as
                 CONFIDENTIAL information unless it constitutes source code, in which case
                 the information shall be treated as HIGHLY CONFIDENTIAL-SOURCE
                 CODE.

              b. Common Access to Information Exchanged with the Neutral. Both Tesla
                 and Cao will have equal, simultaneous access to all communications that
                 either party has with the Neutral and all disclosures by the Neutral, and neither
                 shall engage in ex parte communications with the Neutral except as expressly
                 permitted below. Tesla and Cao may freely communicate with the Neutral at
                 any time so long as both Tesla and Cao are present for oral communications or
                 copied on written communications.

              c. Planned meetings. The Neutral shall make him/herself available twice each
                 week on Monday and Thursday from 2:00 P.M. to 3:30 P.M. Pacific Time (or
                 such other times as the Neutral, Tesla , and Cao mutually agree) for Tesla and
                 Cao to freely communicate with the Neutral, until such time as Tesla and Cao
                 mutually agree that such meetings are no longer necessary. Tesla and Cao
                 each agree to make a representative available for each of these meetings.
                 Neither Tesla nor Cao may stop the other from freely communicating with the
                 Neutral during these planned meetings by not attending, except that if either
                 Tesla or Cao experiences an emergency that prevents their respective
                 representatives from attending, then that party must promptly notify the other
                 party and the Neutral of the emergency and the planned meeting will be
                 rescheduled or canceled. Otherwise, if Tesla or Cao fail to attend a planned
                 meeting, they agree that the sole attendee may have ex parte communications
                 with the Neutral at the planned meeting. Only Tesla counsel, Cao counsel,
                 and retained experts who are authorized to see information designated as
                 HIGHLY CONFIDENTIAL-SOURCE CODE under the Protective Order (as
                 amended) may attend the planned meetings.

              d. Source code logs. To the extent that the Neutral determines that documents
                 or information that XMotors produced as “source code logs” in response to
                 Request No. 16 of Tesla’s subpoena to XMotors do not contain actual source
                 code, the Neutral shall produce those documents or information directly to
                 Tesla and to Cao.


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              e. Instructions to the Neutral. Tesla or Cao may at any time separately instruct
                 the Neutral to perform analyses on XMotors’ source code, including
                 comparisons to Tesla’s source code. Tesla or Cao may also separately instruct
                 the Neutral to install and use specific software to perform those analyses.
                 “Instructions” shall mean (a) the analyses, comparisons, and descriptions that
                 Tesla or Cao requests the Neutral to perform, (b) the criteria that the
                 requesting party provides to identify an XMotors source code file or group of
                 files that appears similar to a Tesla source code file or group of files, and (c)
                 requests concerning the characteristics or attributes of XMotors source code
                 files or groups of files. Tesla or Cao’s separate Instructions are to be kept by
                 the Neutral in confidence from the other as confidential attorney work-
                 product.

              f. Execution of Instructions and Delivery of Results to Tesla and Cao. After
                 executing Tesla or Cao’s separate Instructions provided pursuant to section
                 4.d., the Neutral will deliver the Results simultaneously to Tesla, Cao, and
                 XMotors without revealing the Instructions (subject to section 4.f., below).
                 “Results” shall mean the XMotors source code that the Neutral provides in
                 response to Instructions, the characteristics or attributes of XMotors source
                 code files or groups of files that Tesla or Cao requested, and any information
                 that the Neutral provides concerning XMotors’ source code in any planned
                 meetings or written communications with Tesla and Cao. To avoid any doubt,
                 under no circumstances shall the Neutral grant XMotors access to any part of
                 Tesla’s source code, or provide any information to XMotors about
                 characteristics or attributes of Tesla’s source code, and the fact that the neutral
                 disclosed specific XMotors source code to the parties shall be deemed
                 CONFIDENTIAL under the Protective Order (as amended).

              g. Overbroad Instructions. If Tesla or Cao issues an Instruction pursuant to
                 section 4.d. that the Neutral concludes was issued in bad faith (e.g., an
                 overbroad Instruction intended to cause the Neutral to return entire source
                 code repositories even if they do not appear similar), the Neutral shall decline
                 to provide the Results of that specific Instruction. If the requesting party
                 disagrees with the Neutral, that party shall disclose the Instruction to the other
                 two parties (i.e., XMotors and Tesla or Cao, as appropriate) and the Neutral
                 shall provide the Neutral’s basis for concluding that the Instruction is given in
                 bad faith, and within five days the parties shall submit a letter brief to
                 Magistrate Judge Westmore under her standing order for discovery letter
                 briefs.

              h. No communications with XMotors. XMotors (including without limitation
                 its representatives) may not communicate with the Neutral except for (a)
                 administrative purposes (e.g., to discuss payment of the Neutral’s fees or to
                 make arrangements for the delivery of the materials described in paragraphs 1


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                   and 2); (b) the receipt of XMotors code that the Neutral simultaneously
                   produces to Tesla and Cao; or (c) to respond to questions from the Neutral
                   concerning the source code and source code logs that XMotors has produced
                   to the Neutral. To the extent that the Neutral poses questions to XMotors,
                   XMotors shall provide complete and accurate answers just as if the questions
                   had been promulgated pursuant to a subpoena, subject to XMotors’ right to
                   object on grounds available to any person under Federal Rules of Civil
                   Procedure 33, 34, and 45. If XMotors communicates with the Neutral for any
                   purpose, it must copy or include Tesla and Cao on all such communications.

        7. No waiver. Tesla, Cao, and XMotors agree that the procedures and protocols
           described here shall not constitute a waiver of any claim of attorney-client privilege,
           work product protection, or any other protection against disclosure of the parties’
           Instructions to the Neutral or the parties’ other privileged information. All parties
           reserve the right to claw back attorney-client privilege or work product materials.
           Any material that is clawed back must be identified at a privilege log level of detail
           (i.e., sufficient for an opposing party to challenge the claim) at the time the claw back
           is made.

        8. Security of source code. The Neutral shall at all times comply with and be subject to
           the Protective Order’s terms (as amended) for the treatment and handling of
           SOURCE CODE with respect to all Tesla source code and XMotors source code, and
           the Protective Order’s terms (as amended) for the treatment and handling of
           CONFIDENTIAL material with respect to Instructions and Results, except as
           expressly consented to by this Protocol. The Neutral shall at all times maintain
           source code, Instructions, and Results only on computers and storage devices that are
           subject to access restrictions and security protocols that satisfy the reasonable
           requirements of Tesla and XMotors.

        9. Inadmissibility of Neutral’s Actions. Neither the fact that the Neutral disclosed
           XMotors’ source code or specific files on the grounds that they appear similar to
           Tesla source code, nor the fact that the Neutral did not produce XMotors source code
           or specific files, shall be admissible at trial or at summary judgment to prove Cao’s
           liability to Tesla or the absence of such liability. Nothing in this paragraph is
           intended to prevent either Tesla or Cao from offering Results themselves, or their
           own experts’ analyses and conclusions based on or derived from the Results, or other
           information about XMotors’ source code that the Neutral provided to the parties, for
           any purpose permitted by the Federal Rules of Evidence.

        10. Authenticity of Results. Cao and Tesla agree that any logs (as described in
            Paragraph 2) and any Results produced by the Neutral shall be deemed authentic as if
            directly produced by XMotors.




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         11. Destruction of source code and Instructions. At the conclusion of the Tesla, Inc. v.
             Cao litigation (i.e., when a final judgment or dismissal has been entered that is no
             longer appealable), or when otherwise directed to do so jointly by Tesla, Cao, and
             XMotors, the Neutral shall destroy or return the source code and shall destroy all
             Instructions provided to him/her by Tesla or Cao, as well as any Results.

         12. Neutral’s Fees and Costs. The Neutral shall bill for work actually performed at an
             hourly rate of $[___] and shall bill any expenses at cost, without markup. The
             invoices shall be sent to undersigned counsel and shall be paid within 60 days, with
             Tesla responsible for 50% of the invoice and Cao/XMotors responsible for 50%;
             provided, however, that if the Neutral incurs license fees or similar costs to obtain
             software or tools required to execute the instructions of just one party, that party shall
             be billed separately for the cost of such software or tools and will be solely
             responsible for that cost.

         13. Authorization to enter this agreement. The undersigned are fully authorized to
             enter into this agreement by and on behalf of the party each represents.



   THE NORTON LAW FIRM PC                                 CONRAD & METLITZKY LLP

   ________________________                               ________________________
   Fred Norton                                            Mark Conrad
   Counsel for Plaintiff Tesla, Inc.                      Counsel for Defendant Guangzhi Cao

   RIMON PC                                               NEUTRAL

   ________________________                               ________________________
   Scott Raber                                            [NAME]
   Counsel for Non-Party XMotors.ai, Inc.                 Third-Party Source Code Neutral




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                      Third-Party Source Code Neutral Protocol Between
                        Plaintiff Tesla, Inc., Defendant Guangzhi Cao,
                              And Third-Party XMotors.ai, Inc.

  [ADD WHEREAS CLAUSES]

  Tesla, Inc. (Tesla), Guangzhi Cao (Cao), XMotors.ai, Inc. (XMotors), and [NEUTRAL] (the
  Neutral) hereby agree as follows:

         1. Production of documents and data pursuant to subpoena. By no later than
            [DATE], XMotors shall provide the Neutral with all autonomous driving source code,
            source code logs, and other data that XMotors is required to produce pursuant to
            Tesla’s subpoena of January 1, 2017 and the Orders of the Court at Docket Numbers
            75, 80, 84, and 85.

         2. XMotors source code from source code repository. XMotors shall provide the
            Neutral with complete versions of its source code from its source code repository for
            the entire time period covered by the subpoena, including but not limited to such code
            that exists in a human readable format that is consistent with the format XMotors
            engineers use to review and revise source code in the ordinary course of business.
            The source code shall include any metadata to the extent that such information is
            available to XMotors.

         3. XMotors source code logs. XMotors will also provide the Neutral with true and
            correct copies of complete source code logs and all other documents that are subject
            to Request No. 16 of Tesla’s subpoena to XMotors. Such logs correspond to the
            source code being provided. To the extent that documents responsive to Request
            number 16 do not contain actual source code, XMotors shall produce those
            documents directly to Tesla and to Cao.

         4. XMotors source code on laptop images. XMotors shall provide Tesla Cao, and the
            Neutral a copy of all source code files that XMotors removed from the laptop images
            that XMotors is required to produce pursuant to Tesla’s subpoena of January 17, 2020
            and the Orders of the Court at Docket Numbers 75, 80, and 85. The log should
            include custodian, file name, file size, file path, date last modified, person who last
            modified, and MD5 hash value of each source code file, to the extent that such
            information is available to XMotors.

         5. Tesla source code. By no later than [DATE], Tesla shall provide the Neutral with all
            source code that Tesla contends that Cao improperly copied, downloaded, retained, or
            misappropriated, along with the MD5 hash value and file path of each such file.
            Tesla has confirmed that it will be producing to the Neutral only the files it described
            in its response to Interrogatory No. 1 as of the date the Neutral is retained or as
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    [Defendant Cao and Third-Party XMotors’ Proposed Edits to Tesla’s Proposed Protocol in Redline]


        6. Communications with the Neutral.

                a. In order to allow Tesla and Cao to specify Instructions (as defined below) and
                   to provide context for expert analyses of the XMotors source code, the Neutral
                   shall be allowed to freely communicate with counsel for and retained experts
                   of Tesla and Cao and provide information concerning the characteristics and
                   attributes of XMotors source code, on the terms and conditions set forth
                   below. All information that the Neutral discloses to Tesla and Cao pursuant to
                   this Protocol shall be subject to the Protective Order (as amended) as
                   CONFIDENTIAL information unless it constitutes source code, in which case
                   the information shall be treated as HIGHLY CONFIDENTIAL-SOURCE
                   CODE.

                b. Common Access to Information Exchanged with the Neutral. Both Tesla
                   and Cao will have equal, simultaneous access to all communications that
                   either party has with the Neutral and all disclosures by the Neutral, and neither
                   shall engage in ex parte communications with the Neutral except as expressly
                   permitted below. Tesla and Cao may freely communicate with the Neutral at
                   any time so long as both Tesla and Cao are present for oral communications or
                   copied on written communications.

                c. Planned meetings. The Neutral shall make him/herself available twice each
                   week on Monday and Thursday from 2:00 P.M. to 3:30 P.M. Pacific Time (or
                   such other times as the Neutral, Tesla , and Cao mutually agree) for Tesla and
                   Cao to freely communicate with the Neutral, until such time as Tesla and Cao
                   mutually agree that such meetings are no longer necessary. Tesla and Cao
                   each agree to make a representative available for each of these meetings.
                   Neither Tesla nor Cao may stop the other from freely communicating with the
                   Neutral during these planned meetings by not attending, except that if either
                   Tesla or Cao experiences an emergency that prevents their respective
                   representatives from attending, then that party must promptly notify the other
                   party and the Neutral of the emergency and the planned meeting will be
                   rescheduled or canceled. Otherwise, if Tesla or Cao fail to attend a planned
                   meeting, they agree that the sole attendee may have ex parte communications
                   with the Neutral at the planned meeting. Only Tesla counsel, Cao counsel,
                   and retained experts who are authorized to see information designated as
                   HIGHLY CONFIDENTIAL-SOURCE CODE under the Protective Order (as
                   amended) may attend the planned meetings.

                d. Source code logs. To the extent that the Neutral determines that documents
                   or information that XMotors produced as “source code logs” in response to
                   Request No. 16 of Tesla’s subpoena to XMotors do not contain actual source
                   code, the Neutral shall produce those documents or information directly to
                   Tesla and to Cao.
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                e. Instructions to the Neutral. Tesla or Cao may at any time separately instruct
                   the Neutral to perform analyses on XMotors’ source code, including
                   comparisons to Tesla’s source code. Tesla or Cao may also separately instruct
                   the Neutral to install and use specific software to perform those analyses.
                   “Instructions” shall mean (a) the analyses, comparisons, and descriptions that
                   Tesla or Cao requests the Neutral to perform, (b) the criteria that the
                   requesting party provides to identify an XMotors source code file or group of
                   files that appears similar to a Tesla source code file or group of files, and (c)
                   requests concerning the characteristics or attributes of XMotors source code
                   files or groups of files. Tesla or Cao’s separate Instructions are to be kept by
                   the Neutral in confidence from the other as confidential attorney work-
                   product.

                f. Execution of Instructions and Delivery of Results to Tesla and Cao. After
                   executing Tesla or Cao’s separate Instructions provided pursuant to section
                   4.d., the Neutral will deliver the Results simultaneously to Tesla, Cao, and
                   XMotors without revealing the Instructions (subject to section 4.f., below).
                   “Results” shall mean the XMotors source code that the Neutral provides in
                   response to Instructions, the characteristics or attributes of XMotors source
                   code files or groups of files that Tesla or Cao requested, and any information
                   that the Neutral provides concerning XMotors’ source code in any planned
                   meetings or written communications with Tesla and Cao. To avoid any doubt,
                   under no circumstances shall the Neutral grant XMotors access to any part of
                   Tesla’s source code, or provide any information to XMotors about
                   characteristics or attributes of Tesla’s source code, and the fact that the neutral
                   disclosed specific XMotors source code to the parties shall be deemed
                   CONFIDENTIAL under the Protective Order (as amended).

                g. Overbroad Instructions. If Tesla or Cao issues an Instruction pursuant to
                   section 4.d. that the Neutral concludes was issued in bad faith (e.g., an
                   overbroad Instruction intended to cause the Neutral to return entire source
                   code repositories even if they do not appear similar), the Neutral shall decline
                   to provide the Results of that specific Instruction. If the requesting party
                   disagrees with the Neutral, that party shall disclose the Instruction to the other
                   two parties (i.e., XMotors and Tesla or Cao, as appropriate) and the Neutral
                   shall provide the Neutral’s basis for concluding that the Instruction is given in
                   bad faith, and within five days the parties shall submit a letter brief to
                   Magistrate Judge Westmore under her standing order for discovery letter
                   briefs.

                h. No communications with XMotors. XMotors (including without limitation
                   its representatives) may not communicate with the Neutral except for (a)
                   administrative purposes (e.g., to discuss payment of the Neutral’s fees or to
                   make arrangements for the delivery of the materials described in paragraphs 1
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                    and 2); or (b) the receipt of XMotors code that the Neutral simultaneously
                    produces to Tesla and Cao; or (c) to respond to questions from the Neutral
                    concerning the source code and source code logs that XMotors has produced
                    to the Neutral. To the extent that the Neutral poses questions to XMotors,
                    XMotors shall provide complete and accurate answers just as if the questions
                    had been promulgated pursuant to a subpoena, subject to XMotors’ right to
                    object on grounds available to any person under Federal Rules of Civil
                    Procedure 33, 34, and 45. If XMotors communicates with the Neutral for any
                    purpose, it must copy or include Tesla and Cao on all such communications.

                i. Time Period. Tesla and Cao shall have a limited period of [___] days to
                   specify Instructions, receive Results, or otherwise communicate with the
                   Neutral (“Time Period”). Upon the expiration of the Time Period, Tesla and
                   Cao may not specify any further Instructions or otherwise communicate with
                   the Neutral and the Neutral may not deliver any further Results. If either
                   party believes it has good cause for submitting additional Instructions, further
                   communicating with the Neutral, or receiving additional Results beyond the
                   Time Period, that party must seek leave from the Court before engaging in any
                   such activities.

        7. No waiver. Tesla, Cao, and XMotors agree that the procedures and protocols
           described here shall not constitute a waiver of any claim of attorney-client privilege,
           work product protection, or any other protection against disclosure of the parties’
           Instructions to the Neutral or the parties’ other privileged information. All parties
           reserve the right to claw back attorney-client privilege or work product materials.
           Any material that is clawed back must be identified at a privilege log level of detail
           (i.e., sufficient for an opposing party to challenge the claim) at the time the claw back
           is made.

        8. Security of source code. The Neutral shall at all times comply with and be subject to
           the Protective Order’s terms (as amended) for the treatment and handling of
           SOURCE CODE with respect to all Tesla source code and XMotors source code, and
           the Protective Order’s terms (as amended) for the treatment and handling of
           CONFIDENTIAL material with respect to Instructions and Results, except as
           expressly consented to by this Protocol. The Neutral shall at all times maintain
           source code, Instructions, and Results only on computers and storage devices that are
           subject to access restrictions and security protocols that satisfy the reasonable
           requirements of Tesla and XMotors.

        9. Inadmissibility of Neutral’s Actions. Neither the fact that the Neutral disclosed
           XMotors’ source code or specific files on the grounds that they appear similar to
           Tesla source code, nor the fact that the Neutral did not produce XMotors source code
           or specific files, shall be admissible at trial or at summary judgment to prove Cao’s
           liability to Tesla or the absence of such liability. Nothing in this paragraph is
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             intended to prevent either Tesla or Cao from offering Results themselves, or their
             own experts’ analyses and conclusions based on or derived from the Results, or other
             information about XMotors’ source code that the Neutral provided to the parties, for
             any purpose permitted by the Federal Rules of Evidence.

         10. Authenticity of Results. Cao and Tesla agree that any logs (as described in
             Paragraph 2) and any Results produced by the Neutral shall be deemed authentic as if
             directly produced by XMotors.

         11. Destruction of source code and Instructions. At the conclusion of the Tesla, Inc. v.
             Cao litigation (i.e., when a final judgment or dismissal has been entered that is no
             longer appealable), or when otherwise directed to do so jointly by Tesla, Cao, and
             XMotors, the Neutral shall destroy or return the source code and shall destroy all
             Instructions provided to him/her by Tesla or Cao, as well as any Results.

         12. Neutral’s Fees and Costs. The Neutral shall bill for work actually performed at an
             hourly rate of $[___] and shall bill any expenses at cost, without markup. The
             invoices shall be sent to undersigned counsel and shall be paid within 60 days, with
             Tesla responsible for 50% of the invoice and Cao/XMotors responsible for 50%;
             provided, however, that if the Neutral incurs license fees or similar costs to obtain
             software or tools required to execute the instructions of just one party, that party shall
             be billed separately for the cost of such software or tools and will be solely
             responsible for that cost.

         13. Authorization to enter this agreement. The undersigned are fully authorized to
             enter into this agreement by and on behalf of the party each represents.



   THE NORTON LAW FIRM PC                                CONRAD & METLITZKY LLP

   ________________________                              ________________________
   Fred Norton                                           Mark Conrad
   Counsel for Plaintiff Tesla, Inc.                     Counsel for Defendant Guangzhi Cao

   RIMON PC                                              NEUTRAL

   ________________________                              ________________________
   Scott Raber                                           [NAME]
   Counsel for Non-Party XMotors.ai, Inc.                Third-Party Source Code Neutral
